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           EXHIBIT  REDACTED IN ITS ENTIRETY
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310 Receivables
  10 Overall
   S99 SEC Materials

General
>       SEC Staff Guidance
>>       Staff Accounting Bulletins
> > > SAB Topic 1.I, Financial Statements of Properties Securing
Mortgage Loans
S99-1
The following is the text of SAB Topic 1.I, Financial Statements of Properties
Securing Mortgage Loans.
    x    Facts: A registrant files a Securities Act registration statement covering a
         maximum of $100 million of securities. Proceeds of the offering will be used
         to make mortgage loans on operating residential or commercial property.
         Proceeds of the offering will be placed in escrow until $1 million of securities
         are sold at which point escrow may be broken, making the proceeds
         immediately available for lending, while the selling of securities would
         continue.

    x    Question 1: Under what circumstances are the financial statements of a
         property on which the registrant makes or expects to make a loan required
         to be included in a filing?

    x    Interpretive Response: Rule 3-14 of Regulation S-X specifies the
         requirements for financial statements when the registrant has acquired one
         or more properties which in the aggregate are significant, or since the date of
         the latest balance sheet required has acquired or proposes to acquire one or
         more properties which in the aggregate are significant.

    x    Included in the category of properties acquired or to be acquired under Rule
         3-14 are operating properties underlying certain mortgage loans, which in
         economic substance represent an investment in real estate or a joint venture
         rather than a loan. Certain characteristics of a lending arrangement indicate
         that the "lender" has the same risks and potential rewards as an owner or
         joint venturer. Those characteristics are set forth in the Acquisition,
         Development, and Construction Arrangements (ADC Arrangements)
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       Subsections of FASB ASC Subtopic 310-10, Receivables—Overall FN6 FN7. In
       September 1986 the EITF FN8 reached a consensus on this issue FN9 to the
       effect that, although the guidance in the ADC Arrangements Subsections of
       FASB ASC Subtopic 310-10 was issued to address the real estate ADC
       arrangements of financial institutions, preparers and auditors should consider
       that guidance in accounting for shared appreciation mortgages, loans on
       operating real estate and real estate ADC arrangements entered into by
       enterprises other than financial institutions.

          o   FN6 [Original footnote removed by SAB 114.]

          o   FN7 [Original footnote removed by SAB 114.]

          o   FN8 The Emerging Issues Task Force ("EITF") was formed in 1984 to
              assist the Financial Accounting Standards Board in the early
              identification and resolution of emerging accounting issues. Topics to
              be discussed by the EITF are publicly announced prior to its meetings
              and minutes of all EITF meetings are available to the public.

          o   FN9 FASB ASC paragraph 310-10-05-9.

   x   FASB ASC Topic 815, Derivatives and Hedging—Embedded Derivatives,
       generally requires that embedded instruments meeting the definition of a
       derivative and not clearly and closely related to the host contract be
       accounted for separately from the host instrument. If the embedded
       expected residual profit component of an ADC arrangement need not be
       separately accounted for as a derivative under FASB ASC Topic 815, then the
       disclosure requirements discussed below for ADC loans and similar
       arrangements should be followed. FN10

          o   FN10 The equity kicker (the expected residual profit) would typically
              not be separated from the host contract and accounted for as a
              derivative because FASB ASC subparagraph 815-15-25-1(c) exempts a
              hybrid contract from bifurcation if a separate instrument with the same
              terms as the embedded equity kicker is not a derivative instrument
              subject to the requirements of FASB ASC Topic 815.

   x   In certain cases the "lender" has virtually the same potential rewards as
       those of an owner or a joint venturer by virtue of participating in expected
       residual profit. FN11 In addition, the ADC Arrangements Subsections of FASB
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      ASC Subtopic 310-10 include a number of other characteristics which, when
      considered individually or in combination, would suggest that the risks of an
      ADC arrangement are similar to those associated with an investment in real
      estate or a joint venture or, conversely, that they are similar to those
      associated with a loan. Among those other characteristics is whether the
      lender agrees to provide all or substantially all necessary funds to acquire the
      property, resulting in the borrower having title to, but little or no equity in,
      the underlying property. The staff believes that the borrower's equity in the
      property is adequate to support accounting for the transaction as a mortgage
      loan when the borrower's initial investment meets the criteria in FASB ASC
      paragraph 360-20-40-18 (Property, Plant, and Equipment Topic) FN12 and
      the borrower's payments of principal and interest on the loan are adequate to
      maintain a continuing investment in the property which meets the criteria in
      FASB ASC paragraph 360-20-40-19. FN13

         o   FN11 Expected residual profit is defined in the ADC Arrangements
             Subsections of FASB ASC Subtopic 310-10 as the amount of profit,
             whether called interest or another name, such as equity kicker, above
             a reasonable amount of interest and fees expected to be earned by the
             "lender."

         o   FN12 FASB ASC Subtopic 360-20 establishes standards for the
             recognition of profit on real estate sales transactions. FASB ASC
             paragraph 360-20-40-18 states that the buyer's initial investment
             shall be adequate to demonstrate the buyer's commitment to pay for
             the property and shall indicate a reasonable likelihood that the seller
             will collect the receivable. Guidance on minimum initial investments in
             various types of real estate is provided in FASB ASC paragraphs 360-
             20-55-1 and 360-20-55-2.

         o   FN13 FASB ASC paragraph 360-20-40-19 states that the buyer's
             continuing investment in a real estate transaction shall not qualify
             unless the buyer is contractually required to pay each year on its total
             debt for the purchase price of the property an amount at least equal to
             the level annual payment that would be needed to pay that debt and
             interest on the unpaid balance over not more than (a) 20 years for
             debt for land and (b) the customary amortization term of a first
             mortgage loan by an independent established lending institution for
             other real estate.
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    x   The financial statements of properties which will secure mortgage loans
        made or to be made from the proceeds of the offering which have the
        characteristics of real estate investments or joint ventures should be included
        as required by Rule 3-14 in the registration statement when such properties
        secure loans previously made, or have been identified as security for
        probable loans prior to effectiveness, and in filings made pursuant to the
        undertaking in Item 20D of Securities Act Industry Guide 5.

    x   Rule 1-02(w) of Regulation S-X includes the conditions used in determining
        whether an acquisition is significant. The separate financial statements of an
        individual property should be provided when a property would meet the
        requirements for a significant subsidiary under this rule using the amount of
        the "loan" as a substitute for the "investment in the subsidiary" in computing
        the specified conditions. The combined financial statements of properties
        which are not individually significant should also be provided. However, the
        staff will not object if the combined financial statements of such properties
        are not included if none of the conditions specified in Rule 1-02(w), with
        respect to all such properties combined, exceeds 20% in the aggregate.

    x   Under certain circumstances, information may also be required regarding
        operating properties underlying mortgage loans where the terms do not
        result in the lender having virtually the same risks and potential rewards as
        those of owners or joint venturers. Generally, the staff believes that, where
        investment risks exist due to substantial asset concentration, financial and
        other information should be included regarding operating properties
        underlying a mortgage loan that represents a significant amount of the
        registrant's assets. Such presentation is consistent with Rule 3-13 of
        Regulation S-X and Rule 408 under the Securities Act of 1933.

    x   Where the amount of a loan exceeds 20% of the amount in good faith
        expected to be raised in the offering, disclosures would be expected to
        consist of financial statements for the underlying operating properties for the
        periods contemplated by Rule 3-14. Further, where loans on related
        properties are made to a single person or group of affiliated persons which in
        the aggregate amount to more than 20% of the amount expected to be
        raised, the staff believes that such lending arrangements result in a sufficient
        concentration of assets so as to warrant the inclusion of financial and other
        information regarding the underlying properties.
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    x   Question 2: Will the financial statements of the mortgaged properties be
        required in filings made under the 1934 Act?

    x   Interpretive Response: Rule 3-09 of Regulation S-X specifies the requirement
        for significant, as defined, investments in operating entities, the operations of
        which are not included in the registrant's consolidated financial statements.
        FN14 Accordingly, the staff believes that the financial statements of
        properties securing significant loans which have the characteristics of real
        estate investments or joint ventures should be included in subsequent filings
        as required by Rule 3-09. The materiality threshold for determining whether
        such an investment is significant is the same as set forth in paragraph (a) of
        that Rule. FN15

           o   FN14 Rule 3-14 states that the financial statements of an acquired
               property should be furnished if the acquisition took place during the
               period for which the registrant's income statements are required.
               Paragraph (b) of the Rule states that the information required by the
               Rule is not required to be included in a filing on Form 10-K. That
               exception is consistent with Item 8 of Form 10-K which excludes
               acquired company financial statements, which would otherwise be
               required by Rule 3-05 of Regulation S-X, from inclusion in filings on
               that Form. Those exceptions are based, in part, on the fact that
               acquired properties and acquired companies will generally be included
               in the registrant's consolidated financial statements from the
               acquisition date.

           o   FN15 Rule 3-09(a) states, in part, that "[i]f any of the conditions set
               forth in [Rule] 1-02(w), substituting 20 percent for 10 percent in the
               tests used therein to determine significant subsidiary, are met...
               separate financial statements... shall be filed."

    x   Likewise, the staff believes that filings made under the 1934 Act should
        include the same financial and other information relating to properties
        underlying any loans which are significant as discussed in the last paragraph
        of Question 1, except that in the determination of significance the 20%
        disclosure threshold should be measured using total assets. The staff
        believes that this presentation would be consistent with Rule 12b-20 under
        the Securities Exchange Act of 1934.
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    x   Question 3: The interpretive response to question 1 indicates that the staff
        believes that the borrower's equity in an operating property is adequate to
        support accounting for the transaction as a mortgage loan when the
        borrower's initial investment meets the criteria in FASB ASC paragraph 360-
        20-40-18 and the borrower's payments of principal and interest on the loan
        are adequate to maintain a continuing investment in the property which
        meets the criteria in FASB ASC paragraph 360-20-40-19. Is it the staff's view
        that meeting these criteria is the only way the borrower's equity in the
        property is considered adequate to support accounting for the transaction as
        a mortgage loan?

    x   Interpretive Response: No. It is the staff's position that the determination of
        whether loan accounting is appropriate for these arrangements should be
        made by the registrant and its independent accountants based on the facts
        and circumstances of the individual arrangements, using the guidance
        provided in the ADC Arrangements Subsections of FASB ASC Subtopic 310-
        10. As stated in those Subsections, loan accounting may not be appropriate
        when the lender participates in expected residual profit and has virtually the
        same risks as those of an owner, or joint venturer. In assessing the question
        of whether the lender has virtually the same risks as an owner, or joint
        venturer, the essential test that needs to be addressed is whether the
        borrower has and is expected to continue to have a substantial amount at
        risk in the project. FN16 The criteria described in FASB ASC Subtopic 360-20,
        Property, Plant, and Equipment—Real Estate Sales, provide a "safe harbor"
        for determining whether the borrower has a substantial amount at risk in the
        form of a substantial equity investment. The borrower may have a
        substantial amount at risk without meeting the criteria described in FASB
        ASC Subtopic 360-20.

           o   FN16 Regarding the composition of the borrower's investment, FASB
               ASC paragraph 310-10-25-20 indicates that the borrower's investment
               may include the value of land or other assets contributed by the
               borrower, net of encumbrances. The staff emphasizes that such
               paragraph indicates, "...recently acquired property generally should be
               valued at no higher than cost.. " Thus, for such recently acquired
               property, appraisals will not be sufficient to justify the use of a value in
               excess of cost.
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    x   Question 4: What financial statements should be included in filings made
        under the Securities Act regarding investment-type arrangements that
        individually amount to 10% or more of total assets?

    x   Interpretive Response: In the staff's view, separate audited financial
        statements should be provided for any investment-type arrangement that
        constitutes 10% or more of the greater of (i) the amount of minimum
        proceeds or (ii) the total assets of the registrant, including the amount of
        proceeds raised, as of the date the filing is required to be made. Of course,
        the narrative information required by items 14 and 15 of Form S-11 should
        also be included with respect to these investment-type arrangements.

    x   Question 5: What information must be provided under the Securities Act for
        investment-type arrangements that individually amount to less than 10%?

    x   Interpretive Response: No specific financial information need be presented
        for investment-type arrangements that amount to less than 10%. However,
        where such arrangements aggregate more than 20%, a narrative description
        of the general character of the properties and arrangements should be
        included that gives an investor an understanding of the risks and rewards
        associated with these arrangements. Such information may, for example,
        include a description of the terms of the arrangements, participation by the
        registrant in expected residual profits, and property types and locations.

    x   Question 6: What financial statements should be included in annual reports
        filed under the Exchange Act with respect to investment-type arrangements
        that constitute 10% or more of the registrant's total assets?

    x   Interpretive Response: In annual reports filed with the Commission, the staff
        has advised registrants that separate audited financial statements should be
        provided for each nonconsolidated investment-type arrangement that is 20%
        or more of the registrant's total assets. While the distribution is on-going,
        however, the percentage may be calculated using the greater of (i) the
        amount of the minimum proceeds or (ii) the total assets of the registrant,
        including the amount of proceeds raised, as of the date the filing is required
        to be made. In annual reports to shareholders registrants may either include
        the separate audited financial statements for 20% or more nonconsolidated
        investment-type arrangements or, if those financial statements are not
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        included, present summarized financial information for those arrangements
        in the notes to the registrant's financial statements.

    x   The staff has also indicated that separate summarized financial information
        (as defined in Rule 1-02(bb) of Regulation S-X) should be provided in the
        footnotes to the registrant's financial statements for each nonconsolidated
        investment-type arrangement that is 10% or more but less than 20%. Of
        course, registrants should also make appropriate textural disclosure with
        respect to material investment-type arrangements in the "business" and
        "property" sections of their annual reports to the Commission. FN17

           o   FN17 Registrants are reminded that in filings on Form 8-K that are
               triggered in connection with an acquisition of an investment-type
               arrangement, separate audited financial statements are required for
               any such arrangement that individually constitutes 10% or more.

    x   Question 7: What information should be provided in annual reports filed
        under the Exchange Act with respect to investment-type arrangements that
        do not meet the 10% threshold?

    x   Interpretive Response: The staff believes it will not be necessary to provide
        any financial information (full or summarized) for investment-type
        arrangements that do not meet the 10% threshold. However, in the staff's
        view, where such arrangements aggregate more than 20%, a narrative
        description of the general character of the properties and arrangements
        would be necessary. The staff believes that information should be included
        that would give an investor an understanding of the risks and rewards
        associated with these arrangements. Such information may, for example,
        include a description of the terms of the arrangements, participation by the
        registrant in expected residual profits, and property types and locations. Of
        course, disclosure regarding the operations of such components should be
        included as part of the Management's Discussion and Analysis where there is
        a known trend or uncertainty in the operations of such properties, either
        individually or in the aggregate, which would be reasonably likely to result in
        a material impact on the registrant's future operations, liquidity or capital
        resources.

 >>>      SAB Topic 4.E, Receivables from Sale of Stock
 S99-2
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 The following is the text of SAB Topic 4.E, Receivables from Sale of Stock.
    x   (Replaced by SAB 107)

    x   Facts: Capital stock is sometimes issued to officers or other employees
        before the cash payment is received.

    x   Question: How should the receivables from the officers or other employees
        be presented in the balance sheet?

    x   Interpretive Response: The amount recorded as a receivable should be
        presented in the balance sheet as a deduction from stockholders' equity. This
        is generally consistent with Rule 5-02.30 of Regulation S-X which states that
        accounts or notes receivable arising from transactions involving the
        registrant's capital stock should be presented as deductions from
        stockholders' equity and not as assets.

    x   It should be noted generally that all amounts receivable from officers and
        directors resulting from sales of stock or from other transactions (other than
        expense advances or sales on normal trade terms) should be separately
        stated in the balance sheet irrespective of whether such amounts may be
        shown as assets or are required to be reported as deductions from
        stockholders' equity.

    x   The staff will not suggest that a receivable from an officer or director be
        deducted from stockholders' equity if the receivable was paid in cash prior to
        the publication of the financial statements and the payment date is stated in
        a note to the financial statements. However, the staff would consider the
        subsequent return of such cash payment to the officer or director to be part
        of a scheme or plan to evade the registration or reporting requirements of
        the securities laws.

 >>>       SAB Topic 4.G, Notes and Other Receivables from Affiliates
 S99-3
 The following is the text of SAB Topic 4.G, Notes and Other Receivables from
 Affiliates.
    x   Facts: The balance sheet of a corporate general partner is often presented in
        a registration statement. Frequently, the balance sheet of the general
        partner discloses that it holds notes or other receivables from a parent or
        another affiliate. Often the notes or other receivables were created in order
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        to meet the "substantial assets" test which the Internal Revenue Service
        utilizes in applying its "Safe Harbor" doctrine in the classification of
        organizations for income tax purposes.

    x   Question: How should such notes and other receivables be reported in the
        balance sheet of the general partner?

    x   Interpretive Response: While these notes and other receivables evidencing a
        promise to contribute capital are often legally enforceable, they seldom are
        actually paid. In substance, these receivables are equivalent to unpaid
        subscriptions receivable for capital shares which Rule 5-02.30 of Regulation
        S-X requires to be deducted from the dollar amount of capital shares
        subscribed.

    x   The balance sheet display of these or similar items is not determined by the
        quality or actual value of the receivable or other asset "contributed" to the
        capital of the affiliated general partner, but rather by the relationship of the
        parties and the control inherent in that relationship. Accordingly, in these
        situations, the receivable must be treated as a deduction from stockholders'
        equity in the balance sheet of the corporate general partner.

 > > > SAB Topic 6.L, Financial Reporting Release 28—Accounting for
 Loan Losses by Registrants Engaged in Lending Activities
 S99-4
 The following is the text of SAB Topic 6.L, Financial Reporting Release 28—
 Accounting for Loan Losses by Registrants Engaged in Lending Activities.
    x   1. Accounting for loan losses

           o   General: GAAP for recognition of loan losses is provided by FASB ASC
               Subtopic 450-20, Contingencies—Loss Contingencies, and FASB ASC
               Subtopic 310-10, Receivables—Overall. FN6 An estimated loss from a
               loss contingency, such as the collectibility of receivables, should be
               accrued when, based on information available prior to the issuance of
               the financial statements, it is probable that an asset has been impaired
               or a liability has been incurred at the date of the financial statements
               and the amount of the loss can be reasonably estimated. FN7 FASB
               ASC Subtopic 310-10 provides more specific guidance on
               measurement of loan impairment and related disclosures but does not
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              change the fundamental recognition criteria for loan losses provided by
              FASB ASC 450-20.

                    FN6 [Original footnote removed by SAB 114.]

                    FN7 FASB ASC paragraph 450-20-25-2.

          o   Further guidance for SEC registrants is provided by FRR 28, which
              added subsection (b), Procedural Discipline in Determining the
              Allowance and Provision for Loan Losses to be Reported, of Section
              401.09, Accounting for Loan Losses by Registrants Engaged in Lending
              Activities, to the Codification of Financial Reporting Policies (hereafter
              referred to as FRR 28). Additionally, public companies are required to
              comply with the books and records provisions of the Securities
              Exchange Act of 1934 (Exchange Act). Under Sections 13(b)(2) - (7)
              of the Exchange Act, registrants must make and keep books, records,
              and accounts, which, in reasonable detail, accurately and fairly reflect
              the transactions and dispositions of assets of the registrant.
              Registrants also must maintain internal accounting controls that are
              sufficient to provide reasonable assurances that, among other things,
              transactions are recorded as necessary to permit the preparation of
              financial statements in conformity with GAAP.

          o   This staff interpretation applies to all registrants that are creditors in
              loan transactions that, individually or in the aggregate, have a material
              effect on the registrant's financial statements. FN8.

                    FN8 For purposes of this interpretation, a loan is defined
                     (consistent with the FASB ASC Master Glossary) as a contractual
                     right to receive money on demand or on fixed or determinable
                     dates that is recognized as an asset in the creditor's statement
                     of financial position. For purposes of this interpretation, loans do
                     not include trade accounts receivable or notes receivable with
                     terms less than one year or debt securities subject to the
                     provisions of FASB ASC Topic 320, Investments—Debt and
                     Equity Securities.

    x   2. Developing and documenting a systematic methodology

          o   a. Developing a systematic methodology.
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                  Facts: Registrant A, or one of its consolidated subsidiaries,
                   engages in lending activities and is developing or performing a
                   review of its loan loss allowance methodology.

                  Question: What are some of the factors or elements that the
                   staff normally would expect Registrant A to consider when
                   developing (or subsequently performing an assessment of) its
                   methodology for determining its loan loss allowance under
                   GAAP?

                  Interpretive Response: The staff normally would expect a
                   registrant that engages in lending activities to develop and
                   document a systematic methodology FN9 to determine its
                   provision for loan losses and allowance for loan losses as of each
                   financial reporting date. It is critical that loan loss allowance
                   methodologies incorporate management's current judgments
                   about the credit quality of the loan portfolio through a
                   disciplined and consistently applied process. A registrant's loan
                   loss allowance methodology is influenced by entity-specific
                   factors, such as an entity's size, organizational structure,
                   business environment and strategy, management style, loan
                   portfolio characteristics, loan administration procedures, and
                   management information systems.

                           FN9 FRR 28 states that " the Commission's staff normally
                            would expect to find that the books and records of
                            registrants engaged in lending activities include
                            documentation of [the]: (a) systematic methodology to
                            be employed each period in determining the amount of
                            the loan losses to be reported, and (b) rationale
                            supporting each period's determination that the amounts
                            reported were adequate."

                  However, as indicated in the AICPA Audit and Accounting Guide,
                   Depository and Lending Institutions with Conforming Changes
                   as of June 1, 2009 (Audit Guide), while different institutions
                   may use different methods, there are certain common elements
                   that should be included in any [loan loss allowance]
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                   methodology for it to be effective. FN10 A registrant's loan loss
                   allowance methodology generally should: FN11.

                           FN10 See paragraph 9.05 of the Audit Guide.

                           FN11 Ibid.

                  Include a detailed analysis of the loan portfolio, performed on a
                   regular basis;

                  Consider all loans (whether on an individual or group
                   basis);

                  Identify loans to be evaluated for impairment on an individual
                   basis under FASB ASC Subtopic 310-10 and segment the
                   remainder of the portfolio into groups of loans with similar risk
                   characteristics for evaluation and analysis under FASB ASC
                   Subtopic 450-20;

                           Consider all known relevant internal and external factors
                            that may affect loan collectibility;

                           Be applied consistently but, when appropriate, be
                            modified for new factors affecting collectibility;

                           Consider the particular risks inherent in different kinds of
                            lending;

                           Consider current collateral values (less costs to sell),
                            where applicable;

                           Require that analyses, estimates, reviews and other loan
                            loss allowance methodology functions be performed by
                            competent and well-trained personnel;

                           Be based on current and reliable data;

                           Be well documented, in writing, with clear explanations of
                            the supporting analyses and rationale (see Question 2
                            below for staff views on documenting a loan loss
                            allowance methodology); and
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                           Include a systematic and logical method to consolidate
                            the loss estimates and ensure the loan loss allowance
                            balance is recorded in accordance with GAAP.

                  For many entities engaged in lending activities, the allowance
                   and provision for loan losses are significant elements of the
                   financial statements.

                  Therefore, the staff believes it is appropriate for an entity's
                   management to review, on a periodic basis, its methodology for
                   determining its allowance for loan losses. FN12 Additionally, for
                   registrants that have audit committees, the staff believes that
                   oversight of the financial reporting and auditing of the loan loss
                   allowance by the audit committee can strengthen the
                   registrant's control system and process for determining its
                   allowance for loan losses. FN13

                           FN12 For federally insured depository institutions, the
                            December 21, 1993 "Interagency Policy Statement on the
                            Allowance for Loan and Lease Losses (ALLL)" (the 1993
                            Interagency Policy Statement) indicates that boards of
                            directors and management have certain responsibilities
                            for the ALLL process and amounts reported. For example,
                            as indicated on page 4 of that statement, "the board of
                            directors and management are expected to: Ensure that
                            the institution has an effective loan review system and
                            controls[;] Ensure the prompt charge-off of loans, or
                            portions of loans, that available information confirms to
                            be uncollectible[; and] Ensure that the institution's
                            process for determining an adequate level for the ALLL is
                            based on a comprehensive, adequately documented, and
                            consistently applied analysis of the institution's loan and
                            lease portfolio."

                           FN13 SAS 61 (as amended by SAS 90) states, in part: "In
                            connection with each SEC engagement the auditor should
                            discuss with the audit committee the auditor's judgments
                            about the quality, not just the acceptability, of the entity's
                            accounting principles as applied in its financial reporting.
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                            The discussion should include items that have a
                            significant impact on the representational faithfulness,
                            verifiability, and neutrality of the accounting information
                            included in the financial statements. [Footnote omitted.]
                            Examples of items that may have such an impact are the
                            following: Selection of new or changes to accounting
                            policies. Estimates, judgments, and uncertainties.
                            Unusual transactions. Accounting policies relating to
                            significant financial statement items, including the timing
                            or transactions and the period in which they are
                            recorded."

                                  Selection of new or changes to accounting policies

                                  Estimates, judgments, and uncertainties

                                  Unusual transactions.

                           Accounting policies relating to significant financial
                            statement items, including the timing or transactions and
                            the period in which they are recorded."

                  A systematic methodology that is properly designed and
                   implemented should result in a registrant's best estimate of its
                   allowance for loan losses. FN14 Accordingly, the staff normally
                   would expect registrants to adjust their loan loss allowance
                   balance, either upward or downward, in each period for
                   differences between the results of the systematic determination
                   process and the unadjusted loan loss allowance balance in the
                   general ledger. FN15

                           FN14 Registrants should also refer to FASB ASC
                            Section 450-20-30, Contingencies—Loss Contingencies—
                            Initial Measurement, which provides accounting and
                            disclosure guidance for situations in which a range of loss
                            can be reasonably estimated but no single amount within
                            the range appears to be a better estimate than any other
                            amount within the range.
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                           FN15 Registrants should refer to the guidance on
                            materiality in SAB Topic 1.M.

         o   b. Documenting a systematic methodology.

                  Question 1: Assume the same facts as in the previous question
                   in Section 2(a). What would the staff normally expect Registrant
                   A to include in its documentation of its loan loss allowance
                   methodology?

                  Interpretive Response: In FRR 28, the Commission provided
                   guidance for documentation of loan loss provisions and
                   allowances for registrants engaged in lending activities. The
                   staff believes that appropriate written supporting documentation
                   for the loan loss provision and allowance facilitates review of the
                   loan loss allowance process and reported amounts, builds
                   discipline and consistency into the loan loss allowance
                   determination process, and improves the process for estimating
                   loan losses by helping to ensure that all relevant factors are
                   appropriately considered in the allowance analysis.

                  The staff, therefore, normally would expect a registrant to
                   document the relationship between the findings of its detailed
                   review of the loan portfolio and the amount of the loan loss
                   allowance and the provision for loan losses reported in each
                   period. FN16

                           FN16 FRR 28 states: "The specific rationale upon which
                            the [loan loss allowance and provision] amount actually
                            reported is based - i. e., the bridge between the findings
                            of the detailed review [of the loan portfolio] and the
                            amount actually reported in each period—would be
                            documented to help ensure the adequacy of the reported
                            amount, to improve auditability, and to serve as a
                            benchmark for exercise of prudent judgment in future
                            periods."

                  The staff normally would expect to find that registrants maintain
                   written supporting documentation for the following decisions,
                   strategies, and processes: FN17
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                           FN17 Paragraph 9.64 in the Audit Guide outlines specific
                            aspects of effective internal control related to the
                            allowance for loan losses. These specific aspects include
                            the control environment ("management communication of
                            the need for proper reporting of the allowance");
                            management reports that summarize loan activity and
                            the institution's procedures and controls ("accumulation
                            of relevant, sufficient, and reliable data on which to base
                            management's estimate of the allowance"); "independent
                            loan review;" review of information and assumptions
                            ("adequate review and approval of the allowance
                            estimates by the individuals specified in management's
                            written policy"); and assessment of the process
                            ("comparison of prior estimates related to the allowance
                            with subsequent results to assess the reliability of the
                            process used to develop the allowance").

                           Policies and procedures:

                                  Over the systems and controls that maintain an
                                   appropriate loan loss allowance, and

                                  Over the loan loss allowance methodology;

                           Loan grading system or process;

                           Summary or consolidation of the loan loss allowance
                            balance;

                           Validation of the loan loss allowance methodology; and

                           Periodic adjustments to the loan loss allowance process.

                  Question 2: The Interpretive Response to Question 2 indicates
                   that the staff normally would expect to find that registrants
                   maintain written supporting documentation for their loan loss
                   allowance policies and procedures. In the staff's view, what
                   aspects of a registrant's loan loss allowance internal accounting
                   control systems and processes would appropriately be
                   addressed in its written policies and procedures?
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                  Interpretive Response: The staff is aware that registrants utilize
                   a wide range of policies, procedures, and control systems in
                   their loan loss allowance processes, and these policies,
                   procedures, and systems are tailored to the size and complexity
                   of the registrant and its loan portfolio. However, the staff
                   believes that, in order for a registrant's loan loss allowance
                   methodology to be effective, the registrant's written policies and
                   procedures for the systems and controls that maintain an
                   appropriate loan loss allowance would likely address the
                   following:

                           The roles and responsibilities of the registrant's
                            departments and personnel (including the lending
                            function, credit review, financial reporting, internal audit,
                            senior management, audit committee, board of directors,
                            and others, as applicable) who determine or review, as
                            applicable, the loan loss allowance to be reported in the
                            financial statements; FN18

                                  FN18 Paragraph 9.64 of the Audit Guide discusses
                                   "management communication of the need for
                                   proper reporting of the allowance." As indicated in
                                   that paragraph, the "control environment strongly
                                   influences the effectiveness of the system of
                                   controls and reflects the overall attitude,
                                   awareness, and action of the board of directors and
                                   management concerning the importance of
                                   control."

                           The registrant's accounting policies for loans and loan
                            losses, including the policies for charge-offs and
                            recoveries and for estimating the fair value of collateral,
                            where applicable; FN19

                                  FN19 Paragraph 9.56 of the Audit Guide refers to
                                   the documentation, for disclosure purposes, that an
                                   entity should include in the notes to the financial
                                   statements describing the accounting policies the
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                                   entity used to estimate its allowance and related
                                   provision for loan losses.

                           The description of the registrant's systematic
                            methodology, which should be consistent with the
                            registrant's accounting policies for determining its loan
                            loss allowance (see Question 4 below for further
                            discussion); FN20 and

                                  FN20 Ibid. As indicated in paragraph 9.56, "[s]uch
                                   a description should identify the factors that
                                   influenced management's judgment (for example,
                                   historical losses and existing economic conditions)
                                   and may also include discussion of risk elements
                                   relevant to particular categories of financial
                                   instruments."

                           The system of internal controls used to ensure that the
                            loan loss allowance process is maintained in accordance
                            with GAAP. FN21

                                  FN21 See also paragraph 9.64 in the Audit Guide
                                   which provides information about specific aspects
                                   of effective internal control related to the allowance
                                   for loan losses.

                  The staff normally would expect an internal control system FN22
                   for the loan loss allowance estimation process to:

                               
                                  FN22 Ibid. Public companies are required to comply
                                   with the books and records provisions of the
                                   Exchange Act. Under Sections 13(b)(2) - (7) of the
                                   Exchange Act, registrants must make and keep
                                   books, records, and accounts, which, in reasonable
                                   detail, accurately and fairly reflect the transactions
                                   and dispositions of assets of the registrant.
                                   Registrants also must maintain internal accounting
                                   controls that are sufficient to provide reasonable
                                   assurances that, among other things, transactions
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                                   are recorded as necessary to permit the
                                   preparation of financial statements in conformity
                                   with GAAP.

                           Include measures to provide assurance regarding the
                            reliability FN23 and integrity of information and
                            compliance with laws, regulations, and internal policies
                            and procedures; FN24

                                  FN23 Concepts Statement 2, Qualitative
                                   Characteristics of Accounting Information, provides
                                   guidance on "reliability" as a primary quality of
                                   accounting information.

                                  FN24 Section 13(b)(2) - (7) of the Exchange Act.

                           Reasonably assure that the registrant's financial
                            statements are prepared in accordance with GAAP; and

                           Include a well-defined loan review process. FN25

                                  FN25 As indicated in paragraph 9.05, item a, in the
                                   Audit Guide, a loan loss allowance methodology
                                   should "include a detailed and regular analysis of
                                   the loan portfolio." Paragraphs 9.06 to 9.13 provide
                                   additional information on how creditors traditionally
                                   identify and review loans on an individual basis and
                                   review or analyze loans on a group or pool basis.

                  A well-defined loan review process FN26 typically contains:

                           FN26 Ibid. Additionally, paragraph 9.64 in the Audit Guide
                            provides guidance on the loan review process. As stated
                            in that paragraph, "[m]anagement reports summarizing
                            loan activity, renewals, and delinquencies are vital to the
                            timely identification of problem loans." The paragraph
                            further states: "Loan reviews should be conducted by
                            institution personnel who are independent of the
                            underwriting, supervision, and collections functions. The
                            specific lines of reporting depend on the complexity of the
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                            institution's organizational structure, but the loan
                            reviewers should report to a high level of management
                            that is independent from the lending process in the
                            institution."

                           An effective loan grading system that is consistently
                            applied, identifies differing risk characteristics and loan
                            quality problems accurately and in a timely manner, and
                            prompts appropriate administrative actions; FN27

                                  FN27 Ibid.

                           Sufficient internal controls to ensure that all
                            relevant loan review information is appropriately
                            considered in estimating losses. This includes
                            maintaining appropriate reports, details of reviews
                            performed, and identification of personnel involved;
                            FN28 and

                                  FN28 Ibid.

                           Clear formal communication and coordination between a
                            registrant's credit administration function, financial
                            reporting group, management, board of directors, and
                            others who are involved in the loan loss allowance
                            determination or review process, as applicable (e. g.,
                            written policies and procedures, management reports,
                            audit programs, and committee minutes). FN29

                                  FN29 Ibid.

                  Question 3: The Interpretive Response to Question 3 indicates
                   that the staff normally would expect a registrant's written loan
                   loss allowance policies and procedures to include a description
                   of the registrant's systematic allowance methodology, which
                   should be consistent with its accounting policies for determining
                   its loan loss allowance. What elements of a registrant's loan loss
                   allowance methodology would the staff normally expect to be
                   described in the registrant's written policies and procedures?
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                  Interpretive Response: The staff normally would expect a
                   registrant's written policies and procedures to describe the
                   primary elements of its loan loss allowance methodology,
                   including portfolio segmentation and impairment measurement.
                   The staff normally would expect that, in order for a registrant's
                   loan loss allowance methodology to be effective, the registrant's
                   written policies and procedures would describe the
                   methodology:

                           For segmenting the portfolio:

                           How the segmentation process is performed (i. e., by loan
                            type, industry, risk rates, etc.); FN30

                                  FN30 Paragraph 9.07 in the Audit Guide states that
                                   "creditors have traditionally identified loans that
                                   are to be evaluated for collectibility by dividing the
                                   loan portfolio into different segments. Loans with
                                   similar risk characteristics, such as risk
                                   classification, past-due status, and type of loan
                                   should be grouped together." Paragraph 9.08
                                   provides additional guidance on classifying
                                   individual loans and paragraph 9.13 indicates
                                   considerations for groups or pools of loans.

                           When a loan grading system is used to segment the
                            portfolio:

                                  The definitions of each loan grade;

                                  A reconciliation of the internal loan grades to
                                   supervisory loan grades, if applicable; and

                                  The delineation of responsibilities for the loan
                                   grading system.

                           For determining and measuring impairment under FASB
                            ASC Subtopic 310-10: FN31

                                  FN31 See FASB ASC paragraphs 310-10-35-16
                                   through 310-10-35-19 on recognition of
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                                   impairment and FASB ASC paragraphs 310-10-35-
                                   20 through 310-10-35-37 on measurement of
                                   impairment.

                           The methods used to identify loans to be analyzed
                            individually;

                           For individually reviewed loans that are impaired, how the
                            amount of any impairment is determined and measured,
                            including:

                                  Procedures describing the impairment
                                   measurement techniques available; and

                                  Steps performed to determine which technique is
                                   most appropriate in a given situation.

                           The methods used to determine whether and how loans
                            individually evaluated under FASB ASC Subtopic 310-10,
                            but not considered to be individually impaired, should be
                            grouped with other loans that share common
                            characteristics for impairment evaluation under FASB ASC
                            Subtopic 450-20. FN32

                                  FN32 See FASB ASC paragraph 310-10-35-36.

                           For determining and measuring impairment under FASB
                            ASC Subtopic 450-20: FN33

                                      
                                           FN33 See FASB ASC paragraph 450-20-25-
                                            2 on accrual of loss contingencies and FASB
                                            ASC paragraphs 310-10-35-5 through 310-
                                            10-35-11 on collectibility of receivables.

                                  How loans with similar characteristics are grouped
                                   to be evaluated for loan collectibility (such as loan
                                   type, past-due status, and risk);

                                  How loss rates are determined (e. g., historical loss
                                   rates adjusted for environmental factors or
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                                    migration analysis) and what factors are considered
                                    when establishing appropriate time frames over
                                    which to evaluate loss experience; and

                                   Descriptions of qualitative factors (e. g., industry,
                                    geographical, economic, and political factors) that
                                    may affect loss rates or other loss measurements.

    x   3. Applying a systematic methodology - measuring and documenting loan
        losses under FASB ASC Subtopic 310-10

           o   a. Measuring and documenting loan losses under FASB ASC
               Subtopic 310-10.

                     Facts: Approximately one-third of Registrant B's commercial
                      loan portfolio consists of large balance, non-homogeneous
                      loans. Due to their large individual balances, these loans meet
                      the criteria under Registrant B's policies and procedures for
                      individual review for impairment under FASB ASC Subtopic 310-
                      10.

                     Upon review of the large balance loans, Registrant B determines
                      that certain of the loans are impaired as defined by FASB ASC
                      Subtopic 310-10. FN34

                            FN34 FASB ASC paragraph 310-10-35-8 provides that a
                             loan is impaired when, based on current information and
                             events, it is probable that all amounts due will not be
                             collected pursuant to the terms of the loan agreement.

                     Question: For the commercial loans reviewed under FASB ASC
                      Subtopic 310-10 that are individually impaired, how would the
                      staff normally expect Registrant B to measure and document
                      the impairment on those loans? Can it use an impairment
                      measurement method other than the methods allowed by FASB
                      ASC Subtopic 310-10?

                     Interpretive Response: For those loans that are reviewed
                      individually under FASB ASC Subtopic 310-10 and considered
                      individually impaired, Registrant B must use one of the methods
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                   for measuring impairment that is specified by FASB ASC
                   Subtopic 310-10 (that is, the present value of expected future
                   cash flows, the loan's observable market price, or the fair value
                   of collateral). FN35 Accordingly, in the circumstances described
                   above, for the loans considered individually impaired under
                   FASB ASC Subtopic 310-10, it would not be appropriate for
                   Registrant B to choose a measurement method not prescribed
                   by FASB ASC Subtopic 310-10. For example, it would not be
                   appropriate to measure loan impairment by applying a loss rate
                   to each loan based on the average historical loss percentage for
                   all of its commercial loans for the past five years.

                           FN35 See FASB ASC paragraph 310-10-35-22.

                  The staff normally would expect Registrant B to maintain as
                   sufficient, objective evidence FN36 written documentation to
                   support its measurement of loan impairment under FASB ASC
                   Subtopic 310-10. FN37 If Registrant B uses the present value of
                   expected future cash flows to measure impairment of a loan, it
                   should document the amount and timing of cash flows, the
                   effective interest rate used to discount the cash flows, and the
                   basis for the determination of cash flows, including
                   consideration of current environmental factors FN38 and other
                   information reflecting past events and current conditions. If
                   Registrant B uses the fair value of collateral to measure
                   impairment, the staff normally would expect to find that
                   Registrant B had documented how it determined the fair value,
                   including the use of appraisals, valuation assumptions and
                   calculations, the supporting rationale for adjustments to
                   appraised values, if any, and the determination of costs to sell,
                   if applicable, appraisal quality, and the expertise and
                   independence of the appraiser. FN39 Similarly, the staff
                   normally would expect to find that Registrant B had documented
                   the amount, source, and date of the observable market price of
                   a loan, if that method of measuring loan impairment is used.

                           FN36 Under GAAS, auditors should obtain "sufficient
                            competent evidential matter" to support its audit opinion.
                            See AU Section 326. The staff normally would expect
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                            registrants to maintain such evidential matter for its
                            allowances for loan losses for use by the auditors in
                            conducting their annual audit.

                           FN37 Paragraph 9.74 in the Audit Guide outlines sources
                            of information, available from management, that the
                            independent accountant should consider in identifying
                            loans that contain high credit risk or other significant
                            exposures and concentrations. These sources of
                            information would also likely include documentation of
                            loan impairment under FASB ASC Subtopic 310-10 or
                            FASB ASC Subtopic 450-20. Additionally, as indicated in
                            paragraphs 9.85 to 9.97 of the Audit Guide, the
                            independent accountant, in conducting an audit, may
                            perform a detailed loan file review for selected loans. A
                            registrant's loan files may contain documentation about
                            borrowers' financial resources and cash flows (see
                            paragraph 9.92) or about the collateral securing the
                            loans, if applicable (see paragraphs 9.94 and 9.95).

                           FN38 FASB ASC paragraph 310-10-35-27 indicates that
                            environmental factors include existing industry,
                            geographical, economic, and political factors.

                           FN39 See paragraphs 9.94 and 9.95 in the Audit Guide
                            for additional information about documentation of loan
                            collateral.

         o   b. Measuring and documenting loan losses under FASB ASC
             Subtopic 310-10 for a collateral dependent loan.

                   Facts: Registrant C has a $10 million loan outstanding to
                    Company X that is secured by real estate, which Registrant C
                    individually evaluates under FASB ASC Subtopic 310-10 due to
                    the loan's size. Company X is delinquent in its loan payments
                    under the terms of the loan agreement. Accordingly, Registrant
                    C determines that its loan to Company X is impaired, as defined
                    by FASB ASC Subtopic 310-10. Because the loan is collateral
                    dependent, Registrant C measures impairment of the loan based
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                   on the fair value of the collateral. Registrant C determines that
                   the most recent valuation of the collateral was performed by an
                   appraiser eighteen months ago and, at that time, the estimated
                   value of the collateral (fair value less costs to sell) was $12
                   million.

                  Registrant C believes that certain of the assumptions that were
                   used to value the collateral eighteen months ago do not reflect
                   current market conditions and, therefore, the appraiser's
                   valuation does not approximate current fair value of the
                   collateral.

                  Several buildings, which are comparable to the real estate
                   collateral, were recently completed in the area, increasing
                   vacancy rates, decreasing lease rates, and attracting several
                   tenants away from the borrower. Accordingly, credit review
                   personnel at Registrant C adjust certain of the valuation
                   assumptions to better reflect the current market conditions as
                   they relate to the loan's collateral. FN40 After adjusting the
                   collateral valuation assumptions, the credit review department
                   determines that the current estimated fair value of the
                   collateral, less costs to sell, is $8 million. FN41 Given that the
                   recorded investment in the loan is $10 million, Registrant C
                   concludes that the loan is impaired by $2 million and records an
                   allowance for loan losses of $2 million.

                           FN40 When reviewing collateral dependent loans,
                            Registrant C may often find it more appropriate to obtain
                            an updated appraisal to estimate the effect of current
                            market conditions on the appraised value instead of
                            internally estimating an adjustment.

                           FN41 An auditor who uses the work of a specialist, such
                            as an appraiser, in performing an audit in accordance with
                            GAAS should refer to the guidance in SAS 73 (AU Section
                            336).

                  Question: What documentation would the staff normally expect
                   Registrant C to maintain to support its determination of the
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                    allowance for loan losses of $2 million for the loan to Company
                    X?

                   Interpretive Response: The staff normally would expect
                    Registrant C to document that it measured impairment of the
                    loan to Company X by using the fair value of the loan's
                    collateral, less costs to sell, which it estimated to be $8 million.
                    FN42 This documentation FN43 should include the registrant's
                    rationale and basis for the $8 million valuation, including the
                    revised valuation assumptions it used, the valuation calculation,
                    and the determination of costs to sell, if applicable.

                            FN42 See paragraphs 9.94 to 9.95 in the Audit Guide for
                             further information about documentation of loan collateral
                             and associated audit procedures that may be performed
                             by the independent accountant.

                            FN43 As stated in paragraph 9.14 of the Audit Guide,
                             "[t]he approach for determination of the allowance should
                             be well documented."

                   Because Registrant C arrived at the valuation of $8 million by
                    modifying an earlier appraisal, it should document its rationale
                    and basis for the changes it made to the valuation assumptions
                    that resulted in the collateral value declining from $12 million
                    eighteen months ago to $8 million in the current period.

         o   c. Measuring and documenting loan losses under FASB ASC
             Subtopic 310-10 - fully collateralized loans.

                   Question: In the staff's view, what is an example of an
                    acceptable documentation practice for a registrant to adequately
                    support its determination that no allowance for loan losses
                    should be recorded for a group of loans because the loans are
                    fully collateralized?

                   Interpretive Response: Consider the following fact pattern:
                    Registrant D has $10 million in loans that are fully collateralized
                    by highly rated debt securities with readily determinable market
                    values. The loan agreement for each of these loans requires the
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                   borrower to provide qualifying collateral sufficient to maintain a
                   loan-to-value ratio with sufficient margin to absorb volatility in
                   the securities' market prices. Registrant D's collateral
                   department has physical control of the debt securities through
                   safekeeping arrangements. In addition, Registrant D perfected
                   its security interest in the collateral when the funds were
                   originally distributed. On a quarterly basis, Registrant D's credit
                   administration function determines the market value of the
                   collateral for each loan using two independent market quotes
                   and compares the collateral value to the loan carrying value. If
                   there are any collateral deficiencies, Registrant D notifies the
                   borrower and requests that the borrower immediately remedy
                   the deficiency. Due in part to its efficient operation, Registrant D
                   has historically not incurred any material losses on these loans.
                   Registrant D believes these loans are fully-collateralized and
                   therefore does not maintain any loan loss allowance balance for
                   these loans.

                  Registrant D's management summary of the loan loss allowance
                   includes documentation indicating that, in accordance with its
                   loan loss allowance policy, the collateral protection on these
                   loans has been verified by the registrant, no probable loss has
                   been incurred, and no loan loss allowance is necessary.

                  Documentation in Registrant D's loan files includes the two
                   independent market quotes obtained each quarter for each
                   loan's collateral amount, the documents evidencing the
                   perfection of the security interest in the collateral, and other
                   relevant supporting documents. Additionally, Registrant D's loan
                   loss allowance policy includes a discussion of how to determine
                   when a loan is considered "fully collateralized" and does not
                   require a loan loss allowance. Registrant D's policy requires the
                   following factors to be considered and its findings concerning
                   these factors to be fully documented:

                           Volatility of the market value of the collateral;

                           Recency and reliability of the appraisal or other valuation;
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                            Recency of the registrant's or third party's inspection of
                             the collateral;

                            Historical losses on similar loans;

                            Confidence in the registrant's lien or security position
                             including appropriate:

                                   Type of security perfection (e. g., physical
                                    possession of collateral or secured filing);

                                   Filing of security perfection (i. e., correct
                                    documents and with the appropriate officials); and

                                   Relationship to other liens; and

                            Other factors as appropriate for the loan type.

                     In the staff's view, Registrant D's documentation supporting its
                      determination that certain of its loans are fully collateralized,
                      and no loan loss allowance should be recorded for those loans,
                      is acceptable under FRR 28.

    x   4. Applying a systematic methodology - measuring and documenting loan
        losses under FASB ASC Subtopic 450-20

           o   a. Measuring and documenting loan losses under FASB ASC
               Subtopic 450-20.

                     Question 1: In the staff's view, what are some general
                      considerations for a registrant in applying its systematic
                      methodology to measure and document loan losses under FASB
                      ASC Subtopic 450-20?

                     Interpretive Response: For loans evaluated on a group basis
                      under FASB ASC Subtopic 450-20, the staff believes that a
                      registrant should segment the loan portfolio by identifying risk
                      characteristics that are common to groups of loans. FN44
                      Registrants typically decide how to segment their loan portfolios
                      based on many factors, which vary with their business
                      strategies as well as their information system capabilities.
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                   Regardless of the segmentation method used, the staff normally
                   would expect a registrant to maintain documentation to support
                   its conclusion that the loans in each segment have similar
                   attributes or characteristics. As economic and other business
                   conditions change, registrants often modify their business
                   strategies, which may result in adjustments to the way in which
                   they segment their loan portfolio for purposes of estimating loan
                   losses. The staff normally would expect registrants to maintain
                   documentation to support these segmentation adjustments.
                   FN45

                           FN44 Paragraph 9.07 of the Audit Guide indicates that
                            "loans with similar risk characteristics, such as risk
                            classification, past-due status, and type of loan, should be
                            grouped together."

                           FN45 Segmentation of the loan portfolio is a standard
                            element in a loan loss allowance methodology. As
                            indicated in paragraph 9.05 of the Audit Guide, the loan
                            loss allowance methodology "should be well documented,
                            with clear explanations of the supporting analyses and
                            rationale."

                  Based on the segmentation of the loan portfolio, a registrant
                   should estimate the FASB ASC Subtopic 450-20 portion of its
                   loan loss allowance. For those segments that require an
                   allowance for loan losses, FN46 the registrant should estimate
                   the loan losses, on at least a quarterly basis, based upon its
                   ongoing loan review process and analysis of loan performance.
                   FN47 The registrant should follow a systematic and consistently
                   applied approach to select the most appropriate loss
                   measurement methods and support its conclusions and rationale
                   with written documentation. FN48

                           FN46 An example of a loan segment that does not
                            generally require an allowance for loan losses is a group
                            of loans that are fully secured by deposits maintained at
                            the lending institution.
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                           FN47 FRR 28 refers to a "systematic methodology to be
                            employed each period" in determining provisions and
                            allowances for loan losses. As indicated in FRR 28, the
                            staff normally would expect that the systematic
                            methodology would be documented "to help ensure that
                            all matters affecting loan collectibility will consistently be
                            identified in the detailed [loan] review process."

                           FN48 Ibid. Also, as indicated in paragraph 9.05 of the
                            Audit Guide, the loan loss allowance methodology "should
                            be well documented, with clear explanations of the
                            supporting analyses and rationale." Further, as indicated
                            in paragraph 9.14 of the Audit Guide, "[t]he approach for
                            determination of the allowance should be well
                            documented."

                  Facts: After identifying certain loans for evaluation under FASB
                   ASC Subtopic 310-10, Registrant E segments its remaining loan
                   portfolio into five pools of loans. For three of the pools, it
                   measures loan impairment under FASB ASC Subtopic 450-20 by
                   applying historical loss rates, adjusted for relevant
                   environmental factors, to the pools' aggregate loan balances.
                   For the remaining two pools of loans, Registrant E uses a loss
                   estimation model that is consistent with GAAP to measure loan
                   impairment under FASB ASC Subtopic 450-20.

                  Question 2: What documentation would the staff normally
                   expect Registrant E to prepare to support its loan loss allowance
                   for its pools of loans under FASB ASC Subtopic 450-20?

                  Interpretive Response: Regardless of the method used to
                   determine loan loss measurements under FASB ASC 450-20,
                   Registrant E should demonstrate and document that the loss
                   measurement methods used to estimate the loan loss allowance
                   for each segment of its loan portfolio are determined in
                   accordance with GAAP as of the financial statement date. FN49

                           FN49 Refer to FASB ASC paragraph 450-20-25-2(b). Also,
                            as indicated in FASB ASC paragraph 310-10-35-4(c),
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                            "[t]he approach for determination of the allowance shall
                            be well documented and applied consistently from period
                            to period."

                  As indicated for Registrant E, one method of estimating loan
                   losses for groups of loans is through the application of loss rates
                   to the groups' aggregate loan balances. Such loss rates typically
                   reflect the registrant's historical loan loss experience for each
                   group of loans, adjusted for relevant environmental factors (e.
                   g., industry, geographical, economic, and political factors) over
                   a defined period of time. If a registrant does not have loss
                   experience of its own, it may be appropriate to reference the
                   loss experience of other companies in the same business,
                   provided that the registrant demonstrates that the attributes of
                   the loans in its portfolio segment are similar to those of the
                   loans included in the portfolio of the registrant providing the loss
                   experience. FN50 Registrants should maintain supporting
                   documentation for the technique used to develop their loss
                   rates, including the period of time over which the losses were
                   incurred. If a range of loss is determined, registrants should
                   maintain documentation to support the identified range and the
                   rationale used for determining which estimate is the best
                   estimate within the range of loan losses. FN51

                           FN50 Refer to FASB ASC paragraphs 310-10-35-10
                            through 310-10-35-11.

                           FN51 Registrants should also refer to FASB ASC
                            Subtopic 450-20, which provides guidance for situations
                            in which a range of loss can be reasonably estimated but
                            no single amount within the range appears to be a better
                            estimate than any other amount within the range. Also,
                            paragraph 9.14 of the Audit Guide notes the use of "a
                            method that results in a range of estimates for the
                            allowance," except for impairment measurement under
                            FASB ASC Subtopic 310-10, which is based on a single
                            best estimate and not a range of estimates. Paragraph
                            9.14 also states that "[t]he approach for determination of
                            the allowance should be well documented."
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                  The staff normally would expect that, before employing a loss
                   estimation model, a registrant would evaluate and modify, as
                   needed, the model's assumptions to ensure that the resulting
                   loss estimate is consistent with GAAP. In order to demonstrate
                   consistency with GAAP, registrants that use loss estimation
                   models should typically document the evaluation, the
                   conclusions regarding the appropriateness of estimating loan
                   losses with a model or other loss estimation tool, and the
                   objective support for adjustments to the model or its results.
                   FN52

                           FN52 The systematic methodology (including, if
                            applicable, loss estimation models) used to determine
                            loan loss provisions and allowances should be
                            documented in accordance with FRR 28, paragraph 9.05
                            of the Audit Guide, and FASB ASC Subtopic 310-10.

                  In developing loss measurements, registrants should consider
                   the impact of current environmental factors and then document
                   which factors were used in the analysis and how those factors
                   affected the loss measurements. Factors that should be
                   considered in developing loss measurements include the
                   following: FN53

                               
                                  FN53 Refer to paragraph 9.13 in the Audit Guide.

                           Levels of and trends in delinquencies and impaired loans;

                           Levels of and trends in charge-offs and recoveries;

                           Trends in volume and terms of loans;

                           Effects of any changes in risk selection and underwriting
                            standards, and other changes in lending policies,
                            procedures, and practices;

                           Experience, ability, and depth of lending management
                            and other relevant staff;

                           National and local economic trends and conditions;
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                           Industry conditions; and

                           Effects of changes in credit concentrations.

                   For any adjustment of loss measurements for environmental
                    factors, a registrant should maintain sufficient, objective
                    evidence FN54 (a) to support the amount of the adjustment and
                    (b) to explain why the adjustment is necessary to reflect current
                    information, events, circumstances, and conditions in the loss
                    measurements.

                           FN54 AU 326 describes the "sufficient competent
                            evidential matter" that auditors must consider in
                            accordance with GAAS.

         o   b. Measuring and documenting loan losses under FASB ASC
             Subtopic 450-20 - adjusting loss rates.

                   Facts: Registrant F's lending area includes a metropolitan area
                    that is financially dependent upon the profitability of a number
                    of manufacturing businesses. These businesses use highly
                    specialized equipment and significant quantities of rare metals
                    in the manufacturing process. Due to increased low-cost foreign
                    competition, several of the parts suppliers servicing these
                    manufacturing firms declared bankruptcy. The foreign suppliers
                    have subsequently increased prices and the manufacturing firms
                    have suffered from increased equipment maintenance costs and
                    smaller profit margins.

                   Additionally, the cost of the rare metals used in the
                    manufacturing process increased and has now stabilized at
                    double last year's price. Due to these events, the manufacturing
                    businesses are experiencing financial difficulties and have
                    recently announced downsizing plans.

                   Although Registrant F has yet to confirm an increase in its loss
                    experience as a result of these events, management knows that
                    it lends to a significant number of businesses and individuals
                    whose repayment ability depends upon the long-term viability of
                    the manufacturing businesses. Registrant F's management has
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                   identified particular segments of its commercial and consumer
                   customer bases that include borrowers highly dependent upon
                   sales or salary from the manufacturing businesses. Registrant
                   F's management performs an analysis of the affected portfolio
                   segments to adjust its historical loss rates used to determine
                   the loan loss allowance. In this particular case, Registrant F has
                   experienced similar business and lending conditions in the past
                   that it can compare to current conditions.

                  Question: How would the staff normally expect Registrant F to
                   document its support for the loss rate adjustments that result
                   from considering these manufacturing firms' financial
                   downturns? FN55

                           FN55 This question and response would also apply to
                            other registrant fact patterns in which the registrant
                            adjusts loss rates for environmental factors.

                  Interpretive Response: The staff normally would expect
                   Registrant F to document its identification of the particular
                   segments of its commercial and consumer loan portfolio for
                   which it is probable that the manufacturing business' financial
                   downturn has resulted in loan losses. In addition, the staff
                   normally would expect Registrant F to document its analysis
                   that resulted in the adjustments to the loss rates for the
                   affected portfolio segments. FN56 The staff normally would
                   expect that, as part of its documentation, Registrant F would
                   maintain copies of the documents supporting the analysis, which
                   may include relevant economic reports, economic data, and
                   information from individual borrowers.

                           FN56 Paragraph 9.56 of the Audit Guide refers to the
                            documentation, for disclosure purposes, that an entity
                            should include in the notes to the financial statements
                            describing the accounting policies and methodology the
                            entity used to estimate its allowance and related
                            provision for loan losses. As indicated in paragraph 9.56,
                            "[s]uch a description should identify the factors that
                            influenced management's judgment (for example,
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                            historical losses and existing economic conditions) and
                            may also include discussion of risk elements relevant to
                            particular categories of financial instruments."

                   Because in this case Registrant F has experienced similar
                    business and lending conditions in the past, it should consider
                    including in its supporting documentation an analysis of how the
                    current conditions compare to its previous loss experiences in
                    similar circumstances. The staff normally would expect that, as
                    part of Registrant F's effective loan loss allowance methodology,
                    it would create a summary of the amount and rationale for the
                    adjustment factor for review by management prior to the
                    issuance of the financial statements. FN57

                           FN57 Paragraph 9.64 in the Audit Guide indicates that
                            effective internal control related to the allowance for loan
                            losses should include "accumulation of relevant,
                            sufficient, and reliable data on which to base
                            management's estimate of the allowance."

         o   c. Measuring and documenting loan losses under FASB ASC
             Subtopic 450-20 estimating losses on loans individually reviewed for
             impairment but not considered individually impaired.

                   Facts: Registrant G has outstanding loans of $2 million to
                    Company Y and $1 million to Company Z, both of which are
                    paying as agreed upon in the loan documents. The registrant's
                    loan loss allowance policy specifies that all loans greater than
                    $750,000 must be individually reviewed for impairment under
                    FASB ASC Subtopic 310-10. Company Y's financial statements
                    reflect a strong net worth, good profits, and ongoing ability to
                    meet debt service requirements. In contrast, recent information
                    indicates Company Z's profitability is declining and its cash flow
                    is tight. Accordingly, this loan is rated substandard under the
                    registrant's loan grading system. Despite its concern,
                    management believes Company Z will resolve its problems and
                    determines that neither loan is individually impaired as defined
                    by FASB ASC Subtopic 310-10.
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                  Registrant G segments its loan portfolio to estimate loan losses
                   under FASB ASC Subtopic 450-20. Two of its loan portfolio
                   segments are Segment 1 and Segment 2. The loan to Company
                   Y has risk characteristics similar to the loans included in
                   Segment 1 and the loan to Company Z has risk characteristics
                   similar to the loans included in Segment 2. FN58

                           FN58 These groups of loans do not include any loans that
                            have been individually reviewed for impairment under
                            FASB ASC Section 310-10-35, Receivables—Overall—
                            Subsequent Measurement, and determined to be impaired
                            as defined by FASB ASC Section 310-10-35.

                  In its determination of its loan loss allowance under FASB ASC
                   Subtopic 450-20, Registrant G includes its loans to Company Y
                   and Company Z in the groups of loans with similar
                   characteristics (i. e., Segment 1 for Company Y's loan and
                   Segment 2 for Company Z's loan). FN59 Management's analyses
                   of Segment 1 and Segment 2 indicate that it is probable that
                   each segment includes some losses, even though the losses
                   cannot be identified to one or more specific loans. Management
                   estimates that the use of its historical loss rates for these two
                   segments, with adjustments for changes in environmental
                   factors, provides a reasonable estimate of the registrant's
                   probable loan losses in these segments.

                           FN59 FASB ASC paragraph 310-10-35-36 states that if a
                            creditor concludes that an individual loan specifically
                            identified for evaluation is not impaired under FASB ASC
                            Subtopic 310-10, that loan may be included in the
                            assessment of the allowance for loan losses under FASB
                            ASC Subtopic 450-20, but only if specific characteristics
                            of the loan indicate that it is probable that there would be
                            an incurred loss in a group of loans with those
                            characteristics.

                  Question: How would the staff normally expect Registrant G to
                   adequately document a loan loss allowance under FASB ASC
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                   Subtopic 450-20 for these loans that were individually reviewed
                   for impairment but are not considered individually impaired?

                  Interpretive Response: The staff normally would expect that, as
                   part of Registrant G's effective loan loss allowance methodology,
                   it would document its decision to include its loans to Company Y
                   and Company Z in its determination of its loan loss allowance
                   under FASB ASC Subtopic 450-20. FN60 The staff also normally
                   would expect that Registrant G would document the specific
                   characteristics of the loans that were the basis for grouping
                   these loans with other loans in Segment 1 and Segment 2,
                   respectively. FN61 Additionally, the staff normally would expect
                   Registrant G to maintain documentation to support its method
                   of estimating loan losses for Segment 1 and Segment 2, which
                   typically would include the average loss rate used, the analysis
                   of historical losses by loan type and by internal risk rating, and
                   support for any adjustments to its historical loss rates. FN62
                   The registrant would typically maintain copies of the economic
                   and other reports that provided source data.

                           FN60 Paragraph 9.05 in the Audit Guide indicates that an
                            entity's method of estimating credit losses should "include
                            a detailed and regular analysis of the loan portfolio,"
                            "consider all loans (whether on an individual or pool-of-
                            loans basis)," "be based on current and reliable data,"
                            and "be well documented, with clear explanations of the
                            supporting analyses and rationale." FASB ASC
                            paragraph 310-10-35-36 provides guidance as to the
                            analysis to be performed when determining whether a
                            loan that is not individually impaired under FASB ASC
                            Subtopic 310-10 should be included in the assessment of
                            the loan loss allowance under FASB ASC Subtopic 450-20.

                           FN61 Ibid.

                           FN62 Ibid.

                  When measuring and documenting loan losses, Registrant G
                   should take steps to prevent layering loan loss allowances.
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                      Layering is the inappropriate practice of recording in the
                      allowance more than one amount for the same probable loan
                      loss. Layering can happen when a registrant includes a loan in
                      one segment, determines its best estimate of loss for that loan
                      either individually or on a group basis (after taking into account
                      all appropriate environmental factors, conditions, and events),
                      and then includes the loan in another group, which receives an
                      additional loan loss allowance amount.

    x   5. Documenting the results of a systematic methodology

           o   a. Documenting the results of a systematic methodology - general.

                     Facts: Registrant H has completed its estimation of its loan loss
                      allowance for the current reporting period, in accordance with
                      GAAP, using its established systematic methodology.

                     Question: What summary documentation would the staff
                      normally expect Registrant H to prepare to support the amount
                      of its loan loss allowance to be reported in its financial
                      statements?

                     Interpretive Response: The staff normally would expect that, to
                      verify that loan loss allowance balances are presented fairly in
                      accordance with GAAP and are auditable, management would
                      prepare a document that summarizes the amount to be reported
                      in the financial statements for the loan loss allowance. FN63
                      Common elements that the staff normally would expect to find
                      documented in loan loss allowance summaries include: FN64

                                
                                   FN63 FRR 28 states: "[t]he specific rationale upon
                                    which the [loan loss allowance and provision]
                                    amount actually reported is based-i. e., the bridge
                                    between the findings of the detailed review [of the
                                    loan portfolio] and the amount actually reported in
                                    each period-would be documented to help ensure
                                    the adequacy of the reported amount, to improve
                                    auditability, and to serve as a benchmark for
                                    exercise of prudent judgment in future periods."
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                                  FN64 See also paragraph 9.14 of the Audit Guide.

                           The estimate of the probable loss or range of loss
                            incurred for each category evaluated (e. g., individually
                            evaluated impaired loans, homogeneous pools, and other
                            groups of loans that are collectively evaluated for
                            impairment);

                           The aggregate probable loss estimated using the
                            registrant's methodology;

                           A summary of the current loan loss allowance balance;

                           The amount, if any, by which the loan loss allowance
                            balance is to be adjusted; FN65 and

                                  FN65 Subsequent to adjustments, the staff
                                   normally would expect that there would be no
                                   material differences between the consolidated loss
                                   estimate, as determined by the methodology, and
                                   the final loan loss allowance balance reported in
                                   the financial statements. Registrants should refer
                                   to SAB 99 and SAS 89 and their amendments to AU
                                   Section 310.

                           Depending on the level of detail that supports the loan
                            loss allowance analysis, detailed subschedules of loss
                            estimates that reconcile to the summary schedule.

                  Generally, a registrant's review and approval process for the
                   loan loss allowance relies upon the data provided in these
                   consolidated summaries. There may be instances in which
                   individuals or committees that review the loan loss allowance
                   methodology and resulting allowance balance identify
                   adjustments that need to be made to the loss estimates to
                   provide a better estimate of loan losses. These changes may be
                   due to information not known at the time of the initial loss
                   estimate (e. g., information that surfaces after determining and
                   adjusting, as necessary, historical loss rates, or a recent decline
                   in the marketability of property after conducting a FASB ASC
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                    Subtopic 310-10 valuation based upon the fair value of
                    collateral). It is important that these adjustments are consistent
                    with GAAP and are reviewed and approved by appropriate
                    personnel. FN66 Additionally, it would typically be appropriate
                    for the summary to provide each subsequent reviewer with an
                    understanding of the support behind these adjustments.
                    Therefore, the staff normally would expect management to
                    document the nature of any adjustments and the underlying
                    rationale for making the changes. FN67

                           FN66 Paragraph 9.64 in the Audit Guide indicates that
                            effective internal control related to the allowance for loan
                            losses should include "adequate review and approval of
                            the allowance estimates by the individuals specified in
                            management's written policy."

                           FN67 See the guidance in paragraph 9.14 of the Audit
                            Guide ("[t]he approach for determination of the allowance
                            should be well documented") and in FRR 28 ("the specific
                            rationale upon which the amount actually reported in
                            each individual period is based would be documented").

                   The staff also normally would expect this documentation to be
                    provided to those among management making the final
                    determination of the loan loss allowance amount. FN68

                           FN68 Ibid.

         o   b. Documenting the results of a systematic methodology allowance
             adjustments.

                   Facts: Registrant I determines its loan loss allowance using an
                    established systematic process. At the end of each reporting
                    period, the accounting department prepares a summary
                    schedule that includes the amount of each of the components of
                    the loan loss allowance, as well as the total loan loss allowance
                    amount, for review by senior management, including the Credit
                    Committee. Members of senior management meet to discuss the
                    loan loss allowance. During these discussions, they identify
                    changes that are required by GAAP to be made to certain of the
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                   loan loss allowance estimates. As a result of the adjustments
                   made by senior management, the total amount of the loan loss
                   allowance changes. However, senior management (or its
                   designee) does not update the loan loss allowance summary
                   schedule to reflect the adjustments or reasons for the
                   adjustments. When performing their audit of the financial
                   statements, the independent accountants are provided with the
                   original loan loss allowance summary schedule reviewed by
                   senior management, as well as a verbal explanation of the
                   changes made by senior management when they met to discuss
                   the loan loss allowance.

                  Question: In the staff's view, are Registrant I's documentation
                   practices related to the balance of its loan loss allowance in
                   compliance with existing documentation guidance in this area?

                  Interpretive Response: No. A registrant should maintain
                   supporting documentation for the loan loss allowance amount
                   reported in its financial statements. FN69 As illustrated above,
                   there may be instances in which loan loss allowance reviewers
                   identify adjustments that need to be made to the loan loss
                   estimates. The staff normally would expect the nature of the
                   adjustments, how they were measured or determined, and the
                   underlying rationale for making the changes to the loan loss
                   allowance balance to be documented. FN70 The staff also
                   normally would expect appropriate documentation of the
                   adjustments to be provided to management for review of the
                   final loan loss allowance amount to be reported in the financial
                   statements. This documentation should also be made available
                   to the independent accountants. If changes frequently occur
                   during management or credit committee reviews of the loan loss
                   allowance, management may find it appropriate to analyze the
                   reasons for the frequent changes and to reassess the
                   methodology the registrant uses. FN71

                           FN69 Ibid.

                           FN70 Ibid.
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                            FN71 As outlined in paragraph 9.64 of the Audit Guide,
                             effective internal controls related to the allowance for
                             loan losses should include adequate review and approval
                             of allowance estimates, including review of sources of
                             relevant information, review of development of
                             assumptions, review of reasonableness of assumptions
                             and resulting estimates, and consideration of changes in
                             previously established methods to arrive at the allowance.

    x   6. Validating a systematic methodology

           o   Question: What is the staff's guidance to a registrant on validating,
               and documenting the validation of, its systematic methodology used to
               estimate loan loss allowances?

           o   Interpretive Response: The staff believes that a registrant's loan loss
               allowance methodology is considered valid when it accurately
               estimates the amount of loss contained in the portfolio. Thus, the staff
               normally would expect the registrant's methodology to include
               procedures that adjust loan loss estimation methods to reduce
               differences between estimated losses and actual subsequent charge-
               offs, as necessary. To verify that the loan loss allowance methodology
               is valid and conforms to GAAP, the staff believes it is appropriate for
               management to establish internal control policies, FN72 appropriate for
               the size of the registrant and the type and complexity of its loan
               products. These policies may include procedures for a review, by a
               party who is independent of the allowance for loan losses estimation
               process, of the allowance for loan losses methodology and its
               application in order to confirm its effectiveness.

                     FN72 Ibid.

           o   In practice, registrants employ numerous procedures when validating
               the reasonableness of their loan loss allowance methodology and
               determining whether there may be deficiencies in their overall
               methodology or loan grading process. Examples are:

                     A review of trends in loan volume, delinquencies, restructurings,
                      and concentrations.
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                   A review of previous charge-off and recovery history, including
                    an evaluation of the timeliness of the entries to record both the
                    charge-offs and the recoveries.

                   A review by a party that is independent of the loan loss
                    allowance estimation process. This often involves the
                    independent party reviewing, on a test basis, source documents
                    and underlying assumptions to determine that the established
                    methodology develops reasonable loss estimates.

                   An evaluation of the appraisal process of the underlying
                    collateral. This may be accomplished by periodically comparing
                    the appraised value to the actual sales price on selected
                    properties sold.

         o   It is the staff's understanding that, in practice, management usually
             supports the validation process with the workpapers from the loan loss
             allowance review function. Additional documentation often includes the
             summary findings of the independent reviewer. The staff normally
             would expect that, if the methodology is changed based upon the
             findings of the validation process, documentation that describes and
             supports the changes would be maintained. FN73

                   FN73 See paragraph 9.64 of the Audit Guide.
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    SECURITIES AND EXCHANGE COMMISSION

    17 CFR PART 241

    [RELEASE NOS. 33-8810; 34-55929; FR-77; File No. S7-24-06]

    Commission Guidance Regarding Management’s Report on Internal Control Over
    Financial Reporting Under Section 13(a) or 15(d) of the Securities Exchange Act of
    1934

    AGENCY: Securities and Exchange Commission.

    ACTION: Interpretation.

    SUMMARY: The SEC is publishing this interpretive release to provide guidance for

    management regarding its evaluation and assessment of internal control over financial

    reporting. The guidance sets forth an approach by which management can conduct a top-

    down, risk-based evaluation of internal control over financial reporting. An evaluation

    that complies with this interpretive guidance is one way to satisfy the evaluation

    requirements of Rules 13a-15(c) and 15d-15(c) under the Securities Exchange Act of

    1934.

    EFFECTIVE DATE: June 27, 2007.

    FOR FURTHER INFORMATION CONTACT: Josh K. Jones, Professional

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    SUPPLEMENTARY INFORMATION: The amendments to Rules 13a-15(c) 1 and

    15d-15(c) 2 under the Securities Exchange Act of 1934 3 (the “Exchange Act”), which

    1
        17 CFR 240.13a-15(c).
    2
        17 CFR 240.15d-15(c).
    3
        15 U.S.C. 78a et seq.
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    clarify that an evaluation of internal control over financial reporting that complies with

    this interpretive guidance is one way to satisfy those rules, are being made in a separate

    release. 4

    I. Introduction

              Management is responsible for maintaining a system of internal control over

    financial reporting (“ICFR”) that provides reasonable assurance regarding the reliability

    of financial reporting and the preparation of financial statements for external purposes in

    accordance with generally accepted accounting principles. The rules we adopted in June

    2003 to implement Section 404 of the Sarbanes-Oxley Act of 2002 5 (“Sarbanes-Oxley”)

    require management to annually evaluate whether ICFR is effective at providing

    reasonable assurance and to disclose its assessment to investors. 6 Management is

    responsible for maintaining evidential matter, including documentation, to provide

    reasonable support for its assessment. This evidence will also allow a third party, such as

    the company’s external auditor, to consider the work performed by management.

              ICFR cannot provide absolute assurance due to its inherent limitations; it is a

    process that involves human diligence and compliance and is subject to lapses in

    judgment and breakdowns resulting from human failures. ICFR also can be

    circumvented by collusion or improper management override. Because of such

    limitations, ICFR cannot prevent or detect all misstatements, whether unintentional errors

    or fraud. However, these inherent limitations are known features of the financial




    4
        Release No. 34-55928 (Jun. 20, 2007).
    5
        15 U.S.C. 7262.
    6
        Release No. 33-8238 (Jun. 5, 2003) [68 FR 36636] (hereinafter “Adopting Release”).


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    reporting process, therefore, it is possible to design into the process safeguards to reduce,

    though not eliminate, this risk.

              The “reasonable assurance” referred to in the Commission’s implementing rules

    relates to similar language in the Foreign Corrupt Practices Act of 1977 (“FCPA”). 7

    Exchange Act Section 13(b)(7) defines “reasonable assurance” and “reasonable detail” as

    “such level of detail and degree of assurance as would satisfy prudent officials in the

    conduct of their own affairs.”8 The Commission has long held that “reasonableness” is

    not an “absolute standard of exactitude for corporate records.” 9 In addition, the

    Commission recognizes that while “reasonableness” is an objective standard, there is a

    range of judgments that an issuer might make as to what is “reasonable” in implementing

    Section 404 and the Commission’s rules. Thus, the terms “reasonable,” “reasonably,”

    and “reasonableness” in the context of Section 404 implementation do not imply a single

    conclusion or methodology, but encompass the full range of appropriate potential

    conduct, conclusions or methodologies upon which an issuer may reasonably base its

    decisions.

              Since companies first began complying in 2004, the Commission has received

    significant feedback on our rules implementing Section 404. 10 This feedback included

    requests for further guidance to assist company management in complying with our ICFR
    7
        Title 1 of Pub. L. 95-213 (1977).
    8
      15 U.S.C. 78m(b)(7). The conference committee report on the 1988 amendments to the FCPA
    also noted that the standard “does not connote an unrealistic degree of exactitude or precision.
    The concept of reasonableness of necessity contemplates the weighing of a number of relevant
    factors, including the costs of compliance.” Cong. Rec. H2116 (daily ed. Apr. 20, 1988).
    9
        Release No. 34-17500 (Jan. 29, 1981) [46 FR 11544].
    10
      Release Nos. 33-8762; 34-54976 (Dec. 20, 2006) [71 FR 77635] (hereinafter “Proposing
    Release”). For a detailed history of the implementation of Section 404 of Sarbanes-Oxley, see
    Section I., Background, of the Proposing Release. An analysis of the comments we received on
    the Proposing Release is included in Section III of this release.


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    evaluation and disclosure requirements. This guidance is in response to those requests

    and reflects the significant feedback we have received, including comments on the

    interpretive guidance we proposed on December 20, 2006. In addressing a number of the

    commonly identified areas of concerns, the interpretive guidance:

       x   Explains how to vary evaluation approaches for gathering evidence based on risk

           assessments;

       x   Explains the use of “daily interaction,” self-assessment, and other on-going

           monitoring activities as evidence in the evaluation;

       x   Explains the purpose of documentation and how management has flexibility in

           approaches to documenting support for its assessment;

       x   Provides management significant flexibility in making judgments regarding what

           constitutes adequate evidence in low-risk areas; and

       x   Allows for management and the auditor to have different testing approaches.

           The Interpretive Guidance is organized around two broad principles. The first

    principle is that management should evaluate whether it has implemented controls that

    adequately address the risk that a material misstatement of the financial statements would

    not be prevented or detected in a timely manner. The guidance describes a top-down,

    risk-based approach to this principle, including the role of entity-level controls in

    assessing financial reporting risks and the adequacy of controls. The guidance promotes

    efficiency by allowing management to focus on those controls that are needed to

    adequately address the risk of a material misstatement of its financial statements. The

    guidance does not require management to identify every control in a process or document

    the business processes impacting ICFR. Rather, management can focus its evaluation



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    process and the documentation supporting the assessment on those controls that it

    determines adequately address the risk of a material misstatement of the financial

    statements. For example, if management determines that a risk of a material

    misstatement is adequately addressed by an entity-level control, no further evaluation of

    other controls is required.

           The second principle is that management’s evaluation of evidence about the

    operation of its controls should be based on its assessment of risk. The guidance provides

    an approach for making risk-based judgments about the evidence needed for the

    evaluation. This allows management to align the nature and extent of its evaluation

    procedures with those areas off financial reporting that pose the
                                                                  the highest risks to reliable

    financial reporting (that is, whether the financial statements are materially accurate). As

    a result, management may be able to use more efficient approaches to gathering evidence,

    such as self-assessments, in low-risk areas and perform more extensive testing in high-

    risk areas. By following these two principles, we believe companies of all sizes and

    complexities will be able to implement our rules effectively and efficiently.

             The Interpretive Guidance reiterates the Commission’s position that

    management should bring its own experience and informed judgment to bear in order to

    design an evaluation process that meets the needs of its company and that provides a

    reasonable basis for its annual assessment of whether ICFR is effective. This allows

    management sufficient and appropriate flexibility to design such an evaluation process.11


    11
      Exchange Act Rules 13a-15 and 15d-15 [17 CFR 240.13a-15 and 15d-15] require management
    to evaluate the effectiveness of ICFR as of the end of the fiscal year. For purposes of this
    document, the term “evaluation” or “evaluation process” refers to the methods and procedures
    that management implements to comply with these rules. The term “assessment” is used in this
    document to describe the disclosure required by Item 308 of Regulations S-B and S-K [17 CFR
    228.308 and 229.308]. This disclosure must include discussion of any material weaknesses


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    Smaller public companies, which generally have less complex internal control systems

    than larger public companies, can use this guidance to scale and tailor their evaluation

    methods and procedures to fit their own facts and circumstances. We encourage smaller

    public companies 12 to take advantage of the flexibility and scalability to conduct an

    evaluation of ICFR that is both efficient and effective at identifying material weaknesses.

            The effort necessary to conduct an initial evaluation of ICFR will vary among

    companies, partly because this effort will depend on management’s existing financial

    reporting risk assessment and control monitoring activities. After the first year of

    compliance, management’s effort to identify financial reporting risks and controls should

    ordinarily be less, because subsequent evaluations should be more focused on changes in

    risks and controls rather than identification of all financial reporting risks and the related

    controls. Further, in each subsequent year, the documentation of risks and controls will

    only need to be updated from the prior year(s), not recreated anew. Through the risk and

    control identification process, management will have identified for testing only those

    controls that are needed to meet the objective of ICFR (that is, to provide reasonable

    assurance regarding the reliability of financial reporting) and for which evidence about

    their operation can be obtained most efficiently. The nature and extent of procedures


    which exist as of the end of the most recent fiscal year and management’s assessment of the
    effectiveness of ICFR, including a statement as to whether or not ICFR is effective. Management
    is not permitted to conclude that ICFR is effective if there are one or more material weaknesses in
    ICFR.
    12
        While a company’s individual facts and circumstances should be considered in determining
    whether a company is a smaller public company and the resulting implications to management’s
    evaluation, a company’s public market capitalization and annual revenues are useful indicators of
    its size and complexity. The Final Report of the Advisory Committee on Smaller Public
    Companies to the United States Securities and Exchange Commission (Apr. 23, 2006), available
    at http://www.sec.gov/info/smallbus/acspc/acspc-finalreport.pdf, defined smaller companies,
    which included microcap companies, and the SEC’s rules include size characteristics for
    “accelerated filers” and “non-accelerated filers” which approximately fit the same definitions.


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    implemented to evaluate whether those controls continue to operate effectively can be

    tailored to the company’s unique circumstances, thereby avoiding unnecessary

    compliance costs.

              The guidance assumes management has established and maintains a system of

    internal accounting controls as required by the FCPA. Further, it is not intended to

    explain how management should design its ICFR to comply with the control framework

    management has chosen. To allow appropriate flexibility, the guidance does not provide

    a checklist of steps management should perform in completing its evaluation.

              The guidance in this release shall be effective immediately upon its publication in

    the Federal Register. 13

              As a companion 14 to this interpretive release, we are adopting amendments to

    Exchange Act Rules 13a-15(c) and 15d-15(c) and revisions to Regulation S-X. 15 The

    amendments to Rules 13a-15(c) and 15d-15(c) will make it clear that an evaluation that is

    conducted in accordance with this interpretive guidance is one way to satisfy the annual

    management evaluation requirement in those rules. We are also amending our rules to

    define the term “material weakness” and to revise the requirements regarding the

    auditor’s attestation report on ICFR. Additionally, we are seeking additional comment on

    the definition of the term “significant deficiency.”16


    13
      The Commission finds good cause under 5 U.S.C. 808(2) for this interpretation to take effect on
    the date of Federal Register publication. Further delay would be unnecessary and contrary to the
    public interest because following the guidance is voluntary. Additionally, delay may deter
    companies from realizing all the efficiencies intended by this guidance, and immediate
    effectiveness will assist in preparing for 2007 evaluations and assessments of internal control
    over financial reporting.
    14
         Release No. 34-55928.
    15
         17 CFR 210.1-01 et seq.
    16
         Release No. 34-55930 (Jun. 20, 2007).


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    II. Interpretive Guidance – Evaluation and Assessment of Internal Control Over
    Financial Reporting

       The interpretive guidance addresses the following topics:

       A. The Evaluation Process

          1. Identifying Financial Reporting Risks and Controls

                  a.     Identifying Financial Reporting Risks

                  b.     Identifying Controls that Adequately Address Financial Reporting
                         Risks

                  c.     Consideration of Entity-Level Controls

                  d.     Role of Information Technology General Controls

                  e.     Evidential Matter to Support the Assessment

          2. Evaluating Evidence of the Operating Effectiveness of ICFR

                  a.     Determining the Evidence Needed to Support the Assessment

                  b.     Implementing Procedures to Evaluate Evidence of the Operation of
                         ICFR

                  c.     Evidential Matter to Support the Assessment

          3. Multiple Location Considerations

       B. Reporting Considerations

              1. Evaluation of Control Deficiencies

              2. Expression of Assessment of Effectiveness of ICFR by Management

              3. Disclosures about Material Weaknesses

              4. Impact of a Restatement of Previously Issued Financial Statements on
                  Management’s Report on ICFR

              5. Inability to Assess Certain Aspects of ICFR




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    A. The Evaluation Process

             The objective of internal control over financial reporting17 (“ICFR”) is to provide

    reasonable assurance regarding the reliability of financial reporting and the preparation of

    financial statements for external purposes in accordance with generally accepted

    accounting principles (“GAAP”). The purpose of the evaluation of ICFR is to provide

    management with a reasonable basis for its annual assessment as to whether any material

    weaknesses 18 in ICFR exist as of the end of the fiscal year. 19 To accomplish this,

    management identifies the risks to reliable financial reporting, evaluates whether controls

    exist to address those risks, and evaluates evidence about the operation of the controls


    17
      Exchange Act Rules 13a-15(f) and 15d-15(f) [17 CFR 240.13a-15(f) and 15d-15(b)] define
    internal control over financial reporting as:
         A process designed by, or under the supervision of, the issuer’s principal executive and
         principal financial officers, or persons performing similar functions, and effected by the
         issuer’s board of directors, management and other personnel, to provide reasonable
         assurance regarding the reliability of financial reporting and the preparation of financial
         statements for external purposes in accordance with generally accepted accounting
         principles and includes those policies and procedures that:
             (1) Pertain to the maintenance of records that in reasonable detail accurately and
                 fairly reflect the transactions and dispositions of the assets of the issuer;
             (2) Provide reasonable assurance that transactions are recorded as necessary to
                 permit preparation of financial statements in accordance with generally accepted
                 accounting principles, and that receipts and expenditures of the issuer are being
                 made only in accordance with authorizations of management and directors of the
                 registrant; and
             (3) Provide reasonable assurance regarding prevention or timely detection of
                 unauthorized acquisition, use or disposition of the issuer’s assets that could have a
                 material effect on the financial statements.
    18
      As defined in Exchange Act Rule 12b-2 [17 CFR 240.12b-2] and Rule 1-02 of Regulation S-X
    [17 CFR 210.1-02], a material weakness is a deficiency, or a combination of deficiencies, in
    ICFR such that there is a reasonable possibility that a material misstatement of the registrant’s
    annual or interim financial statements will not be prevented or detected on a timely basis. See
    Release No. 34-55928.
    19
      This focus on material weaknesses will lead to a better understanding by investors about the
    company’s ICFR, as well as its inherent limitations. Further, the Commission’s rules
    implementing Section 404, by providing for public disclosure of material weaknesses,
    concentrate attention on the most important internal control issues.


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    included in the evaluation based on its assessment of risk. 20 The evaluation process will

    vary from company to company; however, the top-down, risk-based approach which is

    described in this guidance will typically be the most efficient and effective way to

    conduct the evaluation.

            The evaluation process guidance is described in two sections. The first section

    explains the identification of financial reporting risks and the evaluation of whether the

    controls management has implemented adequately address those risks. The second

    section explains an approach for making judgments about the methods and procedures for

    evaluating whether the operation of ICFR is effective. Both sections explain how entity-

    level controls 21 impact the evaluation process, as well as how management should focus

    its evaluation efforts on the highest risks to reliable financial reporting. 22




    20
      If management’s evaluation process identifies material weaknesses, but all material weaknesses
    are remediated by the end of the fiscal year, management may conclude that ICFR is effective as
    of the end of the fiscal year. However, management should consider whether disclosure of such
    remediated material weaknesses is appropriate or required under Item 307 or Item 308 of
    Regulations S-K or S-B or other Commission disclosure rules.
    21
       The term “entity-level controls” as used in this document describes aspects of a system of
    internal control that have a pervasive effect on the entity’s system of internal control such as
    controls related to the control environment (for example, management’s philosophy and operating
    style, integrity and ethical values; board or audit committee oversight; and assignment of
    authority and responsibility); controls over management override; the company's risk assessment
    process; centralized processing and controls, including shared service environments; controls to
    monitor results of operations; controls to monitor other controls, including activities of the
    internal audit function, the audit committee, and self-assessment programs; controls over the
    period-end financial reporting process; and policies that address significant business control and
    risk management practices. The terms “company-level” and “entity-wide” are also commonly
    used to describe these controls.
    22
      Because management is responsible for maintaining effective ICFR, this interpretive guidance
    does not specifically address the role of the board of directors or audit committee in a company’s
    evaluation and assessment of ICFR. However, we would ordinarily expect a board of directors or
    audit committee, as part of its oversight responsibilities for the company’s financial reporting, to
    be reasonably knowledgeable and informed about the evaluation process and management’s
    assessment, as necessary in the circumstances.


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            Under the Commission’s rules, management’s annual assessment of the

    effectiveness of ICFR must be made in accordance with a suitable control framework’s 23

    definition of effective internal control. 24 These control frameworks define elements of

    internal control that are expected to be present and functioning in an effective internal

    control system. In assessing effectiveness, management evaluates whether its ICFR

    includes policies, procedures and activities that address the elements of internal control

    that the applicable control framework describes as necessary for an internal control

    system to be effective. The framework elements describe the characteristics of an

    internal control system that may be relevant to individual areas of the company’s ICFR,

    pervasive to many areas, or entity-wide. Therefore, management’s evaluation process

    includes not only controls involving particular areas of financial reporting, but also the

    entity-wide and other pervasive elements of internal control defined by its selected

    control framework. This guidance is not intended to replace the elements of an effective

    system of internal control as defined within a control framework.


    23
       In the Adopting Release, the Commission specified characteristics of a suitable control
    framework and identified the Internal Control—Integrated Framework (1992) created by the
    Committee of Sponsoring Organizations of the Treadway Commission (“COSO”) as an example
    of a suitable framework. We also cited the Guidance on Assessing Control published by the
    Canadian Institute of Chartered Accountants (“CoCo”) and the report published by the Institute of
    Chartered Accountants in England & Wales Internal Control: Guidance for Directors on the
    Combined Code (known as the Turnbull Report) as examples of other suitable frameworks that
    issuers could choose in evaluating the effectiveness of their ICFR. We encourage companies to
    examine and select a framework that may be useful in their own circumstances; we also
    encourage the further development of existing and alternative frameworks.
    24
       For example, both the COSO framework and the Turnbull Report state that determining
    whether a system of internal control is effective is a subjective judgment resulting from an
    assessment of whether the five components (that is, control environment, risk assessment, control
    activities, monitoring, and information and communication) are present and functioning
    effectively. Although CoCo states that an assessment of effectiveness should be made against
    twenty specific criteria, it acknowledges that the criteria can be regrouped into different
    structures, and includes a table showing how the criteria can be regrouped into the five-
    component structure of COSO.


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    1. Identifying Financial Reporting Risks and Controls

           Management should evaluate whether it has implemented controls that will

    achieve the objective of ICFR (that is, to provide reasonable assurance regarding the

    reliability of financial reporting). The evaluation begins with the identification and

    assessment of the risks to reliable financial reporting (that is, materially accurate financial

    statements), including changes in those risks. Management then evaluates whether it has

    controls placed in operation (that is, in use) that are designed to adequately address those

    risks. Management ordinarily would consider the company’s entity-level controls in both

    its assessment of risks and in identifying which controls adequately address the risks.

           The evaluation approach described herein allows management to identify controls

    and maintain supporting evidential matter for its controls in a manner that is tailored to

    the company’s financial reporting risks (as defined below). Thus, the controls that

    management identifies and documents are those that are important to achieving the

    objective of ICFR. These controls are then subject to procedures to evaluate evidence of

    their operating effectiveness, as determined pursuant to Section II.A.2.

    a. Identifying Financial Reporting Risks

           Management should identify those risks of misstatement that could, individually

    or in combination with others, result in a material misstatement of the financial

    statements (“financial reporting risks”). Ordinarily, the identification of financial

    reporting risks begins with evaluating how the requirements of GAAP apply to the

    company’s business, operations and transactions. Management must provide investors

    with financial statements that fairly present the company’s financial position, results of

    operations and cash flows in accordance with GAAP. A lack of fair presentation arises




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    when one or more financial statement amounts or disclosures (“financial reporting

    elements”) contain misstatements (including omissions) that are material.

           Management uses its knowledge and understanding of the business, and its

    organization, operations, and processes, to consider the sources and potential likelihood

    of misstatements in financial reporting elements. Internal and external risk factors that

    impact the business, including the nature and extent of any changes in those risks, may

    give rise to a risk of misstatement. Risks of misstatement may also arise from sources

    such as the initiation, authorization, processing and recording of transactions and other

    adjustments that are reflected in financial reporting elements. Management may find it

    useful to consider “what could go wrong” within a financial reporting element in order to

    identify the sources and the potential likelihood of misstatements and identify those that

    could result in a material misstatement of the financial statements.

           The methods and procedures for identifying financial reporting risks will vary

    based on the characteristics of the company. These characteristics include, among others,

    the size, complexity, and organizational structure of the company and its processes and

    financial reporting environment, as well as the control framework used by management.

    For example, to identify financial reporting risks in a larger business or a complex

    business process, management’s methods and procedures may involve a variety of

    company personnel, including those with specialized knowledge. These individuals,

    collectively, may be necessary to have a sufficient understanding of GAAP, the

    underlying business transactions and the process activities, including the role of computer

    technology, that are required to initiate, authorize, record and process transactions. In

    contrast, in a small company that operates on a centralized basis with less complex




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    business processes and with little change in the risks or processes, management’s daily

    involvement with the business may provide it with adequate knowledge to appropriately

    identify financial reporting risks.

            Management’s evaluation of the risk of misstatement should include

    consideration of the vulnerability of the entity to fraudulent activity (for example,

    fraudulent financial reporting, misappropriation of assets and corruption), and whether

    any such exposure could result in a material misstatement of the financial statements.25

    The extent of activities required for the evaluation of fraud risks is commensurate with

    the size and complexity of the company’s operations and financial reporting

    environment. 26

            Management should recognize that the risk of material misstatement due to fraud

    ordinarily exists in any organization, regardless of size or type, and it may vary by

    specific location or segment and by individual financial reporting element. For example,

    one type of fraud risk that has resulted in fraudulent financial reporting in companies of

    all sizes and types is the risk of improper override of internal controls in the financial

    reporting process. While the identification of a fraud risk is not necessarily an indication

    that a fraud has occurred, the absence of an identified fraud is not an indication that no



    25
       For example, COSO’s Internal Control Over Financial Reporting – Guidance for Smaller
    Public Companies (2006), Volume 1: Executive Summary, Principle 10: Fraud Risk (page 10)
    states, “The potential for material misstatement due to fraud is explicitly considered in assessing
    risks to the achievement of financial reporting objectives.”
    26
      Management may find resources such as “Management Antifraud Programs and Controls –
    Guidance to Help Prevent, Deter, and Detect Fraud,” which was issued jointly by seven
    professional organizations and is included as an exhibit to AU Sec. 316, Consideration of Fraud
    in a Financial Statement Audit (as adopted on an interim basis by the PCAOB in PCAOB Rule
    3200T) helpful in assessing fraud risks. Other resources also exist (for example, the American
    Institute of Certified Public Accountants’ (AICPA) Management Override of Internal Controls:
    The Achilles’ Heel of Fraud Prevention (2005)), and more may be developed in the future.


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    fraud risks exist. Rather, these risk assessments are used in evaluating whether adequate

    controls have been implemented.

    b. Identifying Controls that Adequately Address Financial Reporting Risks

            Management should evaluate whether it has controls27 placed in operation (that is,

    in use) that adequately address the company’s financial reporting risks. The

    determination of whether an individual control, or a combination of controls, adequately

    addresses a financial reporting risk involves judgments about whether the controls, if

    operating properly, can effectively prevent or detect misstatements that could result in

    material misstatements in the financial statements.28 If management determines that a

    deficiency in ICFR exists, it must be evaluated to determine whether a material

    weakness exists. 29 The guidance in Section II.B.1. is designed to assist management

    with that evaluation.

            Management may identify preventive controls, detective controls, or a

    combination of both, as adequately addressing financial reporting risks. 30 There might



    27
      A control consists of a specific set of policies, procedures, and activities designed to meet an
    objective. A control may exist within a designated function or activity in a process. A control’s
    impact on ICFR may be entity-wide or specific to an account balance, class of transactions or
    application. Controls have unique characteristics – for example, they can be: automated or
    manual; reconciliations; segregation of duties; review and approval authorizations; safeguarding
    and accountability of assets; preventing or detecting error or fraud. Controls within a process
    may consist of financial reporting controls and operational controls (that is, those designed to
    achieve operational objectives).
    28
      Companies may use “control objectives,” which provide specific criteria against which to
    evaluate the effectiveness of controls, to assist in evaluating whether controls can prevent or
    detect misstatements.
    29
       A deficiency in the design of ICFR exists when (a) necessary controls are missing or (b)
    existing controls are not properly designed so that, even if the control operates as designed, the
    financial reporting risks would not be addressed.
    30
      Preventive controls have the objective of preventing the occurrence of errors or fraud that could
    result in a misstatement of the financial statements. Detective controls have the objective of
    detecting errors or fraud that has already occurred that could result in a misstatement of the


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    be more than one control that addresses the financial reporting risks for a financial

    reporting element; conversely, one control might address the risks of more than one

    financial reporting element. It is not necessary to identify all controls that may exist or

    identify redundant controls, unless redundancy itself is required to address the financial

    reporting risks. To illustrate, management may determine that the risk of a misstatement

    in interest expense, which could result in a material misstatement of the financial

    statements, is adequately addressed by a control within the company’s period-end

    financial reporting process (that is, an entity-level control). In such a case, management

    may not need to identify, for purposes of the ICFR evaluation, any additional controls

    related to the risk of misstatement in interest expense.

           Management may also consider the efficiency with which evidence of the

    operation of a control can be evaluated when identifying the controls that adequately

    address the financial reporting risks. When more than one control exists and each

    adequately addresses a financial reporting risk, management may decide to select the

    control for which evidence of operating effectiveness can be obtained more efficiently.

    Moreover, when adequate information technology (“IT”) general controls exist and

    management has determined that the operation of such controls is effective, management

    may determine that automated controls are more efficient to evaluate than manual

    controls. Considering the efficiency with which the operation of a control can be

    evaluated will often enhance the overall efficiency of the evaluation process.

           In addition to identifying controls that address the financial reporting risks of

    individual financial reporting elements, management also evaluates whether it has


    financial statements. Preventive and detective controls may be completely manual, involve some
    degree of computer automation, or be completely automated.


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    controls in place to address the entity-level and other pervasive elements of ICFR that its

    chosen control framework prescribes as necessary for an effective system of internal

    control. This would ordinarily include, for example, considering how and whether

    controls related to the control environment, controls over management override, the

    entity-level risk assessment process and monitoring activities, 31 controls over the period-

    end financial reporting process,32 and the policies that address significant business

    control and risk management practices are adequate for purposes of an effective system

    of internal control. The control frameworks and related guidance may be useful tools for

    evaluating the adequacy of these elements of ICFR.

            When identifying the controls that address financial reporting risks, management

    learns information about the characteristics of the controls that should inform its

    judgments about the risk that a control will fail to operate as designed. This includes, for

    example, information about the judgment required in its operation and information about

    the complexity of the controls. Section II.A.2. discusses how these characteristics are

    considered in determining the nature and extent of evidence of the operation of the

    controls that management evaluates.

            At the end of this identification process, management has identified for evaluation

    those controls that are needed to meet the objective of ICFR (that is, to provide

    31
      Monitoring activities may include controls to monitor results of operations and controls to
    monitor other controls, including activities of the internal audit function, the audit committee, and
    self-assessment programs.
    32
      The nature of controls within the period-end financial reporting process will vary based on a
    company’s facts and circumstances. The period-end financial reporting process may include
    matters such as: procedures to enter transaction totals into the general ledger; the initiation,
    authorization, recording and processing of journal entries in the general ledger; procedures for the
    selection and application of accounting policies; procedures used to record recurring and non-
    recurring adjustments to the annual and quarterly financial statements; and procedures for
    preparing annual and quarterly financial statements and related disclosures.


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    reasonable assurance regarding the reliability of financial reporting) and for which

    evidence about their operation can be obtained most efficiently.

    c. Consideration of Entity-Level Controls

            Management considers entity-level controls when identifying financial reporting

    risks and related controls for a financial reporting element. In doing so, it is important

    for management to consider the nature of the entity-level controls and how those

    controls relate to the financial reporting element. The more indirect the relationship to a

    financial reporting element, the less effective a control may be in preventing or detecting

    a misstatement. 33

            Some entity-level controls, such as certain control environment controls, have an

    important, but indirect, effect on the likelihood that a misstatement will be prevented or

    detected on a timely basis. These controls might affect the other controls management

    determines are necessary to adequately address financial reporting risks for a financial

    reporting element. However, it is unlikely that management will identify only this type

    of entity-level control as adequately addressing a financial reporting risk identified for a

    financial reporting element.

            Other entity-level controls may be designed to identify possible breakdowns in

    lower-level controls, but not in a manner that would, by themselves, adequately address

    financial reporting risks. For example, an entity-level control that monitors the results of

    operations may be designed to detect potential misstatements and investigate whether a

    breakdown in lower-level controls occurred. However, if the amount of potential

    33
      Controls can be either directly or indirectly related to a financial reporting element. Controls
    that are designed to have a specific effect on a financial reporting element are considered directly
    related. For example, controls established to ensure that personnel are properly counting and
    recording the annual physical inventory relate directly to the existence of the inventory.


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    misstatement that could exist before being detected by the monitoring control is too high,

    then the control may not adequately address the financial reporting risks of a financial

    reporting element.

            Entity-level controls may be designed to operate at the process, application,

    transaction or account-level and at a level of precision that would adequately prevent or

    detect on a timely basis misstatements in one or more financial reporting elements that

    could result in a material misstatement of the financial statements. In these cases,

    management may not need to identify or evaluate additional controls relating to that

    financial reporting risk.

    d. Role of Information Technology General Controls

            Controls that management identifies as addressing financial reporting risks may

    be automated, 34 dependent upon IT functionality, 35 or a combination of both manual and

    automated procedures. 36 In these situations, management’s evaluation process generally

    considers the design and operation of the automated or IT dependent application controls

    and the relevant IT general controls over the applications providing the IT functionality.

    While IT general controls alone ordinarily do not adequately address financial reporting

    risks, the proper and consistent operation of automated controls or IT functionality often

    depends upon effective IT general controls. The identification of risks and controls

    within IT should not be a separate evaluation. Instead, it should be an integral part of



    34
      For example, application controls that perform automated matching, error checking or edit
    checking functions.
    35
      For example, consistent application of a formula or performance of a calculation and posting
    correct balances to appropriate accounts or ledgers.
    36
      For example, a control that manually investigates items contained in a computer generated
    exception report.


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    management’s top-down, risk-based approach to identifying risks and controls and in

    determining evidential matter necessary to support the assessment.

              Aspects of IT general controls that may be relevant to the evaluation of ICFR will

    vary depending upon a company’s facts and circumstances. For purposes of the

    evaluation of ICFR, management only needs to evaluate those IT general controls that are

    necessary for the proper and consistent operation of other controls designed to adequately

    address financial reporting risks. For example, management might consider whether

    certain aspects of IT general control areas, such as program development, program

    changes, computer operations, and access to programs and data, apply to its facts and

    circumstances. 37 Specifically, it is unnecessary to evaluate IT general controls that

    primarily pertain to efficiency or effectiveness of a company’s operations, but which are

    not relevant to addressing financial reporting risks.

    e. Evidential Matter to Support the Assessment

              As part of its evaluation of ICFR, management must maintain reasonable support

    for its assessment. 38 Documentation of the design of the controls management has

    placed in operation to adequately address the financial reporting risks, including the

    entity-level and other pervasive elements necessary for effective ICFR, is an integral part

    of the reasonable support. The form and extent of the documentation will vary

    depending on the size, nature, and complexity of the company. It can take many forms

    (for example, paper documents, electronic, or other media). Also, the documentation


    37
       However, the reference to these specific IT general control areas as examples within this
    guidance does not imply that these areas, either partially or in their entirety, are applicable to all
    facts and circumstances. As indicated, companies need to take their particular facts and
    circumstances into consideration in determining which aspects of IT general controls are relevant.
    38
         See instructions to Item 308 of Regulations S-K and S-B.


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    can be presented in a number of ways (for example, policy manuals, process models,

    flowcharts, job descriptions, documents, internal memorandums, forms, etc). The

    documentation does not need to include all controls that exist within a process that

    impacts financial reporting. Rather, the documentation should be focused on those

    controls that management concludes are adequate to address the financial reporting

    risks. 39

                In addition to providing support for the assessment of ICFR, documentation of

    the design of controls also supports other objectives of an effective system of internal

    control. For example, it serves as evidence that controls within ICFR, including changes

    to those controls, have been identified, are capable of being communicated to those

    responsible for their performance, and are capable of being monitored by the company.

    2. Evaluating Evidence of the Operating Effectiveness of ICFR

            Management should evaluate evidence of the operating effectiveness of ICFR.

    The evaluation of the operating effectiveness of a control considers whether the control is

    operating as designed and whether the person performing the control possesses the

    necessary authority and competence to perform the control effectively. The evaluation

    procedures that management uses to gather evidence about the operation of the controls it

    identifies as adequately addressing the financial reporting risks for financial reporting

    elements (pursuant to Section II.A.1.b) should be tailored to management’s assessment of

    the risk characteristics of both the individual financial reporting elements and the related

    controls (collectively, ICFR risk). Management should ordinarily focus its evaluation of

    the operation of controls on areas posing the highest ICFR risk. Management’s

    39
     Section II.A.2.c also provides guidance with regard to the documentation required to support
    management’s evaluation of operating effectiveness.


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    assessment of ICFR risk also considers the impact of entity-level controls, such as the

    relative strengths and weaknesses of the control environment, which may influence

    management’s judgments about the risks of failure for particular controls.

            Evidence about the effective operation of controls may be obtained from direct

    testing of controls and on-going monitoring activities. The nature, timing and extent of

    evaluation procedures necessary for management to obtain sufficient evidence of the

    effective operation of a control depend on the assessed ICFR risk. In determining

    whether the evidence obtained is sufficient to provide a reasonable basis for its evaluation

    of the operation of ICFR, management should consider not only the quantity of evidence

    (for example, sample size), but also the qualitative characteristics of the evidence. The

    qualitative characteristics of the evidence include the nature of the evaluation procedures

    performed, the period of time to which the evidence relates, the objectivity40 of those

    evaluating the controls, and, in the case of on-going monitoring activities, the extent of

    validation through direct testing of underlying controls. For any individual control,

    different combinations of the nature, timing, and extent of evaluation procedures may

    provide sufficient evidence. The sufficiency of evidence is not necessarily determined by

    any of these attributes individually.




    40
      In determining the objectivity of those evaluating controls, management is not required to make
    an absolute conclusion regarding objectivity, but rather should recognize that personnel will have
    varying degrees of objectivity based on, among other things, their job function, their relationship
    to the control being evaluated, and their level of authority and responsibility within the
    organization. Personnel whose core function involves permanently serving as a testing or
    compliance authority at the company, such as internal auditors, normally are expected to be the
    most objective. However, the degree of objectivity of other company personnel may be such that
    the evaluation of controls performed by them would provide sufficient evidence. Management’s
    judgments about whether the degree of objectivity is adequate to provide sufficient evidence
    should take into account the ICFR risk.


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    a. Determining the Evidence Needed to Support the Assessment

           Management should evaluate the ICFR risk of the controls identified Section

    II.A.1.b as adequately addressing the financial reporting risks for financial reporting

    elements to determine the evidence needed to support the assessment. This evaluation

    should consider the characteristics of the financial reporting elements to which the

    controls relate and the characteristics of the controls themselves. This concept is

    illustrated in the following diagram.




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              Determining the Sufficiency of Evidence Based on ICFR Risk


                      High
            Misstatement                                 More
            Risk of                                      Evidence*
            Financial
            Reporting
            Element Medium

                               Less
                               Evidence*


                       Low                      Medium                     High
                                  Risk of Control Failure



                         * The references to “more” or “less” include both the quantitative and
                         qualitative characteristics of the evidence (that is, its sufficiency).




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           Management’s consideration of the misstatement risk of a financial reporting

    element includes both the materiality of the financial reporting element and the

    susceptibility of the underlying account balances, transactions or other supporting

    information to a misstatement that could be material to the financial statements. As the

    materiality of a financial reporting element increases in relation to the amount of

    misstatement that would be considered material to the financial statements,

    management’s assessment of misstatement risk for the financial reporting element

    generally would correspondingly increase. In addition, management considers the extent

    to which the financial reporting elements include transactions, account balances or other

    supporting information that are prone to material misstatement. For example, the extent

    to which a financial reporting element: (1) involves judgment in determining the recorded

    amounts; (2) is susceptible to fraud; (3) has complex accounting requirements; (4)

    experiences change in the nature or volume of the underlying transactions; or (5) is

    sensitive to changes in environmental factors, such as technological and/or economic

    developments, would generally affect management’s judgment of whether a misstatement

    risk is higher or lower.

           Management’s consideration of the likelihood that a control might fail to operate

    effectively includes, among other things:

       x   The type of control (that is, manual or automated) and the frequency with which it

           operates;

       x   The complexity of the control;

       x   The risk of management override;

       x   The judgment required to operate the control;



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         x   The competence of the personnel who perform the control or monitor its

             performance;

         x   Whether there have been changes in key personnel who either perform the control

             or monitor its performance;

         x   The nature and materiality of misstatements that the control is intended to prevent

             or detect;

         x   The degree to which the control relies on the effectiveness of other controls (for

             example, IT general controls); and

         x   The evidence of the operation of the control from prior year(s).

    For example, management’s judgment of the risk of control failure would be higher for

    controls whose operation requires significant judgment than for non-complex controls

    requiring less judgment.

             Financial reporting elements that involve related party transactions, critical

    accounting policies, 41 and related critical accounting estimates 42 generally would be

    assessed as having a higher misstatement risk. Further, when the controls related to these

    financial reporting elements are subject to the risk of management override, involve




    41
       “Critical accounting policies” are defined as those policies that are most important to the
    financial statement presentation, and require management’s most difficult, subjective, or complex
    judgments, often as the result of a need to make estimates about the effect of matters that are
    inherently uncertain. See Release No. 33-8040 (Dec. 12, 2001) [66 FR 65013].
    42
      “Critical accounting estimates” relate to estimates or assumptions involved in the application of
    generally accepted accounting principles where the nature of the estimates or assumptions is
    material due to the levels of subjectivity and judgment necessary to account for highly uncertain
    matters or the susceptibility of such matters to change and the impact of the estimates and
    assumptions on financial condition or operating performance is material. See Release No. 33-
    8350 (Dec. 19, 2003) [68 FR 75056]. For additional information, see, for example, Release No.
    33-8098 (May 10, 2002) [67 FR 35620].


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    significant judgment, or are complex, they should generally be assessed as having higher

    ICFR risk.

           When a combination of controls is required to adequately address the risks related

    to a financial reporting element, management should analyze the risk characteristics of

    the controls. This is because the controls associated with a given financial reporting

    element may not necessarily share the same risk characteristics. For example, a financial

    reporting element involving significant estimation may require a combination of

    automated controls that accumulate source data and manual controls that require highly

    judgmental determinations of assumptions. In this case, the automated controls may be

    subject to a system that is stable (that is, has not undergone significant change) and is

    supported by effective IT general controls and are therefore assessed as lower risk,

    whereas the manual controls would be assessed as higher risk.

           The consideration of entity-level controls (for example, controls within the

    control environment) may influence management’s determination of the evidence needed

    to sufficiently support its assessment of ICFR. For example, management’s judgment

    about the likelihood that a control fails to operate effectively may be influenced by a

    highly effective control environment and thereby impact the evidence evaluated for that

    control. However, a strong control environment would not eliminate the need to evaluate

    the operation of the control in some manner.

    b. Implementing Procedures to Evaluate Evidence of the Operation of ICFR

           Management should evaluate evidence that provides a reasonable basis for its

    assessment of the operating effectiveness of the controls identified in Section II.A.1.

    Management uses its assessment of ICFR risk, as determined in Section II.A.2 to




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    determine the evaluation methods and procedures necessary to obtain sufficient evidence.

    The evaluation methods and procedures may be integrated with the daily responsibilities

    of its employees or implemented specifically for purposes of the ICFR evaluation.

    Activities that are performed for other reasons (for example, day-to-day activities to

    manage the operations of the business) may also provide relevant evidence. Further,

    activities performed to meet the monitoring objectives of the control framework may

    provide evidence to support the assessment of the operating effectiveness of ICFR.

            The evidence management evaluates comes from direct tests of controls, on-going

    monitoring, or a combination of both. Direct tests of controls are tests ordinarily

    performed on a periodic basis by individuals with a high degree of objectivity relative to

    the controls being tested. Direct tests provide evidence as of a point in time and may

    provide information about the reliability of on-going monitoring activities. On-going

    monitoring includes management’s normal, recurring activities that provide information

    about the operation of controls. These activities include, for example, self-assessment 43

    procedures and procedures to analyze performance measures designed to track the

    operation of controls. 44 Self-assessment is a broad term that can refer to different types

    of procedures performed by individuals with varying degrees of objectivity. It includes

    assessments made by the personnel who operate the control as well as members of

    management who are not responsible for operating the control. The evidence provided

    43
      For example, COSO’s 1992 framework defines self-assessments as “evaluations where persons
    responsible for a particular unit or function will determine the effectiveness of controls for their
    activities.”
    44
      Management’s evaluation process may also consider the results of key performance indicators
    (“KPIs”) in which management reconciles operating and financial information with its knowledge
    of the business. The procedures that management implements pursuant to this section should
    evaluate the effective operation of these KPI-type controls when they are identified pursuant to
    Section II.A.1.b. as addressing financial reporting risk.


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    by self-assessment activities depends on the personnel involved and the manner in which

    the activities are conducted. For example, evidence from self-assessments performed by

    personnel responsible for operating the control generally provides less evidence due to

    the evaluator’s lower degree of objectivity.

           As the ICFR risk increases, management will ordinarily adjust the nature of the

    evidence that is obtained. For example, management can increase the evidence from on-

    going monitoring activities by utilizing personnel who are more objective and/or

    increasing the extent of validation through periodic direct testing of the underlying

    controls. Management can also vary the evidence obtained by adjusting the period of

    time covered by direct testing. When ICFR risk is assessed as high, the evidence

    management obtains would ordinarily consist of direct testing or on-going monitoring

    activities performed by individuals who have a higher degree of objectivity. In situations

    where a company’s on-going monitoring activities utilize personnel who are not

    adequately objective, the evidence obtained would normally be supplemented with direct

    testing by those who are independent from the operation of the control. In these

    situations, direct testing of controls corroborates evidence from on-going monitoring

    activities as well as evaluates the operation of the underlying controls and whether they

    continue to adequately address financial reporting risks. When ICFR risk is assessed as

    low, management may conclude that evidence from on-going monitoring is sufficient and

    that no direct testing is required. Further, management’s evaluation would ordinarily

    consider evidence from a reasonable period of time during the year, including the fiscal

    year-end.




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           In smaller companies, management’s daily interaction with its controls may

    provide it with sufficient knowledge about their operation to evaluate the operation of

    ICFR. Knowledge from daily interaction includes information obtained by on-going

    direct involvement with and direct supervision of the execution of the control by those

    responsible for the assessment of the effectiveness of ICFR. Management should

    consider its particular facts and circumstances when determining whether its daily

    interaction with controls provides sufficient evidence to evaluate the operating

    effectiveness of ICFR. For example, daily interaction may be sufficient when the

    operation of controls is centralized and the number of personnel involved is limited.

    Conversely, daily interaction in companies with multiple management reporting layers or

    operating segments would generally not provide sufficient evidence because those

    responsible for assessing the effectiveness of ICFR would not ordinarily be sufficiently

    knowledgeable about the operation of the controls. In these situations, management

    would ordinarily utilize direct testing or on-going monitoring-type evaluation procedures

    to obtain reasonable support for the assessment.

           Management evaluates the evidence it gathers to determine whether the operation

    of a control is effective. This evaluation considers whether the control operated as

    designed. It also considers matters such as how the control was applied, the consistency

    with which it was applied, and whether the person performing the control possesses the

    necessary authority and competence to perform the control effectively. If management

    determines that the operation of the control is not effective, a deficiency exists that must

    be evaluated to determine whether it is a material weakness.




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    c. Evidential Matter to Support the Assessment

           Management’s assessment must be supported by evidential matter that provides

    reasonable support for its assessment. The nature of the evidential matter may vary based

    on the assessed level of ICFR risk of the underlying controls and other circumstances.

    Reasonable support for an assessment would include the basis for management’s

    assessment, including documentation of the methods and procedures it utilizes to gather

    and evaluate evidence.

           The evidential matter may take many forms and will vary depending on the

    assessed level of ICFR risk for controls over each of its financial reporting elements. For

    example, management may document its overall strategy in a comprehensive

    memorandum that establishes the evaluation approach, the evaluation procedures, the

    basis for management’s conclusion about the effectiveness of controls related to the

    financial reporting elements and the entity-level and other pervasive elements that are

    important to management’s assessment of ICFR.

           If management determines that the evidential matter within the company’s books

    and records is sufficient to provide reasonable support for its assessment, it may

    determine that it is not necessary to separately maintain copies of the evidence it

    evaluates. For example, in smaller companies, where management’s daily interaction

    with its controls provides the basis for its assessment, management may have limited

    documentation created specifically for the evaluation of ICFR. However, in these

    instances, management should consider whether reasonable support for its assessment

    would include documentation of how its interaction provided it with sufficient evidence.




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    This documentation might include memoranda, e-mails, and instructions or directions to

    and from management to company employees.

           Further, in determining the nature of supporting evidential matter, management

    should also consider the degree of complexity of the control, the level of judgment

    required to operate the control, and the risk of misstatement in the financial reporting

    element that could result in a material misstatement of the financial statements. As these

    factors increase, management may determine that evidential matter supporting the

    assessment should be separately maintained. For example, management may decide that

    separately maintained documentation in certain areas will assist the audit committee in

    exercising its oversight of the company’s financial reporting.

           The evidential matter constituting reasonable support for management’s

    assessment would ordinarily include documentation of how management formed its

    conclusion about the effectiveness of the company’s entity-level and other pervasive

    elements of ICFR that its applicable framework describes as necessary for an effective

    system of internal control.

    3. Multiple Location Considerations

           Management’s consideration of financial reporting risks generally includes all of

    its locations or business units. 45 Management may determine that financial reporting

    risks are adequately addressed by controls which operate centrally, in which case the

    evaluation approach is similar to that of a business with a single location or business unit.

    When the controls necessary to address financial reporting risks operate at more than one


    45
       Consistent with the guidance in Section II.A.1., management may determine when identifying
    financial reporting risks that some locations are so insignificant that no further evaluation
    procedures are needed.


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    location or business unit, management would generally evaluate evidence of the

    operation of the controls at the individual locations or business units.

            Management may determine that the ICFR risk of the controls (as determined

    through Section II.A.2.a) that operate at individual locations or business units is low. In

    such situations, management may determine that evidence gathered through self-

    assessment routines or other on-going monitoring activities, when combined with the

    evidence derived from a centralized control that monitors the results of operations at

    individual locations, constitutes sufficient evidence for the evaluation. In other

    situations, management may determine that, because of the complexity or judgment in the

    operation of the controls at the individual location, the risk that controls will fail to

    operate is high, and therefore more evidence is needed about the effective operation of

    the controls at the location.

            Management should generally consider the risk characteristics of the controls for

    each financial reporting element, rather than making a single judgment for all controls at

    that location when deciding whether the nature and extent of evidence is sufficient.

    When performing its evaluation of the risk characteristics of the controls identified,

    management should consider whether there are location-specific risks that might impact

    the risk that a control might fail to operate effectively. Additionally, there may be

    pervasive risk factors that exist at a location that cause all controls, or a majority of

    controls, at that location to be considered higher risk.




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    B. Reporting Considerations

    1. Evaluation of Control Deficiencies

            In order to determine whether a control deficiency, or combination of control

    deficiencies, is a material weakness, management evaluates the severity of each control

    deficiency that comes to its attention. Control deficiencies that are determined to be a

    material weakness must be disclosed in management’s annual report on its assessment of

    the effectiveness of ICFR. Control deficiencies that are considered to be significant

    deficiencies are reported to the company’s audit committee and the external auditor

    pursuant to management’s compliance with the certification requirements in Exchange

    Act Rule 13a-14. 46

            Management may not disclose that it has assessed ICFR as effective if one or

    more deficiencies in ICFR are determined to be a material weakness. As part of the

    evaluation of ICFR, management considers whether each deficiency, individually or in

    combination, is a material weakness as of the end of the fiscal year. Multiple control

    deficiencies that affect the same financial statement amount or disclosure increase the

    likelihood of misstatement and may, in combination, constitute a material weakness if

    there is a reasonable possibility 47 that a material misstatement of the financial statements


    46
       Pursuant to Exchange Act Rules 13a-14 and 15d-14 [17 CFR 240.13a-14 and 240.15d-14],
    management discloses to the auditors and to the audit committee of the board of directors (or
    persons fulfilling the equivalent function) all material weaknesses and significant deficiencies in
    the design or operation of internal controls which could adversely affect the issuer's ability to
    record, process, summarize and report financial data. The term “material weakness” is defined in
    the Commission’s rules in Exchange Act Rule 12b-2 and Rule 1-02 of Regulation S-X. See
    Release No. 34-55928. The Commission is seeking additional comment on the definition of the
    term “significant deficiency” in the Commission’s rules in Exchange Act Rule 12b-2 and Rule 1-
    02 of Regulation S-X. See Release No. 34-55930.
    47
      There is a reasonable possibility of an event when the likelihood of the event is either
    “reasonably possible” or “probable” as those terms are used in Financial Accounting Standards
    Board Statement No. 5, Accounting for Contingencies. The use of the phrase “reasonable


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    would not be prevented or detected in a timely manner, even though such deficiencies

    may be individually less severe than a material weakness. Therefore, management

    should evaluate individual control deficiencies that affect the same financial statement

    amount or disclosure, or component of internal control, to determine whether they

    collectively result in a material weakness.

             The evaluation of the severity of a control deficiency should include both

    quantitative and qualitative factors. Management evaluates the severity of a deficiency in

    ICFR by considering whether there is a reasonable possibility that the company's ICFR

    will fail to prevent or detect a misstatement of a financial statement amount or disclosure;

    and the magnitude of the potential misstatement resulting from the deficiency or

    deficiencies. The severity of a deficiency in ICFR does not depend on whether a

    misstatement actually has occurred but rather on whether there is a reasonable possibility

    that the company’s ICFR will fail to prevent or detect a misstatement on a timely basis.

             Risk factors affect whether there is a reasonable possibility 48 that a deficiency, or

    a combination of deficiencies, will result in a misstatement of a financial statement

    amount or disclosure. These factors include, but are not limited to, the following:

         x   The nature of the financial reporting elements involved (for example, suspense

             accounts and related party transactions involve greater risk);




    possibility that a material misstatement of the financial statements would not be prevented or
    detected in a timely manner” is intended solely to assist management in identifying matters for
    disclosure under Item 308 of Regulation S-K. It is not intended to interpret or describe
    management’s responsibility under the FCPA or modify a control framework’s definition of what
    constitutes an effective system of internal control.
    48
      The evaluation of whether a deficiency in ICFR presents a reasonable possibility of
    misstatement can be made without quantifying the probability of occurrence as a specific
    percentage or range.


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       x   The susceptibility of the related asset or liability to loss or fraud (that is, greater

           susceptibility increases risk);

       x   The subjectivity, complexity, or extent of judgment required to determine the

           amount involved (that is, greater subjectivity, complexity, or judgment, like that

           related to an accounting estimate, increases risk);

       x   The interaction or relationship of the control with other controls, including

           whether they are interdependent or redundant;

       x   The interaction of the deficiencies (that is, when evaluating a combination of two

           or more deficiencies, whether the deficiencies could affect the same financial

           statement amounts or disclosures); and

       x   The possible future consequences of the deficiency.

           Factors that affect the magnitude of the misstatement that might result from a

    deficiency or deficiencies in ICFR include, but are not limited to, the following:

       x   The financial statement amounts or total of transactions exposed to the deficiency;

           and

       x   The volume of activity in the account balance or class of transactions exposed to

           the deficiency that has occurred in the current period or that is expected in future

           periods.

           In evaluating the magnitude of the potential misstatement, the maximum amount

    that an account balance or total of transactions can be overstated is generally the recorded

    amount, while understatements could be larger. Also, in many cases, the probability of a

    small misstatement will be greater than the probability of a large misstatement.




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             Management should evaluate the effect of compensating controls49 when

    determining whether a control deficiency or combination of deficiencies is a material

    weakness. To have a mitigating effect, the compensating control should operate at a level

    of precision that would prevent or detect a misstatement that could be material.

             In determining whether a deficiency or a combination of deficiencies represents a

    material weakness, management considers all relevant information. Management should

    evaluate whether the following situations indicate a deficiency in ICFR exists and, if so,

    whether it represents a material weakness:

         x   Identification of fraud, whether or not material, on the part of senior

             management; 50

         x   Restatement of previously issued financial statements to reflect the correction of a

             material misstatement; 51

         x   Identification of a material misstatement off the financial statements in the current

             period in circumstances that indicate the misstatement would not have been

             detected by the company's ICFR; and

         x   Ineffective oversight of the company’s external financial reporting and internal

             control over financial reporting by the company’s audit committee.

             When evaluating the severity of a deficiency, or combination of deficiencies, in

    ICFR, management also should determine the level of detail and degree of assurance that
    49
      Compensating controls are controls that serve to accomplish the objective of another control
    that did not function properly, helping to reduce risk to an acceptable level.
    50
      For purposes of this indicator, the term “senior management” includes the principal executive
    and financial officers signing the company’s certifications as required under Section 302 of
    Sarbanes Oxley as well as any other members of senior management who play a significant role
    in the company’s financial reporting process.
    51
     See FAS 154, Accounting Changes and Error Corrections, regarding correction of a
    misstatement.


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    would satisfy prudent officials in the conduct of their own affairs that they have

    reasonable assurance that transactions are recorded as necessary to permit the preparation

    of financial statements in conformity with GAAP. If management determines that the

    deficiency, or combination of deficiencies, might prevent prudent officials in the conduct

    of their own affairs from concluding that they have reasonable assurance that transactions

    are recorded as necessary to permit the preparation of financial statements in conformity

    with GAAP, then management should treat the deficiency, or combination of

    deficiencies, as an indicator of a material weakness.

    2. Expression of Assessment of Effectiveness of ICFR by Management

            Management should clearly disclose its assessment of the effectiveness of ICFR

    and, therefore, should not qualify its assessment by stating that the company’s ICFR is

    effective subject to certain qualifications or exceptions. For example, management

    should not state that the company’s controls and procedures are effective except to the

    extent that certain material weakness(es) have been identified. In addition, if a material

    weakness exists, management may not state that the company’s ICFR is effective.

    However, management may state that controls are ineffective for specific reasons.

    3. Disclosures about Material Weaknesses

            The Commission’s rule implementing Section 404 was intended to bring

    information about material weaknesses in ICFR into public view. Because of the

    significance of the disclosure requirements surrounding material weaknesses beyond

    specifically stating that the material weaknesses exist, companies should also consider

    including the following in their disclosures: 52

    52
      Significant deficiencies in ICFR are not required to be disclosed in management’s annual report
    on its evaluation of ICFR required by Item 308(a).


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          x   The nature of any material weakness,

          x   Its impact on the company’s financial reporting and its ICFR, and

          x   Management’s current plans, if any, or actions already undertaken, for

              remediating the material weakness.

              Disclosure of the existence of a material weakness is important, but there is other

    information that also may be material and necessary to form an overall picture that is not

    misleading. 53 The goal underlying all disclosure in this area is to provide an investor

    with disclosure and analysis that goes beyond describing the mere existence of a material

    weakness. There are many different types of material weaknesses and many different

    factors that may be important to the assessment of the potential effect of any particular

    material weakness. While management is required to conclude and state in its report that

    ICFR is ineffective when there are one or more material weaknesses, companies should

    also consider providing disclosure that allows investors to understand the cause of the

    control deficiency and to assess the potential impact of each particular material weakness.

    This disclosure will be more useful to investors if management differentiates the potential

    impact and importance to the financial statements of the identified material weaknesses,

    including distinguishing those material weaknesses that may have a pervasive impact on

    ICFR from those material weaknesses that do not.

    4. Impact of a Restatement of Previously Issued Financial Statements on
        Management’s Report on ICFR

              Item 308 of Regulation S-K requires disclosure of management’s assessment of

    the effectiveness of the company’s ICFR as of the end of the company’s most recent

    fiscal year. When a material misstatement of previously issued financial statements is

    53
         See Exchange Act Rule 12b-20 [17 CFR 240.12b-20].


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    discovered, a company is required to restate those financial statements. However, the

    restatement of financial statements does not, by itself, necessitate that management

    consider the effect of the restatement on the company’s prior conclusion related to the

    effectiveness of ICFR.

           While there is no requirement for management to reassess or revise its conclusion

    related to the effectiveness of ICFR, management should consider whether its original

    disclosures are still appropriate and should modify or supplement its original disclosure

    to include any other material information that is necessary for such disclosures not to be

    misleading in light of the restatement. The company should also disclose any material

    changes to ICFR, as required by Item 308(c) of Regulation S-K.

           Similarly, while there is no requirement that management reassess or revise its

    conclusion related to the effectiveness of its disclosure controls and procedures,

    management should consider whether its original disclosures regarding effectiveness of

    disclosure controls and procedures need to be modified or supplemented to include any

    other material information that is necessary for such disclosures not to be misleading.

    With respect to the disclosures concerning ICFR and disclosure controls and procedures,

    the company may need to disclose in this context what impact, if any, the restatement has

    on its original conclusions regarding effectiveness of ICFR and disclosure controls and

    procedures.

    5.     Inability to Assess Certain Aspects of ICFR

           In certain circumstances, management may encounter difficulty in assessing

    certain aspects of its ICFR. For example, management may outsource a significant

    process to a service organization and determine that evidence of the operating




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    effectiveness of the controls over that process is necessary. However, the service

    organization may be unwilling to provide either a Type 2 SAS 70 report or to provide

    management access to the controls in place at the service organization so that

    management could assess effectiveness. 54 Finally, management may not have

    compensating controls in place that allow a determination of the effectiveness of the

    controls over the process in an alternative manner. The Commission’s disclosure

    requirements state that management’s annual report on ICFR must include a statement as

    to whether or not ICFR is effective and do not permit management to issue a report on

    ICFR with a scope limitation. 55 Therefore, management must determine whether the

    inability to assess controls over a particular process is significant enough to conclude in

    its report that ICFR is not effective.




    54
       AU Sec. 324, Service Organizations (as adopted on an interim basis by the Public Company
    Accounting Oversight Board (“PCAOB”) in PCAOB Rule 3200T), defines a report on controls
    placed in operation and test of operating effectiveness, commonly referred to as a “Type 2 SAS
    70 report.” This report is a service auditor's report on a service organization's description of the
    controls that may be relevant to a user organization's internal control as it relates to an audit of
    financial statements, on whether such controls were suitably designed to achieve specified control
    objectives, on whether they had been placed in operation as of a specific date, and on whether the
    controls that were tested were operating with sufficient effectiveness to provide reasonable, but
    not absolute, assurance that the related control objectives were achieved during the period
    specified.
    55
         See Item 308(a)(3) of Regulations S-K and S-B [17 CFR 229.308(a)(3) and 228.308(a)(3)].


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    III. Discussion of Comments on the Proposing Release

            The Proposing Release proposed for public comment interpretive guidance for

    management regarding the annual evaluation of ICFR required by Rules 13a-15(c) and

    15d-15(c) under the Exchange Act. We received letters from 211 commenters in

    response to the Proposing Release. 56 The majority of commenters were supportive of the

    Commission’s efforts in developing this Interpretive Guidance. We have reviewed and

    considered all of the comments received on the proposal, and we discuss our conclusions

    with respect to the comments in more detail in the following sections.

    A. Alignment between Management’s Evaluation and Assessment and the External
       Audit

            Commenters expressed concern that confusion and inefficiencies may arise from

    differences between the proposed guidance for management’s evaluation of ICFR and the

    PCAOB’s proposed auditing standard for ICFR. 57 Commenters cited a lack of alignment

    between the two with regard to the terminology and definitions used 58 as well as


    56
      Of the 211 commenters, 43 were issuers, 33 professional associations and business groups, 19
    foreign private issuers and foreign professional associations, 10 investor advocacy and other
    similar groups, 8 major accounting firms, 11 smaller accounting firms and Section 404 service
    providers, 8 banks and banking associations, 4 law firms and law associations, and 75 other
    interested parties including students, academics, and other individuals. The comment letters are
    available for inspection in the Commission’s Public Reference Room at 100 F Street, NE,
    Washington DC 20549 in File No. S7-24-06, or may be viewed at
    http://www.sec.gov/comments/s7-24-06/s72406.shtml.
    57
      In PCAOB Release No. 2006-007 the PCAOB proposed for public comment An Audit of
    Internal Control Over Financial Reporting That Is Integrated With An Audit of Financial
    Statements and Considering and Using the Work of Others in an Audit. See
    http://www.pcaobus.org/Rules/Docket_021/2006-12-19_Release_No._2006-007.pdf (hereinafter
    “Proposed Auditing Standard”).
    58
      See, for example, letters from American Bar Association’s Committees on Federal Regulation
    of Securities and Law and Accounting of the Section of Business Law (ABA), Association of
    Chartered Certified Accountants (ACCA), Edison Electric Institute (EEI), European Federation of
    Accountants (FEE), Financial Executives International Committee on Corporate Reporting (FEI
    CCR), Frank Gorrell (F. Gorrell), Society of Corporate Secretaries and Governance Professionals,
    and The Institute of Chartered Accountants in England and Wales (ICAEW).


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    differences in the overall approach. Some commenters that were supportive of the

    principles-based approach to the proposed interpretive guidance expressed concern that

    improvements in the efficiency of management’s evaluation of ICFR would be limited by

    what they viewed as comparatively more prescriptive guidance for external auditors in

    the Proposed Auditing Standard. 59 Other commenters suggested that maximizing their

    auditor’s ability to rely on the work performed in management’s evaluation would require

    aligning the evaluation approach for management with the Proposed Auditing Standard. 60

    Even so, some of these commenters still viewed the interpretive guidance as an

    improvement because it provides management the ability to choose whether, and to what

    extent, it should align its evaluation with the auditing standard; whereas commenters said

    that management feels compelled to align with the auditing standard under the current

    rules. Other commenters suggested that the proposed interpretive guidance was

    compatible with the Proposed Auditing Standard and that improvements in

    implementation could be attained with close coordination between management and

    auditors. 61

              In response to the comment letters, we have revised our proposal to more closely

    align it with how we anticipate the PCAOB will revise its proposed auditing standard.

    For example, the definition of a material weakness and the related guidance for




    59
      See, for example, letters from Eli Lilly and Company (Eli Lilly), FEI CCR, Hutchinson
    Technology Inc. (Hutchinson), Independent Community Bankers of America (ICBA), MetLife
    Inc. (MetLife), Procter & Gamble Company (P&G), and Supervalu Inc. (Supervalu).
    60
         See, for example, letters from Heritage Financial Corporation and Southern Company.
    61
      See, for example, letters from BDO Seidman LLP (BDO), McGladrey & Pullen LLP (M&P),
    and PricewaterhouseCoopers LLP (PwC).


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    evaluating deficiencies, including indicators of a material weakness, have been revised. 62

    In addition, alignment revisions were made to the guidance for evaluating whether

    controls adequately address financial reporting risks, including entity-level controls, the

    factors to consider when identifying financial reporting risks and the factors for assessing

    the risk associated with individual financial reporting elements and controls.

            However, some differences between our final interpretive guidance for

    management and the PCAOB’s audit standard remain. These differences are not

    necessarily contradictions or misalignment; rather they reflect the fact that management

    and the auditor have different roles and responsibilities with respect to evaluating and

    auditing ICFR. Management is responsible for designing and maintaining ICFR and

    performing an evaluation annually that provides it with a reasonable basis for its

    assessment as to whether ICFR is effective as of fiscal year-end. Management's daily

    involvement with its internal control system provides it with knowledge and information

    that may influence its judgments about how best to conduct the evaluation and the

    sufficiency of evidence it needs to assess the effectiveness of ICFR. In contrast, the

    auditor is responsible for conducting an independent audit that includes appropriate

    professional skepticism. Moreover, the audit of ICFR is integrated with the audit of the

    company’s financial statements. While there is a close relationship between the work

    performed by management and its auditor, the ICFR audit will not necessarily be limited

    to the nature and extent of procedures management has already performed as part of its

    evaluation of ICFR. There will be differences in the approaches used by management

    and the auditor because the auditor does not have the same information and

    62
      The revisions made to the proposed definition of material weakness and the related guidance,
    including the strong indicators, are discussed in Section III.F. of this document.


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    understanding as management and because the auditor will need to integrate its tests of

    ICFR with the financial statement audit. We agree with those commenters that suggested

    coordination between management and auditors on their respective efforts will ensure

    that both the evaluation by management and the independent audit are completed in an

    efficient and effective manner.

    B. Principles-based Nature of Guidance for Conducting the Evaluation

              The guidance is intended to assist management in complying with two broad

    principles: (1) evaluate whether controls have been implemented to adequately address

    the risk that a material misstatement of the financial statements would not be prevented or

    detected in a timely manner and (2) evaluate evidence about the operation of controls

    based on an assessment of risk. We believe the guidance will enable companies of all

    sizes and complexities to comply with our rules effectively and efficiently.

              Commenters expressed support for the proposed guidance’s principles-based

    approach. 63 However, some requested that the proposal be revised to include additional

    guidance and illustrative examples in the following areas: 64

                   x   the identification of controls that address financial reporting risks; 65

                   x   the assessment of ICFR risk, including how evidence gained over prior

                       periods should impact management’s assessment of risks associated with



    63
      See, for example, letters from ACE Limited (ACE), American Electric Power Company, Inc.
    (AEP), Business Roundtable (BR), Canadian Bankers Association, Center for Audit Quality
    (Center), Ernst & Young LLP (EY), Grant Thornton LLP (GT), ING Groep N.V. (ING),
    Manulife Financial (Manulife), PwC, P&G, and Reznick Group, P.C. (Reznick).
    64
      See, for example, letters from Brown-Forman, Ford Motor Company, MasterCard Incorporated
    (MasterCard), Northrop Grumman Corporation, Supervalu, UFP Technologies (UFP), and
    UnumProvident Corporation (UnumProvident).
    65
         See, for example, letter from Nina Stofberg (N. Stofberg).


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                      controls identified and therefore, the evidence needed to support its

                      assessment; 66

                  x   how varying levels of risk impact the nature of the evidence necessary to

                      support its assessment; 67

                  x   when on-going monitoring activities, including self-assessments, could be

                      used to support management’s assessment and reduce direct testing; 68

                  x   sampling techniques, sample sizes, and testing methods; 69

                  x   the type and manner in which supporting evidence should be

                      maintained; 70 including specific guidelines regarding the amount, form

                      and medium of evidence; 71 and

                  x   how management should document the effectiveness of monitoring

                      activities utilized to support its assessment, as well as how management

                      should support the evidence obtained from its daily interaction with

                      controls as part of its assessment. 72


    66
     See, for example, letters from ISACA and IT Governance Institute (ISACA), Manulife, and
    Ohio Society of Certified Public Accountants (Ohio).
    67
     See, for example, letters from Cardinal Health, Inc. (Cardinal), Cleary Gottlieb Steen &
    Hamilton LLP (Cleary), and ISACA.
    68
      See, for example, letters from BASF Aktiengesellschaft (BASF), Cardinal, Computer Sciences
    Corporation (CSC), ING, ISACA, Ohio, PPL Corporation (PPL), R. Malcolm Schwartz, N.
    Stofberg, and UnumProvident.
    69
      See, for example, letters from BDO, National Association of Real Estate Investment Trusts,
    Reznick, and UFP.
    70
      See, for example, letters from AEP, BDO, Center, EEI, Frank Consulting, PLLP (Frank), The
    Hundred Group of Finance Directors (100 Group), Institut Der Wirtschaftsprufer [Institute of
    Public Auditors in Germany] (IDW), Managed Funds Association (MFA), Nasdaq Stock Market,
    Inc. (Nasdaq), Ohio, N. Stofberg, and UFP.
    71
         See, for example, letter from Nasdaq.
    72
         See, for example, letters from BDO and Center.


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            We have considered the requests for additional guidance and decided to retain the

    principles-based nature of the proposed guidance. We believe an evaluation of ICFR will

    be most effective and efficient when management makes use of all available facts and

    information to make reasonable judgments about the evaluation methods and procedures

    that are necessary to have a reasonable basis for the assessment of the effectiveness of

    ICFR and the evidential matter maintained in support of the assessment. Additional

    guidance and examples in the areas requested would likely have the negative

    consequence of establishing “bright line” or “one-size fits all” evaluation approaches.

    Such an outcome would be contrary to our view that the evaluations must be tailored to a

    company’s individual facts and circumstances to be both effective and efficient.

    Moreover, an evaluation by management that is focused on compliance with detailed

    guidance, rather than the risks to the reliability of its financial reporting, would likely

    lead to evaluations that are inefficient, ineffective or both.

            Detailed guidance and examples from the Commission may also limit or hinder

    the natural evolution and further development of control frameworks and evaluation

    methodologies as technology, control systems, and financial reporting evolve. As we

    have previously stated, the Commission supports and encourages the further development

    of control frameworks and related implementation guidance. For example, the July 2006

    small business guidance issued by COSO addresses the identification of financial

    reporting risks and the related controls. Additionally, we note that COSO is currently

    working on a project to further define how the effectiveness of control systems can be




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    monitored. 73 As such, companies may find that there are other sources for the additional

    guidance in the areas they are seeking.

              Commenters also expressed the view that companies may abuse the flexibility

    afforded by the proposed principles-based guidance to perform inadequate evaluations,

    thereby undermining the intended investor protection benefits.74 Other commenters have

    observed that material weakness disclosures to investors are too often simultaneous with,

    rather than in advance of, the restatement of financial statements, which undermines the

    usefulness of the disclosures. 75 In response to these comments, we note that this

    principles-based guidance enables management to tailor its evaluation so that it focuses

    on those areas of financial reporting that pose the highest risk to reliable financial

    reporting. We believe that a tailored evaluation approach that focuses resources on areas

    of highest risk will improve, rather than degrade, the effectiveness of many company’s

    evaluations and improve the timeliness of material weakness disclosures to investors.

    C. Scalability and Small Business Considerations

              Commenters believed that the proposed interpretive guidance can be scaled to

    companies of all sizes and will benefit smaller public companies in completing their




    73
       In a press release on January 8, 2007, COSO announced that Grant Thornton LLP had been
    commissioned to develop guidance to help organizations monitor the quality of their internal
    control systems. According to that press release, the guidance will serve as a tool for effectively
    monitoring internal controls while complying with Sarbanes-Oxley. The press release is
    available at
    http://www.coso.org/Publications/COSO%20Monitoring%20GT%20Final%20Release_1.8.07.pd
    f.
    74
     See, for example, letters from Joseph V. Carcello, Consumer Federation of America, Consumer
    Action, U.S. Public Interest Research Group (CFA), and Moody’s Investors Service (Moody’s).
    75
         See, for example, letters from CFA and Moody’s.


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    assessments. 76 However, some commenters requested more guidance to enable them to

    conduct the evaluation in an effective and efficient manner. For example, commenters

    requested more guidance on how some of the unique characteristics of smaller

    companies, including a lack of segregation of duties, should be considered in the

    evaluation. 77

            Other commenters, mostly comprised of investor groups, requested that the

    guidance emphasize that scaled or tailored evaluation methods and procedures for smaller

    public companies should be based on both the size and complexity of the business and do

    not imply less rigorous evaluation methods and procedures. 78

            Some commenters indicated that smaller public companies should continue to be

    exempt at least until a thorough examination is conducted of both the Interpretive

    Guidance and the new Auditing Standard to ensure that smaller companies are not

    disproportionately burdened. 79 Some commenters requested that the SEC further delay



    76
     See, for example, letters from American Bankers Association (American Bankers), Anthony S.
    Chan, Chandler (U.S.A.), Inc. (Chandler), CNB Corporation & Citizens National Bank of
    Cheboygan (CNB), Financial Services Forum, GT, Greater Boston Chamber of Commerce,
    Minn-Dak Farmers Cooperative (MDFC), RAM Energy Resources, Inc., and San Jose Water
    Company.
    77
      See, for example, letters from American Electronics Association (AeA), EY, Financial
    Executives International Small Public Company Task Force (FEI SPCTF), Frank, Institute of
    Management Accountants (IMA), MFA, U.S. Chamber of Commerce (Chamber), and U.S. Small
    Business Administration’s Office of Advocacy (SBA).
    78
      See, for example, letters from California Public Employees’ Retirement System (CalPERS),
    CFA, Council of Institutional Investors, Ethics Resource Center, International Brotherhood of
    Teamsters, and Pension Reserves Investment Management Board (PRIMB).
    79
      See, for example, letters from AeA, Biotechnology Industry Organization, Committee on
    Capital Markets Regulation (CCMR), Financial Reporting Committee of the Association of the
    Bar of the City of New York (NYC Bar), International Association of Small Broker Dealers and
    Advisers, National Venture Capital Association, SBA, Silicon Valley Leadership Group (SVLG),
    Small Business Entrepreneurship Council, TechNet, and Telecommunications Industry
    Association.


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    the implementation for one additional year80 or continued to call for a complete

    exemption from Section 404 for smaller public companies.81 Other commenters

    requested that smaller public companies not be exempted. 82

              We believe the principles-based guidance permits flexible and scalable evaluation

    approaches that will enable management of smaller public companies to evaluate and

    assess the effectiveness of ICFR without undue cost burdens. The guidance recognizes

    that internal control systems and the methods and procedures necessary to evaluate their

    effectiveness may be different in smaller public companies than in larger companies.

    However, the flexibility provided in the guidance is not meant to imply that evaluations

    for smaller public companies be conducted with less rigor, or to provide anything less

    than reasonable assurance as to the effectiveness of ICFR at such companies. Rather,

    smaller public companies should utilize the flexibility provided in the guidance to cost-

    effectively tailor and scale their methods and approaches for identifying and documenting

    financial reporting risks and the related controls and for evaluating whether operation of

    controls is effective (for example, by utilizing evidence gathered through management’s

    daily interaction with its controls), so that they provide the evidence needed to assess

    whether ICFR is effective.

              In addition, as previously mentioned, companies may find that there are other

    sources for guidance, such as the July 2006 guidance for applying the COSO framework

    to smaller public companies. We believe our guidance, when used in conjunction with
    80
     See, for example, letters from American Bankers, America’s Community Bankers, Chandler,
    CNB, FEI SPCTF, F. Gorrell, ICBA, MFA, and Washington Legal Foundation (WLF).
    81
         See, for example, letters from American Stock Exchange, ICBA, UFP, and WLF.
    82
      See, for example, letters from American Federation of Labor and Congress of Industrial
    Organizations (AFL-CIO), CalPERS, Frank, F. Gorrell, PRIMB, and WithumSmith+Brown
    Global Assurance, LLC.


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    other such guidance, will enable smaller public companies to have a better understanding

    of the requirements of a control framework, its role in effective internal control systems

    and the relationship to our evaluation and disclosure requirements. This should enable

    management to plan and conduct its evaluation in an effective and efficient manner.

           The Commission believes that compliance with the ICFR evaluation and

    assessment requirements by smaller public companies will further the primary goal of

    Sarbanes-Oxley which is to enhance the quality of financial reporting and increase

    investor confidence in the fairness and integrity of the securities markets. We note that

    all financial statements filed with the Commission, even those by smaller public

    companies, result from a system of internal controls. Such systems are required by the

    FCPA to operate at a level that provides “reasonable assurance” about the reliability of

    financial reporting. Our rules implementing Section 404 direct management of all

    companies to evaluate and assess whether the company’s system of internal controls is

    effective at achieving reasonable assurance. Our guidance is intended to help them do so

    in a cost-effective manner. Given the principles-based nature of our guidance and the

    flexibility it provides, we do not believe further postponement of the evaluation

    requirements are needed for smaller companies. We believe that the timing of the

    issuance of the Interpretive Guidance is adequate to allow for its effective

    implementation in 2007 evaluations.

    D. Identifying Financial Reporting Risks and Controls

           1. Summary of the Proposal

           The proposal directed management to consider the sources and potential

    likelihood of misstatements, including those arising from fraudulent activity, and identify




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    those that could result in a material misstatement of the financial statements (that is,

    financial reporting risks). The proposal indicated that management’s consideration of the

    risk of misstatement generally includes all of its locations or business units and that the

    methods and procedures for identifying financial reporting risks will vary based on the

    characteristics of the individual company. The proposal discussed factors for

    management to consider in selecting methods and procedures for evaluating financial

    reporting risks and in identifying the sources and potential likelihood of misstatement.

           The proposal directed management to evaluate whether controls were placed in

    operation to adequately address the financial reporting risks it identifies. The proposal

    indicated that controls were not adequate when their design was such that there was a

    reasonable possibility that a misstatement in a financial reporting element that could

    result in a material misstatement of the financial statements would not be prevented or

    detected in a timely manner. The proposal discussed the fact that some controls may be

    automated or may depend upon IT functionality. In these situations, the proposal stated

    that management’s evaluation should consider not only the design and operation of the

    automated or IT dependent controls, but also the aspects of IT general controls necessary

    to adequately address financial reporting risks.

           The proposal also indicated that entity-level controls should be considered when

    identifying financial reporting risks and related controls for a financial reporting element.

    The proposal discussed the nature of entity-level controls, how they relate to a financial

    reporting element and the need to consider whether they would prevent or detect material

    misstatements. If a financial reporting risk for a financial reporting element is adequately

    addressed by an entity-level control, the proposal indicated that no further controls




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    needed to be identified and tested by management for purposes of the evaluation of

    ICFR.

              2. Comments on the Proposal and Revisions Made

              The Commission received a number of comments on the proposed guidance for

    identifying financial reporting risks and controls. As discussed in Section III.B above,

    many of these commenters requested more examples or more detailed guidance. Other

    comments received related to the identification of fraud risks and related controls; entity-

    level controls; and IT general controls.

              Identification of fraud risks and related controls

              Commenters suggested the guidance be revised to more strongly emphasize

    management’s responsibility to identify and evaluate fraud risks and the related controls

    that address those risks. 83 Commenters also discussed the nature of fraud risks that most

    often lead to materially misstated financial statements and requested additional guidance

    regarding which fraud related controls are within the scope of the evaluation; 84 whether

    management can consider the risk of fraud through the overall risk assessment or if a

    specific fraud threat analysis is required; 85 and examples of the types of fraud that should

    be considered. 86 Other commenters noted that there is existing guidance for

    management, beyond what was referenced in the proposal, for assessing fraud risks and




    83
      See, for example, letters from ACE, ACCA, BDO, Center, CSC, Deloitte & Touche LLP
    (Deloitte), GT, IMA, KPMG LLP (KPMG), M&P, Moody’s, and PwC.
    84
         See, for example, letters from BASF, BDO, and GT.
    85
         See, for example, letter from Tatum LLC (Tatum).
    86
         See, for example, letters from FEI CCR, P&G, and N. Stofberg.


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    the related controls. These commenters suggested that the proposal be revised to directly

    incorporate the most relevant elements of such guidance. 87

              In response to the comments, the proposal was revised to clarify that fraud risks

    are expected to exist at every company and that the nature and extent of the fraud risk

    assessment activities should be commensurate with the size and complexity of the

    company. Additionally, we expanded the references to existing guidance to include the

    AICPA’s 2005 Management Override of Internal Controls: The Achilles’ Heel of Fraud

    Prevention and COSO’s July 2006 Guidance for Smaller Public Companies. Given the

    availability of existing information and guidance on fraud and consistent with the

    principles-based nature of the interpretive guidance, we determined that it was

    unnecessary to provide a list of fraud risks expected to be present at every company or a

    list of the areas of financial reporting expected to have a risk of material misstatement

    due to fraud. Moreover, providing such a list may result in a “checklist” type approach to

    fraud risk assessments that would likely be ineffective as financial reporting changes over

    time, or given the wide variety of facts and circumstances that exist in different

    companies and industries. While management may find such checklists a useful starting

    point, effective fraud risk assessments will require sound and thoughtful judgments that

    reflect a company’s individual facts and circumstances.

              Entity-Level Controls

              Commenters requested further clarification of how entity-level controls can

    address financial reporting risks in a top-down, risk based approach. 88 Commenters also



    87
         See, for example, letters from Center, GT, KPMG, and M&P.
    88
         See, for example, letters from EY, Frank, MetLife, and UnumProvident.


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    suggested that the guidance place more emphasis on entity-level controls given their

    pervasive impact on all other aspects of ICFR. 89

            In response to the comments received, we expanded the discussion of entity-level

     controls and how they relate to financial reporting elements. This discussion further

     clarifies that some entity-level controls, such as controls within the control environment,

     have an important, but indirect, effect on the likelihood that a misstatement will be

     prevented or detected on a timely basis. While these controls might affect the other

     controls management determines are necessary to address financial reporting risks for a

     financial reporting element, it is unlikely management will identify only this type of

     entity-level control as adequately addressing a financial reporting risk. Further, the

     guidance clarifies that some entity-level controls may be designed to identify possible

     breakdowns in lower-level controls, but not in a manner that would, by themselves,

     adequately address financial reporting risks. In these cases, management would identify

     the additional controls needed to adequately address financial reporting risks, which may

     include those that operate at the transaction or account balance level. Consistent with

     the proposal, management does not need to identify or evaluate additional controls

     relating to a financial reporting risk if it determines that the risk is being adequately

     addressed by an entity-level control.

              We have also revised the proposed guidance to further clarify that the controls

    management identifies in Section II.A.1 should include the entity-level and pervasive

    elements of its ICFR that are necessary to have a system of internal control that provides

    reasonable assurance as to the reliability of financial reporting. Management can use the

    89
     See, for example, letters from ACCA, ACE, Eli Lilly, European Association of Listed
    Companies (EALIC), and PwC.


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    existing control frameworks and related guidance to assist them in evaluating the

    adequacy of these aspects of their ICFR.

              Information Technology General Controls

              Commenters expressed concern that the proposal’s guidance on IT general

    controls was too vague or that it lacked sufficient clarity 90 and requested further guidance

    and illustrative examples 91 to clarify the extent to which IT general controls are within

    the scope of the ICFR evaluation. 92 Commenters also suggested that the Commission

    directly incorporate the May 16, 2005 Staff Guidance 93 on IT general controls 94 and that

    we clarify that IT general controls alone, without consideration of application controls,

    will not sufficiently address the risk of material misstatement. 95 One commenter noted

    that providing such guidance could have the unintended consequence of setting a

    precedent for providing more detailed guidance in other areas of the evaluation.96

              Commenters also suggested that we revise the proposal to clarify how a top-down

    approach considers IT general controls, 97 that we encourage a “benchmarking” approach

    for evaluating automated controls,98 and that we permit companies who implement IT



    90
         See, for example, letters from Aerospace Industries Association, MasterCard, and Nasdaq.
    91
         See, for example, letter from Microsoft Corporation (MSFT).
    92
     See, for example, letters from Faisal Danka, ISACA, MSFT, Rod Scott, and The Travelers
    Companies, Inc. (Travelers).
    93
      Division of Corporation Finance and Office of the Chief Accountant: Staff Statement on
    Management’s Report on Internal Control Financial Reporting (May 16, 2005), available at
    http://www.sec.gov/spotlight/soxcom/.htm.
    94
         See, for example, letters from FEI CCR and P&G.
    95
         See, for example, letter from IDW.
    96
         See, for example, letter from ICAEW.
    97
         See, for example, letters from Cardinal and ISACA.
    98
         See, for example, letter from CSC.


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    systems late in the year to do so while still being able to satisfy their ICFR

    responsibilities. 99

              We made several revisions to the proposed guidance based on the comment

    letters. We revised the proposal to explain that the identification of risks and controls

    within IT should be integral to, and not separate from, management’s top-down, risk-

    based approach to evaluating ICFR and in determining the necessary supporting

    evidential matter. We clarified that controls which address financial reporting risks may

    be automated, dependent upon IT functionality, or require a combination of both manual

    and automated procedures and that IT general controls alone, without consideration of

    application controls, ordinarily do not adequately address financial reporting risks. We

    also incorporated guidance from the May 16, 2005 Staff Statement which explains that it

    is unnecessary to evaluate IT general controls that primarily pertain to efficiency or

    effectiveness of operations, but which are not relevant to addressing financial reporting

    risks.

              We have declined to further specify categories or areas of IT general controls that

    will be relevant to the ICFR evaluation for all companies. We continue to believe that

    such determinations require consideration of each company’s individual facts and

    circumstances. Moreover, we have concluded it is not necessary to include a discussion

    of a “benchmarking” approach to evaluating automated controls. The lack of such

    discussion in our guidance does not preclude management from taking such an approach

    if they believe it to be both efficient and effective.




    99
         See, for example, letter from Chamber.


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           Additionally, we did not revise the proposed guidance to discuss implementation

    of IT systems, or changes thereto, late in the year because we do not believe such

    decisions should be impacted by the requirement to evaluate and assess the effectiveness

    of ICFR. Even without the evaluation and assessment requirements, the implementation

    of an IT system late in the year does not change management’s responsibility to maintain

    a system of internal control that provides reasonable assurance regarding the reliability of

    financial reporting. Allowing an exclusion from the evaluation for controls placed in

    operation late in the year could have the unintended consequence of negatively impacting

    the reliability of financial reporting. Management has the ability to mitigate the risk of

    material misstatement that arises from ineffective controls in a new IT system. For

    example, management may perform pre-implementation testing of the IT controls needed

    to adequately address financial reporting risks. Additionally, management may

    implement compensating controls, such as manual reconciliations and verification, until

    such time that management has concluded that the IT controls within the system are

    adequate. Accordingly, we do not believe it is necessary or appropriate to exclude new

    IT systems or changes to existing systems from the scope of the evaluation of ICFR.

    E. Evaluating Evidence of the Operating Effectiveness of ICFR

           1. Summary of the Proposal

           Our proposal indicated that management should consider both the risk

    characteristics of the financial reporting elements to which the controls relate and the risk

    characteristics of the controls themselves (collectively, ICFR risk) in making judgments

    about the nature and extent of evidence necessary to provide a reasonable basis for the

    assessment of whether the operation of controls is effective. The proposal identified




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    significant accounting estimates, related party transactions and critical accounting

    policies as examples of financial reporting areas that generally would be assessed as

    having a higher risk of misstatement and control failure. However, the proposed

    guidance recognizes that since not all controls have the same risk characteristics, when a

    combination of controls is required to adequately address the risks to a financial reporting

    element, management should analyze the risk characteristics of each control separately.

    Further, under the proposed guidance, when evaluating risks in multi-location

    environments, management should generally consider the risk characteristics of the

    controls related to each financial reporting element, rather than making a single judgment

    for all controls at a particular location when determining the sufficiency of evidence to

    support its assessment.

           Our proposal indicated that the evidence of the operation of controls that

    management evaluates may come from a combination of on-going monitoring and direct

    testing and that management should vary the nature, timing and extent of these based on

    its assessment of the ICFR risk. Our proposal stated that this evidence would ordinarily

    cover a reasonable period of time during the year and include the fiscal year-end. The

    proposal also acknowledged that, in smaller companies, those responsible for assessing

    the effectiveness of ICFR may, through their on-going direct knowledge and supervision

    of the operation of controls (that is, daily interaction) have a reasonable basis to evaluate

    the effectiveness of some controls without performing direct tests specifically for

    purposes of the evaluation.

           The proposal explained that the evidential matter constituting reasonable support

    for the assessment would generally include the basis for management’s assessment and




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    documentation of the evaluation methods and procedures for gathering and evaluating

    evidence. Additionally, the proposal indicated that the nature of the supporting evidential

    matter, including documentation, may take many forms and may vary based on

    management’s assessment of ICFR risk. For example, management may determine that it

    is not necessary to maintain separate copies of the evidence evaluated if such evidence

    already exists in the company’s books and records. The proposal also indicates that as

    the degree of complexity of the control, the level of judgment required to operate the

    control, and the risk of misstatement in the financial reporting element increase,

    management may determine that separate evidential matter supporting a control’s

    operation should be maintained.

           2. Comments on the Proposal and Revisions Made

           The Commission received a number of comments on the proposed guidance for

    evaluating whether the operation of controls was effective. As discussed in Section III.B

    above, many of these commenters requested more examples or more detailed guidance.

    Other comments received related to the appropriateness of various “rotational”

    approaches to evaluating evidence of whether the operation of controls was effective; the

    nature of on-going monitoring activities, including self-assessments and daily interaction;

    the time period to be covered by evaluation procedures; and supporting evidential matter.

           Rotational Approaches to Evaluating Evidence

           Commenters requested that the guidance explicitly allow management to rotate its

    evaluation of evidence of the operation of controls and a variety of different approaches

    for doing so were suggested. These approaches included, for example, a rotational




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    approach for lower risk controls, 100 a rotational approach in areas where management

    determines there are no changes in the controls since the previous assessment, 101 or a

    rotational approach where there is both lower risk and no changes in controls. 102 In

    addition, some suggested a “benchmarking” approach, similar to that used for IT

    controls, be allowed for non-IT controls. 103 Other commenters agreed with the

    proposal’s requirement that management consider evidence of the operation of controls

    each year. 104 Others noted that while they believed it is appropriate for management to

    consider the results of its prior year assessments, the guidance should make it clear that

    the evaluation of operating effectiveness is an annual requirement. 105

               Other commenters raised the issue of a rotational approach specific to multi-

    location considerations. For example, commenters suggested that the guidance allow for

    rotation of locations based upon risk (for example, once every three years).106 However,

    some commenters suggested that the risk-based approach provided in the proposed

    guidance would appropriately allow companies to vary testing in locations based more on

    risk than coverage, which would improve the efficiency of their assessment. 107

               After considering the comments, the Commission has retained the guidance

    substantially as proposed. We did not introduce a concept that allows management to


    100
          See, for example, letters from CSC, EALIC, ING, MasterCard, and NYC Bar.
    101
          See, for example, letters from P&G and Travelers.
    102
          See, for example, letters from EEI and Supervalu.
    103
          See, for example, letters from Eli Lilly and FEI CCR.
    104
          See, for example, letters from CCMR, Deloitte, and KPMG.
    105
          See, for example, letters from AFL-CIO, Center, CFA, Deloitte, and PwC.
    106
          See, for example, letter from CSC.
    107
      See, for example, letters from MSFT, New York State Society of Certified Public
    Accountants, and Plains Exploration & Production Company.


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    eliminate from its annual evaluation those controls that are necessary to adequately

    address financial reporting risks. For example, management cannot decide to include

    controls for a particular location or process within the scope of its evaluation only once

    every three years or exclude controls from the scope of its evaluation based on prior year

    evaluation results. To have a reasonable basis for its assessment of the effectiveness of

    ICFR, management must have sufficient evidence supporting the operating effectiveness

    of all aspects of its ICFR as of the date of its assessment. The guidance provides a

    framework to assist management in making judgments regarding the nature, timing and

    extent of evidence needed to support its assessment. Management can use this

    framework to scale its evaluation methods and procedures in response to the risks

    associated with both the financial reporting elements and related controls in its particular

    facts and circumstances.

           However, the guidance has been clarified to reflect that management’s experience

    with a control’s operation both during the year and as part of its prior year assessment(s)

    may influence its decisions regarding the risk that controls will fail to operate as

    designed. This, in turn, may have a corresponding impact on the evidence needed to

    support management’s conclusion that controls operated effectively as of the date of

    management’s assessment.

            Nature of On-Going Monitoring Activities

           Commenters expressed concern that, as defined in the proposal, some on-going

    monitoring activities would not be deemed to provide sufficient evidence. 108 Other

    commenters were concerned that the guidance placed too much emphasis on the amount

    108
      See, for example, letters from BASF and Cees Klumper & Matthew Shepherd (C. Klumper &
    M. Shepherd).


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    of evidence that could be obtained from on-going monitoring activities and called for

    further examples of when they may provide sufficient evidence and when direct testing

    would be required. 109 With regard to self-assessments, commenters suggested that self-

    assessments can be an integral source of evidence when their effective operation is

    verified by direct testing over varying periods of time based on the manner in which the

    self-assessments were conducted and on the level of risk associated with the controls. 110

    Other commenters requested the proposed guidance be revised to clarify how, based on

    the definitions provided, self-assessments differed from direct testing.111

               Some commenters questioned the sufficiency of evidence that would result from

    management’s daily interaction with controls and requested more specifics on when it

    would be appropriate as a source of evidence 112 and how management should

    demonstrate that its daily interaction with controls provided it with sufficient evidence to

    have a reasonable basis to assess whether the operation of controls was effective.113

               Based on the feedback received, we modified the discussion of on-going

    monitoring activities, including self-assessments, and direct testing to clarify how the

    evidence obtained from each of the activities can vary. As commenters in this area noted,

    on-going monitoring, including self-assessments, encompasses a wide array of activities

    that can be performed by a variety of individuals within an organization. These

    individuals have varying degrees of objectivity, ranging from internal auditors to the

    personnel involved in business processes, and can include both those responsible for

    109
          See, for example, letters from Center and EY.
    110
          See, for example, letters from GT and C. Klumper & M. Shepherd.
    111
          See, for example, letter from Cardinal.
    112
          See, for example, letters from BDO, EY, Ohio, and Tatum.
    113
          See, for example, letter from Ohio.


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    executing a control as well as those responsible for overseeing its effective operation.

    Because of the varying degrees of objectivity, the sufficiency of the evidence

    management obtains from on-going monitoring activities is determined by the nature of

    the activities (that is, what they entail and how they are performed).

           We clarified the proposed guidance to indicate that when evaluating the

    objectivity of personnel, management is not required to make an absolute conclusion

    regarding objectivity, but rather should recognize that personnel will have varying

    degrees of objectivity based on, among other things, their job function, their relationship

    to the control being evaluated, and their level of authority and responsibility within the

    organization. Management should consider the ICFR risk of the controls when

    determining whether the objectivity of the personnel involved in the monitoring activities

    results in sufficient evidence. For example, for areas of high ICFR risk, management’s

    on-going monitoring activities may provide sufficient evidence when the monitoring

    activities are carried out by individuals with a high degree of objectivity. However, when

    management’s support includes evidence obtained from activities performed by

    individuals who are not highly objective, management would ordinarily supplement the

    evidence with some degree of direct testing by individuals who are independent from the

    operation of the control to corroborate the information from the monitoring activity.

           With regard to requests for more guidance related to management’s daily

    interaction, we have adopted the guidance substantially as proposed. We believe that in

    smaller companies, management’s daily interaction with the operation of controls may

    provide it with sufficient evidence to assess whether controls are operating effectively.

    The guidance is not intended to limit management’s flexibility with regard to the areas of




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    ICFR where its interaction can provide it with sufficient evidence or the manner by which

    management obtains knowledge of the operation of the controls. However, as noted in

    the guidance, daily interaction as a source of evidence for the operation of controls

    applies to management who are responsible for assessing the effectiveness of ICFR and

    whose knowledge about the effective operation is gained from its on-going direct

    knowledge and direct supervision of controls. In addition, the evidence management

    maintains in support of its assessment should include the design of the controls that

    adequately address the financial reporting risks as well as how its interaction provides an

    adequate basis for its assessment of the effectiveness of ICFR.

            Time Period Covered by Evaluation Procedures

            Commenters requested that the guidance allow for, and encourage, management

    to gather evidence throughout the year to support its assessment in lieu of having to

    gather some evidence close to or as-of year-end. 114 These commenters believed that such

    guidance would encourage companies to better integrate their evaluation procedures into

    the normal activities of their daily operations, spread the effort more evenly throughout

    the year, and help reduce the strain on resources at year-end when company personnel are

    preparing the annual financial statements and complying with other financial reporting

    activities.

            We agree with the comments received in this area with respect to allowing

    management the flexibility to gather evidence in support of its assessment during the

    year. Since management’s assessment is performed as of the end of its fiscal year-end,

    the evidence management utilizes to support its assessment would ordinarily include a

    114
       See, for example, letters from Eli Lilly, The Financial Services Roundtable, and Neenah Paper,
    Inc.


                                                Page 65
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    reasonable period of time during the year, including some evidence as of the date of its

    assessment. However, the proposal was not intended to limit management’s flexibility to

    conduct its evaluation activities during the year. Rather, the proposed guidance was

    intended to provide management with the ability to perform a variety of activities

    covering periods of time that vary based on its assessment of risk in order to provide it

    with a sufficient basis for its evaluation. This could include, for example, a strategy that

    employs direct testing over a control during the year (but prior to year-end), that is

    supplemented with a self-assessment activity at year-end. As a result, we have adopted

    the guidance related to the period of time for which management should obtain evidence

    of the operation of controls substantially as proposed.

              Supporting Evidential Matter

              Commenters expressed support for the guidance in the proposal related to the

    supporting evidential matter and believed it would allow management to make better

    judgments and allow for sufficient flexibility to vary the nature and extent of evidence

    based on the company’s particular facts and circumstances. 115 Other commenters

    observed that a certain level of documentation was required in order to facilitate an

    efficient and effective audit and suggested the guidance explicitly state this fact and/or

    clarify how the guidance for management was intended to interact with the requirements

    provided to auditors. 116 One commenter requested that we clarify our intention related to




    115
          See, for example, letters from BR, EY, Hudson Financial Solutions (HFS), and MSFT.
    116
       See, for example, letters from Center, Deloitte, EY, GT, M&P, MetLife, MDFC, PwC, and N.
    Stofberg.


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    the audit committee’s involvement in the review of evidential matter prepared by

    management in support of its assessment. 117

              After consideration of the comments, we are adopting the guidance substantially

    as proposed. We continue to believe that management should have considerable

    flexibility as to the nature and extent of the documentation it maintains to support its

    assessment, while at the same time maintaining sufficient evidence to provide reasonable

    support for its assessment. Providing specific guidelines and detailed examples of

    various types of documentation would potentially limit the flexibility we intended to

    afford management.

              With respect to the concerns raised regarding the interaction of the proposed

    guidance and the audit requirements, we determined that no changes were necessary.

    Similar to an audit of the financial statements, the nature and extent of evidential matter

    maintained by management may impact how an auditor conducts the audit and the

    efficiency of the audit. We believe that the most efficient implementation by

    management and the auditor is achieved when flexibility exists to determine the

    appropriate manner by which to complete their respective tasks. However, we also

    believe that the Proposed Auditing Standard allows auditors sufficient flexibility to

    consider various types of evidence utilized by management. The audit standard allows

    auditors to adjust their approach in certain circumstances, if necessary, so that audit

    procedures should not place any undue burden or expense on management’s evaluation

    process.




    117
          See, for example, letter from ABA.


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    F. Evaluation of Control Deficiencies

           1. Summary of the Proposal

           The proposal directed management to evaluate each control deficiency that comes

    to its attention in order to determine whether the deficiency, or combination of control

    deficiencies, is a material weakness. The proposal defined a material weakness as a

    deficiency, or combination of deficiencies, in ICFR such that there is a reasonable

    possibility that a material misstatement of the company’s annual or interim financial

    statements will not be prevented or detected on a timely basis by the company’s ICFR.

    The proposal contained guidance on the aggregation of deficiencies by indicating that

    multiple control deficiencies that affect the same financial reporting element increase the

    likelihood of misstatement and may, in combination, constitute a material weakness, even

    though such deficiencies may be individually insignificant. The proposal also

    highlighted four circumstances that were strong indicators that a material weakness in

    ICFR existed. In summary, the following four items were listed:

                 x   An ineffective control environment, including identification of fraud of

                     any magnitude on the part of senior management; significant

                     deficiencies that remain unaddressed after some reasonable period of

                     time; and ineffective oversight by the audit committee (or entire board of

                     directors if no audit committee exists).

                 x   Restatement of previously issued financial statements to reflect the

                     correction of a material misstatement.




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                    x   Identification by the auditor of a material misstatement of financial

                        statements in the current period under circumstances that indicate the

                        misstatement would not have been discovered by the company’s ICFR.

                    x   For complex entities in highly regulated industries, an ineffective

                        regulatory compliance function.

              2. Comments on the Proposal and Revisions Made

              Definition of Material Weakness

              Commenters expressed concern about differences between our proposed

    definition of material weakness and that proposed by the PCAOB in its Proposed

    Auditing Standard and requested that the two definitions be aligned. 118 Commenters

    provided feedback on the reasonably possible threshold for determining the likelihood of

    a potential material misstatement as well as the reference to interim financial statements

    for determining whether a potential misstatement could be material. Commenters also

    suggested that a single definition of material weakness be established for use by both

    auditors and management and that definition be established by the SEC in its rules.119

    Based on comments on the proposal, we are amending Exchange Act Rule 12b-2 and

    Rule 1-02 of Regulation S-X to define the term material weakness. Further discussion

    and analysis of the definition of material weakness and commenter feedback can be

    found in that rule release. 120




    118
          See, for example, letters from EEI, FEI CCR, FEI SPCTF, ICAEW, N. Stofberg, and SVLG.
    119
          See, for example, letters from FEE and ICAEW.
    120
          Release No. 34-55928.


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               Strong Indicators of a Material Weakness

               Commenters noted there were differences in the list of strong indicators included

    in the proposal and the list of strong indicators included in the Proposed Auditing

    Standard, raising concern that the failure of the two proposals to provide similar guidance

    would cause unnecessary confusion between management and auditors. 121 Commenters

    also provided suggested changes, additions or deletions to circumstances that were

    included on the list of strong indicators. For example, commenters raised questions about

    the “identification of fraud of any magnitude on the part of senior management,”

    questioning the appropriateness of the term “of any magnitude” or which individuals

    were encompassed in the term “senior management.” 122 Commenters also felt the

    Commission’s proposed list of indicators should be expanded to include the indicator

    relating to an ineffective internal audit function or risk assessment function that was

    included in the Proposed Auditing Standard. 123 One commenter felt that the list of strong

    indicators needed to be made more specific, and should include more illustrative

    examples. 124 Another commenter stated that the indicator of “significant deficiencies

    that have been identified and remain unaddressed after some reasonable period of time”

    should be clarified to mean unremediated deficiencies.125 Other commenters suggested

    that the list of strong indicators be eliminated completely, stating that designating these

    items as strong indicators creates a presumption that such items are, in fact, material

    121
      See, for example, letters from BDO, BR, Center, Cleary, CSC, Deloitte, KPMG, M&P, and
    Schneider Downs & Co., Inc. (Schneider).
    122
          See, for example, letters from 100 Group, Eli Lilly, FEI CCR, and P&G.
    123
     See, for example, letters from BR, Crowe Chizek & Company LLC (Crowe), Deloitte, and
    M&P.
    124
          See, for example, letter from Chamber.
    125
          See, for example, letter from EEI.


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    weaknesses, and may impede the use of judgment to properly evaluate the identified

    control deficiency in light of the individual facts and circumstances. 126 Commenters also

    felt the Commission should clearly indicate that a company may determine that no

    deficiency exists despite the fact that one of the identified strong indicators was

    present. 127

               After consideration of the comments, we have decided to modify the proposed

    guidance. We believe judgment is imperative in determining whether a deficiency is a

    material weakness and that the guidance should encourage management to use that

    judgment. As a result, we have modified the guidance to emphasize that the evaluation

    of control deficiencies requires the consideration of all of the relevant facts and

    circumstances. We agreed with the concerns that an overly detailed list may create a list

    of de facto material weaknesses or inappropriately suggest that identified control

    deficiencies not included in the list are of lesser importance. At the same time, however,

    we continue to believe that highlighting certain circumstances that are indicative of a

    material weakness provides practical information for management. As a result, rather

    than referring to “strong indicators,” the final guidance refers simply to “indicators.”

    This change should further emphasize that the presence of one of the indicators does not

    mandate a conclusion that a material weakness exists. Rather management should apply

    professional judgment in this area. These examples include indicators related to the

    results of the financial statement audit, such as material audit adjustments and

    restatements, and indicators related to the overall evaluation of the company’s oversight

    of financial reporting, such as the effectiveness of the audit committee and incidences of

    126
          See, for example, letters from Cleary, Institute of Internal Auditors (IIA), and NYC Bar.
    127
          See, for example, letters from Chamber, Cleary, CSC, PPL, and Schneider.


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    fraud among senior management. These examples are by no means an exhaustive list.

    For example, under COSO, risk assessment and monitoring are two of the five

    components of an effective system of internal control. If management concludes that an

    internal control component is not effective, or if required entity-level or pervasive

    elements of ICFR are not effective, it is likely that internal control is not effective.

               Lastly, we agreed with commenters that it is appropriate for the Commission’s

    guidance in this area to mirror the PCAOB’s auditing standard. As a result, we have

    worked with the PCAOB in reaching conclusions regarding the guidance in this area, and

    we anticipate the PCAOB’s auditing standard will align with our final management

    guidance.

    G. Management Reporting and Disclosure

               Comment letters expressed various viewpoints regarding the information

    management provides as part of its report on the effectiveness of ICFR. For example,

    commenters raised concerns regarding the “point in time” assessment and suggested

    various alternative approaches. 128 Commenters also made suggestions regarding the

    disclosures management provides when a material weakness has occurred. Certain

    commenters felt the suggested disclosures indicated in the proposing release should be

    mandatory, 129 while other commenters wanted the Commission to specify where in the

    Form 10-K management must provide its disclosures.130 Commenters also requested that




    128
          See, for example, letters from BHP Billiton Limited, Eli Lilly, and IIA.
    129
          See, for example, letters from HFS, IDW, and Tatum.
    130
          See, for example, letters from Crowe and KPMG.


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    the Commission include in its release additional possible disclosures for consideration by

    management to include in its report. 131

               In addition, commenters expressed concerns regarding the language in the

    Proposing Release with respect to management’s ability to determine that ICFR is

    ineffective due solely to, and only to the extent of, the identified material weakness(es).

    Some commenters felt that this language was essentially the same as a qualified opinion,

    which is prohibited by the guidance,132 while two others stated that the Commission

    needed to provide additional guidance around the circumstances under which this

    approach would be appropriate. 133

               Based on the feedback we received, we have eliminated this from the final

    interpretive guidance and revised the proposed guidance to simply state that management

    may not state that the company’s ICFR is effective. However, management may state

    that controls are ineffective for specific reasons.

               Additionally, certain of the requests received seemed inconsistent with the

    statutory obligation. For example, Section 404(a)(2) of Sarbanes-Oxley requires that

    management perform the assessment as of the end of its most recent fiscal year. As a

    result, we do not believe any further changes to the proposed guidance around

    management’s expression of its assessment of the effectiveness of ICFR are necessary.




    131
          See, for example, letters from PCG Worldwide Limited and PepsiCo, Inc. (Pepsi).
    132
          See, for example, letters from BDO and CFA.
    133
          See, for example, letters from Crowe and Deloitte.


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    H. Previous Staff Guidance and Staff Frequently Asked Questions

               Commenters raised questions regarding the status of guidance previously issued

    by the Commission and its staff, on May 16, 2005, 134 as well as the Frequently Asked

    Questions (“FAQs”). 135 Some commenters requested the FAQs be retained in their

    entirety, 136 while others requested that some particular FAQs be retained. 137 As we

    indicated in the proposed guidance, the May 2005 guidance remains relevant.

    Additionally, we have instructed the staff to review the FAQs and, as a result of the final

    issuance of this guidance, update them as appropriate.

    I. Foreign Private Issuers

               The Commission received comments directed towards the information included in

    the proposed guidance related to foreign private issuers. While three commenters noted

    that no additional guidance for foreign private issuers was necessary,138 other

    commenters suggested changes. Commenters raised concerns regarding potential

    duplicative efforts and costs foreign registrants are subject to, as a result of similar

    regulations in their local jurisdictions. 139 These commenters requested that the

    Commission attempt to minimize or remove any duplicative requirements, with some

    134
      Commission Statement on Implementation of Internal Control Reporting Requirements, Press
    Release No. 2005-74 (May 16, 2005); Division of Corporation Finance and Office of the Chief
    Accountant: Staff Statement on Management’s Report on Internal Control Financial Reporting
    (May 16, 2005), available at http://www.sec.gov/spotlight/soxcom/.htm.
    135
       Office of the Chief Accountant and Division of Corporation Finance: Management’s Report
    on Internal Control Over Financial Reporting and Certification of Disclosure in Exchange Act
    Periodic Reports Frequently Asked Questions (revised Oct. 6, 2004), available at
    http://www.sec.gov/info/accountants/controlfaq1004.htm.
    136
          See, for example, letters from BP p.l.c. (BP), GT, IIA, ISACA, MSFT, and Tatum.
    137
          See, for example, letters from BDO, EY, KPMG, and Stantec Inc.
    138
          See, for example, letters from BP, Manulife, and Pepsi.
    139
      See, for example, letters from 100 Group, Banco Itaú Holding Financeira SA, CCMR, Eric
    Fandrich, and FEI CCR.


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    requesting the Commission exempt foreign registrants entirely from the ICFR reporting

    requirements if the registrant was subject to similar regulations in their home country.

    Other commenters raised concerns relating to the unique challenges that foreign

    registrants face in evaluating their ICFR, including language and cultural differences and

    international legal differences. 140

               Commenters also made suggestions regarding how the reconciliation to U.S.

    GAAP should be handled in the evaluation of ICFR. Certain commenters expressed

    support for the Commission’s position that foreign private issuers should scope their

    evaluation effort based on the financial statements prepared in accordance with home

    country GAAP, rather than based on the reconciliation to U.S. GAAP. 141 However, other

    commenters requested that the Commission exempt the reconciliation to U.S. GAAP

    from the scope of the evaluation altogether,142 while others sought further clarification as

    to whether and how the reconciliation was included in the evaluation of ICFR, 143 with

    one commenter suggesting the Commission staff publish additional Frequently Asked

    Questions to address any implementation issues. 144 One commenter requested the

    Commission exclude from the evaluation process those financial statement disclosures

    that are required by home country GAAP but not under U.S. GAAP to minimize the

    differences in the ICFR evaluation efforts between U.S. registrants and foreign filers as

    much as possible. 145

    140
          See, for example, letters from IIA and GT.
    141
          See, for example, letters from 100 Group, BDO, and ICAEW.
    142
          See, for example, letters from CCMR, Cleary, EALIC, and NYC Bar.
    143
          See, for example, letters from Deloitte, EY, KPMG, and N. Stofberg.
    144
          See, for example, letter from Ohio.
    145
          See, for example, letter from ING.


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            After considering the comments received, the Commission has determined not to

    exempt foreign registrants from the ICFR reporting requirements, regardless of whether

    they are subject to similar home country requirements. The Commission’s requirement

    for all issuers to complete an evaluation of ICFR is not derived from the Commission’s

    Interpretive Guidance for Management; this requirement has been established by

    Congress. Further, the Commission does not believe it is appropriate to exclude the U.S.

    GAAP reconciliation from the scope of the evaluation as long as it is a required element

    of the financial statements. Currently, however, the Commission is evaluating, as part of

    another project, the acceptance of International Financial Reporting Standards (“IFRS”)

    as published by the International Accounting Standards Board (“IASB”) without

    reconciliation to U.S. GAAP. 146

            In light of the comment letters, the Commission realizes that there are certain

    implementation concerns and issues that are unique to foreign private issuers. As a

    result, the Commission has instructed the staff to consider whether these items should be

    addressed in a Frequently Asked Questions document.




    146
       In a press release on April 24, 2007, the Commission announced its next steps pertaining to
    acceptance of IFRS without reconciliation to U.S. GAAP. In that press release, the Commission
    stated that it anticipates issuing a Proposing Release in summer 2007 that will request comments
    on proposed changes to the Commission’s rules which would allow the use of IFRS, as published
    by the IASB, without reconciliation to U.S. GAAP in financial reports filed by foreign private
    issuers that are registered with the Commission. The press release is available at
    http://www.sec.gov/news/press/2007/2007-72.htm.


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    List of Subjects

    17 CFR Part 241

            Securities.

    TEXT OF AMENDMENTS

            For the reasons set out in the preamble, the Commission is amending Title 17,

    chapter II, of the Code of Federal Regulations as follows:



    PART 241 – INTERPRETATIVE RELEASES RELATING TO THE SECURITIES

    EXCHANGE ACT OF 1934 AND GENERAL RULES AND REGULATIONS

    THEREUNDER

            Part 241 is amended by adding Release No. 34-55929 and the release date of June

    20, 2007 to the list of interpretative releases.



            By the Commission.



                                                                 Nancy M. Morris
                                                                 Secretary

    Dated: June 20, 2007




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From:                              Ryan Dykhouse
Sent:                              Monday, September 21, 2020 11:13 AM
To:                                Rebekah.Soule@lw.com; Christopher.Turner@lw.com; ABID.QURESHI@LW.com;
                                   Lilit.Edwards@lw.com; Farnan@rlf.com
Cc:                                Jeremy Robinson; Jesse Jensen; cfoulds@friedlandergorris.com
Subject:                           Lord Abbett Affiliated Fund, Inc., et al. v. Navient Corp., et al. / Call Recordings


Rebekah:

Thank you for the call on Friday. We are pleased that Navient has finally identified a code associated with forbearance
that will allow us to identify the relevant call recordings in Plaintiffs’ selected sample. On Friday’s call, you explained
that “TFO9” was a “communication event” code that was associated with a borrower entering into verbal forbearance
and was used by Navient to collect forbearance-related call recordings for purposes of FSA audits. This is exactly the
type of information that we have been requesting for months. Thank you also for confirming that Navient can apply the
same approach to identify call recordings for Plaintiffs’ sample of loan accounts, i.e., by searching for calls associated
with the TF09 communication event code.

While we still want to see the remaining communication event codes and “translation table” – which we understand you
will try to produce by tomorrow – we have considered this information and anticipate that applying the TF09 code will
work for Plaintiffs’ purposes. Given the tight timing, we ask that you start preparing this production right away. We
further understand that, by using an automated code to identify relevant call recordings from the sample, Navient’s
production of the relevant call recordings should be greatly expedited. Please provide us with both the list of calls
identified as TF09 communication events for our sample of loan accounts, as well as the call recordings associated with
those calls by no later than 6pm on September 24, 2020. Please immediately let us know if Navient cannot meet this
deadline. Plaintiffs reserve all rights.

Regards,
Ryan

___________________________________

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 1251 Avenue of the Americas
 New York, NY 10020-1104

            Re:        Lord Abbett Affiliated Fund, Inc., et al., v. Navient Corporation, et al., No. 1:16-
                       cv-00112-MN (D. Del.)

 Dear Counsel:

        We are making a production of materials on behalf of the Navient Defendants in the above-
 referenced matter in accordance with the agreed-upon proposal described in Sian Jones’ July 12,
 2019 email and the Protocol described in our Responses and Objections to the Requests for
 Production, served on June 24, 2019.

         We have transmitted the production, labeled LRDABT_031 via secure file transfer. The
 production documents are Bates labeled, respectively, NAV-LRD-ABT-005503530 - NAV-LRD-
 ABT-005504000. These files include the call recordings requested in Plaintiffs’ September 23,
 2020 email, confirmed in our email exchanges on September 29, 2020, and in accordance with the
 Order regarding Production of Call Recordings dated September 30, 2020. All of these records
 are, of course, subject to our Confidentiality Agreement and Protective Order, which was entered
 by the Court on April 4, 2019.

            Please let us know if you have any questions.

                                                              Sincerely,


                                                              Rebekah Soule

 Cc:        Peter A. Wald
            Abid R. Qureshi
            Christopher S. Turner
            Jordan D. Cook
            Lilit S. Edwards
            Kelly E. Farnan
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            EXHIBIT  REDACTED IN ITS ENTIRETY
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                                                      Evaluation and Program Planning
                                                 journal homepage: www.elsevier.com/locate/evalprogplan




Values in evaluation – The use of rubrics
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SHORE & Whariki Research Centre, College of Health, Massey University, Auckland, New Zealand




A R T I C L E I N F O                                    A B S T R A C T

Keywords:                                                Rubrics are used by evaluators who seek to move evaluations from being mere descriptions of an evaluand (i.e.,
Rubrics                                                  the programme, project or policy to be evaluated) to determining the quality and success of the evaluand.
Evaluation                                               However, a problem for evaluators interested in using rubrics is the literature relating to rubric development is
Valuing performance                                      scattered and mostly located in the education ﬁeld with a particular focus on teaching and learning. In this short
Quality
                                                         article we review and synthesise key points from the literature about rubrics to identify best practice. In addition
Success
                                                         we draw on our rubric teaching experience and our work with a range of stakeholders on a range of evaluation
                                                         projects to develop evaluation criteria and rubrics. Our intention is to make this information readily available
                                                         and to provide guidance to evaluators who wish to use rubrics to make value judgements as to the quality and
                                                         success of evaluands.




1. Introduction                                                                                judgements about the merit or worth of an evaluand. When using a
                                                                                               rubrics-based approach these judgements are based on a certain set of
    In Aotearoa New Zealand the use of rubrics in evaluation has been                          criteria which help deﬁne how good or bad a programme is in relation
stimulated by the work of Jane Davidson (Davidson, 2005). Our team of                          to the quality of its interventions and the success of its outcomes
evaluators at the SHORE & Whāriki Research Centre have adopted the                             (Davidson, 2005).
use of rubrics and have incorporated this into a Easy Evaluation ap-                               Evaluation criteria and standards are determined by the evaluation
proach (see Fig. 1) (Dickinson, Adams, Asiasiga, & Borell, 2014). This                         objectives and questions posed (Nunns, Peace, & Witten, 2015) and
approach which draws on the CDC evaluation framework (CDC                                      criteria provide the grounds on which the evaluator reasons towards an
Evaluation Working Group, 1999) forms the basis of national evalua-                            evaluative conclusion/judgement (Fournier, 1995; Valovirta, 2002).
tion training we provide for the public and community health work-                             Once criteria have been established to deﬁne quality and/or success,
force as well as for many of the evaluation projects we undertake.                             performance standards are set in the form of a rubric. Standards act as
    A key strength of using rubrics when working with stakeholders is                          benchmarks against which the performance of the evaluand can be
the development evaluation criteria and rubrics facilitates explicit                           compared and rated (Arens, 2005).
process of determining the quality and success of the evaluand at the
start of an evaluation (Oakden, 2013).                                                         3. What is a rubric?

2. Evaluation and valuing                                                                          The term ‘rubric’ originally signiﬁed the red earth used by carpen-
                                                                                               ters to mark on wood the line to follow when cutting and it has evolved
    Within the evaluation community there is growing consensus that                            to mean “an established custom or rule of procedure” (Bertaux, 1981).
“evaluation is an enterprise that involves valuing” (Alkin & Christie,                         In the early 1980s the term rubric was adopted by the education sector
2008, p. 131). Some have even labelled this increased interest a rubric                        to refer to an assessment tool which consisted of a set of standards and/
revolution (Davidson, Wehipeihana, & Mckegg, 2011). The values that                            or directions for assessing student outcomes and to guide student
enable evaluations to be moved beyond mere descriptions come from                              learning. Several reviews relating to the use of rubrics in education
credible and well-tried standards, research evidence, needs assessment                         describe the features of rubrics as having evaluation criteria and per-
and analysis of the function of something rather than evaluator and/or                         formance standards (Dawson, 2017; Jonsson & Svingby, 2007;
stakeholder assumptions (Scriven, 1991). Typically the role of values in                       Panadero & Jonsson, 2013; Reddy & Andrade, 2010).
evaluation refers to evaluators taking responsibility for making                                   A rubric is commonly deﬁned as denoting “a type of matrix that



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                                                                                               4. Why use rubrics in evaluation?

                                                                                                   Evaluation has been deﬁned as the systematic determination of the
                                                                                               quality, value, or importance of something (Scriven, 1991). Rubrics are
                                                                                               powerful tools for assessing these aspects and help stakeholders draw
                                                                                               evaluative conclusions about performance (Bargainnier, 2003). When
                                                                                               evaluation criteria and rubrics are established at the start of a project
                                                                                               and its evaluation, it is clear to staﬀ and stakeholders what high quality
                                                                                               interventions (i.e., their content, design and delivery) and successful
                                                                                               outcomes (i.e., how successfully the outcomes were achieved) will look
                                                                                               like. Through making values explicit performance can improve due to
                                                                                               quality and success being well-deﬁned.
                                                                                                   Rubrics help stakeholders to articulate the criteria (or vital features)
                                                                                               they are looking for and make those features explicit to those engaged
                                                                                               in programme implementation. This avoids the gap between what the
                                                                                               evaluator knows and what stakeholders know. For example, the gui-
                                                                                               dance of a rubric can help programme staﬀ clarify what constitutes
                                                                                               quality and success. When we actually describe performance beha-
                                                                                               viours the guesswork is taken out of what the evaluand needs to do to
                                                                                               achieve excellent performance. Rubrics allow the communication of
                                                                                               speciﬁc goals or intentions to key stakeholders so that everyone knows
                                                                                               what is expected and what behaviour or characteristics constitute the
                           Fig. 1. Easy evaluation framework.
                                                                                               diﬀerent levels of performance. Evaluand strengths and weaknesses can
                                                                                               be highlighted through the use of rubrics which allows for changes to be
                                                                                               made to what is being implemented (Arter & Mctighe, 2001; Stevens &
provides scaled levels or achievement or understanding for a set of                            Levi, 2005; Truemper, 2004). Otherwise measuring performance can be
criteria or dimensions of quality for a given type of performance” (Allen                      challenging without an appropriate measurement tool.
& Tanner, 2006, p. 197) As used in education, rubrics describe levels of
performance and provide information to teachers, parents and others
interested in what students know and are able to do (Dawson, 2017).                            5. Designing rubrics
They also provide a clear statement as to what is considered important
and worth learning (evaluation criteria), even before learning has oc-                             There are two basic elements to a rubric – the evaluation criteria to
curred (Brookhart & Chen, 2015). The use of rubrics is now embedded                            be rated and the performance standards (rubrics). The evaluation cri-
in education sector student assessment and learning practices.                                 teria serve as identifying the dimensions of interest that will be used as
    At the same time, a general logic of evaluation was being advanced                         the basis for judging how well the programme has performed on par-
by Scriven (1991, 1995) and further developed by Fournier (Fournier,                           ticular interventions or outcomes. The criteria should deﬁne a com-
1995; Valovirta, 2002) to include the following four steps: (a) estab-                         prehensive set of behaviours that make up the performance (Tierney &
lishing criteria of merit (On what dimensions must the evaluand do                             Simon, 2004). Evaluation criteria need to go beyond the goals and
well?); (b) constructing standards (How well should the evaluand per-                          objectives of a programme to include other possible eﬀects. To start
form?); (c) measuring performance and comparing with standards                                 with, the list of criteria must be comprehensive and can be reﬁned to
(How well did the evaluand perform?); and (d) synthesising and in-                             include the most important criteria for the evaluand to focus on. Cri-
tegrating data into a judgement of merit or worth. What sets general                           teria can also be weighted according to their importance.
evaluation logic apart from other types of inquiry such as research,                               A rubric must include rich descriptive language that diﬀerentiates
monitoring and audit is the evaluator is setting evaluation criteria and                       quality and/or success and is user friendly to stakeholders. Diﬀerent
performance standards against which the evaluand is assessed. This                             levels of performance are described in tangible, qualitative terms using
approach was viewed by Scriven (1994) as a move towards a more                                 positive language (Bargainnier, 2003). Rubrics can have any number of
disciplined evaluation practice intended to move evaluators away from                          points along a scale depending on the evaluand. For example, Davidson
making judgements based on their intuition or personal impressions                             (2005) suggests that six categories “tend to be workable in most cases”
about the merit of an evaluand.                                                                with “not much to be gained from trying for greater precision (e.g., 10
                                                                                               categories of merit) unless the evaluand really lends itself to that” (p.
                                                                                               136).
                                                                                                   Features of rubrics described by Dodge and Pickett (2007) are that
                                                                                               they: indicate stated performance, behaviour or quality; use a range of

Table 1
Example of a generic rubric for a multi-site project.
Adapted from Davidson (2005, p. 137).

  Rating           Explanation (How merit is determined)

  Excellent        Project reports and interview data provide evidence of outstanding performance in this area given resources allocated and timeframes; no weaknesses
  Very good        Project reports and interview data provide evidence of sound performance in this area given resources and timeframes but performance is not outstanding; no
                   weaknesses of any consequence
  Good             Project reports and interview data provide evidence of reasonable performance in this area given resources and timeframes; might have a few slight weaknesses but
                   nothing serious
  Poor             Project reports and interview data provide evidence of weak or fair performance in this area given resources and timeframes; some serious weaknesses on a few
                   aspects
  Very poor        Project reports and interview data provide little evidence of satisfactory performance in this area; serious ﬂaws



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Table 2
Example of a coherent speciﬁc rubric for the intervention: Implement Fundamental Movement Skills for teachers and children.
Authors (2010).

  Rating          Explanation (how you will determine merit)

  Excellent       Teachers were very actively engaged in the sessions and found the content of the sessions very relevant and appropriate for implementation in the kindergarten. The
                  adviser provided on-going support and creative FMS activities. Children were very keen to participate in the FMS activities and had the opportunity to practice their
                  FMS regularly.
  Very good       Teachers were actively engaged in the sessions and found the content of the sessions relevant and appropriate for implementation in the kindergarten. The adviser
                  provided on-going support and creative FMS activities. Children were keen to participate in the FMS activities and had the opportunity to practice their FMS
                  regularly.
  Good            Teachers were engaged in the sessions and found the content of the sessions mostly relevant and appropriate for implementation in the kindergarten. The adviser
                  mostly provided on-going support and some creative FMS activities. Children were mostly keen to participate in the FMS activities and had some opportunity to
                  practice their FMS.
  Poor            Only a few teachers were engaged in the sessions and/or the content was not relevant and appropriate for implementation in the kindergarten. The adviser did not
                  provide regular support and the FMS activities lacked creativity. Children struggled to participate in the FMS activities and had very little opportunity to practice
                  their FMS.
  Very poor       There was lack of engagement by teachers and children in the FMS programme.



ratings to indicate performance; and contain performance criteria ar-                           do the best and worst performances look like with regard to quality and
ranged in levels indicating the degree to which a standard has been met.                        success? The middle levels of the rubric are then ﬁlled in.
Valid rubrics have descriptors (scores or levels) that reﬂect a continuity
in the degree of diﬀerence between a rating or level of one and a two                           6. Performance synthesis – drawing evaluative conclusions
and a ﬁve or excellent, very good, good, poor, very poor, or inadequate.
    When developing rubrics Goodrich Andrade (2005) recommended                                     Making evaluative conclusions or judgement is the intended end-
avoiding the use of unnecessarily negative language. For example, she                           point of the evaluative reasoning process (Nunns et al., 2015). While
suggests the use of “boring” to describe a student's speech could be                            there are “no clear professional rules” (House & Howe, 1999) about
changed to “does not attempt to gain attention of audience, just starts                         how to do so, making judgements of quality and success is considered
speech” (p. 5).                                                                                 by some evaluators to be fundamental to the evaluation process (Stake
    Rubrics can also be generic and/or speciﬁc. A generic rubric re-                            & Schwandt, 2006).
quires evaluators and stakeholders to score the overall evaluand as a                               Once evaluation criteria and performance standards have been es-
whole (see Table 1) A speciﬁc rubric outlines each of the evaluation                            tablished, evidence or descriptive facts are collected against the eva-
criteria at each level of performance and each criteria is then rated                           luation criteria and are used to answer the key evaluation questions.
(Nitko, 2001).                                                                                  Our approach involves a robust process of facilitating sense making
    A generic rubric is a useful starting point for determining merit and                       sessions with key stakeholders where they are presented with de-
would still require substantial discussion to deﬁne the general terms                           scriptive facts against each evaluation criteria and are involved in a
used. It is important if using generic rubrics to deﬁne what is meant by                        process of determining how well criteria have been achieved. This
“outstanding, sound, reasonable, weak or fair and satisfactory” per-                            process increases “transparency about how evaluative judgements are
formance. The meaning of these terms will need to be developed in                               made” (King, McKegg, Oakden, & Wehipeihana, 2013, p. 13).
consultation with key stakeholders.                                                                 This process takes evaluation beyond simply presenting descriptive
    A speciﬁc rubric is coherent and focuses on the same criteria                               facts about outcomes and interventions and stopping there, thus leaving
throughout and therefore refers to the variance of quality or success for                       the client to place a value on these facts. Evaluators using this approach
the criteria. It is important that the language remains the same. New                           have been described by Scriven (1995) as minimalists and he stated this
criteria may be introduced if these emerge during the evaluation (see                           has been a dominant feature of evaluation whereby evaluators fail to
Table 2 for an example of a speciﬁc rubric developed for an interven-                           draw evaluative conclusions. He even suggested they are not really
tion: Fundamental Movements Skills for teachers and children).                                  evaluators as “they do no evaluation” (p. 55). In contrast he described a
    Rubric design should involve key stakeholders and their knowledge.                          purist evaluator as one who believes that evaluation “does not end until
Evidence from literature, experts and local knowledge can also help                             the merit, worth, or signiﬁcance of the evaluand has been determined”
determine what comprises good and not so good work. In our evalua-                              (p. 55).
tion projects we begin the rubric design process by establishing eva-
luation criteria with programme implementation staﬀ and other sta-                              7. Conclusion
keholders. To initiate the idea of criteria, we use an everyday example
such as shopping for breakfast cereal and ask stakeholders to discuss                               Rubrics are one possible solution to determining the merit and/or
what they would look for when they are choosing a breakfast cereal                              worth of an evaluand. They are adaptable and can be speciﬁc or general
(e.g., price, fat content, packaging, ingredients, nutrient value). We                          as needed and can be evenly or unevenly weighted. The evaluator
then use an exercise based on Preskill and Russ-Eft's (2005) Chocolate                          makes value judgements based on descriptive facts rather than eva-
Chip Cookie exercise where rather than using chocolate chip cookies,                            luator assumptions and the credibility of the evaluator remains intact
participants develop performance standards against which a universal                            (Scriven, 1991). As a team of evaluators we see considerable merit in
object [a ballpoint pen] is used. Participants work to develop criteria                         the development of evaluation criteria and rubrics for our evaluation
and performance standards. For example, the criteria “grip” could be                            practice and in the training we do with the public health workforce. The
assessed on a one to ﬁve scale with one being excellent grip and ﬁve                            process helps facilitate a deeper engagement and understanding with
being very poor grip. Participants’ scores are totalled and averaged to                         our stakeholders and helps focus the evaluation on what is important.
determine the best performing pen.
    These initial exercises help stakeholders grasp these concepts before                       References
embarking on developing evaluation criteria for the evaluand. The next
step is to develop a rubric. We have followed Goodrich Andrade's                                Alkin, M., & Christie, C. (2008). An evaluation theory tree revisited. In M. Alkin (Ed.),
(2005) suggestion of starting the process by asking the question “What                              Evaluation roots. Thousand Oaks, CA: Sage.
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Dickinson, P., Adams, J. B., Asiasiga, L., & Borell, B. (2014). Easy Evaluation: A practical              Valovirta, V. (2002). Evaluation utilization as argumentation. Evaluation, 8(1), 60–80.
    approach to programme evaluation. Auckland: SHORE & Whariki Research Centre.
Dodge, B., & Pickett, N. (2007). Rubrics for web lessons. Retrieved from http://webquest.                 Pauline Dickinson, Ph.D., is a senior researcher and Evaluation Team Leader at SHORE
    sdsu.edu/rubrics/weblessons.htm.                                                                      & Whariki. She has academic qualiﬁcations in public health, counselling and teaching.
Reasoning in evaluation: Inferential links and leaps. New directions for evaluation, no.                  Pauline has been involved in programme development and formative, process and out-
    68. In D. Fournier (Ed.), San Francisco, CA: Jossey-Bass.                                             come evaluations of a range of community and school-based public health and mental
Goodrich Andrade, H. (2005). Teaching with rubrics: The good, the bad and the ugly.                       health promotion initiatives, including the evaluation of training programmes. She is
    College Teaching, 53(1), 27–30.                                                                       committed to the use of evidence-informed evaluation methodologies and particularly to
House, E., & Howe, K. (1999). Values in evaluation and social research. Thousand Oaks, CA:                evaluation methodologies that focus on valuing. Pauline leads the delivery of the New
    Sage.                                                                                                 Zealand National Public Health Evaluation Training Service which builds evaluation
Jonsson, A., & Svingby, G. (2007). The use of scoring rubrics: Reliability, validity and                  capacity and capability in the public health workforce.
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King, J., McKegg, K., Oakden, J., & Wehipeihana, N. (2013). Evaluative rubrics: A method
    for surfacing values and improving the credibility of evaluation. Journal of                          Jeﬀery Adams, M.A. (Applied), Ph.D., is a senior researcher and evaluator with the
    MultiDisciplinary Evaluation, 9(21), 11–20.                                                           SHORE & Whariki Research Centre. He has led many research and evaluation projects and
                                                                                                          contributed to evaluation and research across a broad range of public and community
Nitko, A. J. (2001). Educational assessment of students (3rd ed.). NJ: Merrill: Upper Saddle
    River.                                                                                                health and social service initiatives. He has a strong background in the evaluation of
Nunns, H., Peace, R., & Witten, K. (2015). Evaluative reasoning in public-sector evalua-                  community-focused projects/strategies. Jeﬀ is involved in providing evaluation training
    tion in Aotearoa New Zealand: How are we doing? Evaluation Matters—He Take Tō Te                      and consultancy services to community and public health workers through the National
    Aromatawai, 1. http://dx.doi.org/10.18296/em.10007.                                                   Public Health Evaluation Training Service. He was a co-developer of the Easy Evaluation
                                                                                                          approach.
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                                                               July 19, 2021
 Via Email

 Abid R. Qureshi, Esq.
 Latham & Watkins LLP
 555 Eleventh Street, NW
 Washington, D.C. 20004

 Re:    Lord Abbett Affiliated Fund, Inc. v. Navient Corp., et al., No. 16-cv-00112-MN

 Dear Counsel:
         We write regarding Navient’s assertion made earlier today that, separate and apart from
 its Daubert motion, it now suddenly intends to file a motion under Federal Rule 37 to strike parts
 of Dr. Hillman’s November 3, 2020 report. As set forth below, this appears to be a transparent
 effort by Navient to perform an end-run around the Court’s July 16, 2021 order (the “Order”)
 limiting Daubert briefing pages to a total of 30 pages per side. As described below, we object to
 this maneuver and intend to file a cross-motion to strike Navient’s improper effort to secure extra
 pages in violation of the Court’s Order. We request a prompt meet and confer regarding this relief.

        1. Navient’s New Request For Individual Reviewer Scoring Information

         By way of brief background, on November 3, 2020, Plaintiffs produced the expert report
 of Dr. Hillman (the “November 2020 Report”), which described among other things an analysis of
 a sample of call recordings collected and produced by Navient. The November Report explains
 that Dr. Hillman “trained and utilized a team of 6 research assistants,” that included five “PhD
 students” and “one … full-time researcher with a doctorate” to “assist” him “in reviewing the 471
 call recordings” in the sample produced by Navient. See, e.g., November 2020 Report at 23.
 Shortly thereafter, by November 20, 2020, Plaintiffs produced to Defendants the back-up data with
 the final analyses used in Dr. Hillman’s November 2020 Report, which included the final scoring
 data for the call recording analysis. The final data did not have individual reviewer names
 associated with the scores and, until now, Defendants made no indication that they wanted that
 information.

         As you know, in February 2021, Plaintiffs moved to strike a large amount of forbearance-
 related data (the “Withheld Data”) belatedly produced by Navient, and the portions of Defendants’
 expert rebuttal reports that relied on that data. Navient had failed to produce this data until long
 after the close of discovery and, given the massive volume of data and complications with
 accessing it, it was inaccessible and unusable for several months. The Court denied Plaintiffs’
 motion to strike the data and the related expert opinions, but granted additional discovery, provided
 additional time to address the data, and permitted Plaintiffs to file a supplemental expert report on
 May 28, 2021.


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                                           31644
  BERNSTEIN LITOWITZ BERGER & GROSSMANN LLP

  Abid R. Qureshi, Esq.
  July 19, 2021
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         During this time, following the initial backup production in November 2020, Defendants
 did not make a single request for additional information concerning Dr. Hillman’s November 2020
 Report. After Plaintiffs served Dr. Hillman’s May 28, 2021 supplemental report, Defendants made
 several requests for information, which Plaintiffs promptly addressed. But Defendants still said
 nothing about the November 2020 Report.

         Instead, Defendants waited until the June 30, 2021 deposition of Dr. Hillman. At that
 deposition, Defendants requested a reliability assessment that Dr. Hillman performed separate and
 apart from his analysis of the final data. But, even with that request pending, Defendants elected
 to use their full deposition hours allotment with Dr. Hillman.

         Nevertheless, Plaintiffs considered Defendants’ request in good faith and, on July 6, 2021,
 produced on a “no-waiver” basis the document requested, which was a two-page excel spreadsheet.
 As a further gesture of good faith and as a courtesy, Plaintiffs offered to produce Dr. Hillman for
 another deposition, which was subject to two conditions: (1) it would be limited to 30 minutes on
 the record; and (2) the examination would be limited to the 2-page document recently requested
 by Defendants. Defendants objected to the time limitation—not the subject-matter limitation—but
 nonetheless chose to proceed with the deposition knowing full well that it was subject to these two
 conditions. Further, Plaintiffs offered multiple days for this second deposition—Defendants
 voluntarily chose the last day offered.

         At Dr. Hillman’s second deposition on July 12, 2021, Defendants attempted to ask about
 topics other than the agreed document, including draft materials protected under the Federal Rules.
 We objected and reminded Defendants of the limitation, noting that the deposition would conclude
 if and when Defendants were finished with the two-page document (or after 30 minutes on the
 record). Defendants accordingly moved on with their questioning, as they were required to do.
 After the deposition, Defendants vaguely requested even more additional data, including draft
 scores that were not used for Dr. Hillman’s November 2020 Report and drafting-related
 communications between Dr. Hillman and his team. While the specifics of Defendants’ request
 were unclear, we responded that you were seeking draft materials that are protected from
 disclosure—the same types of information that Defendants themselves withheld for their own
 experts. Nevertheless, on July 15, 2021, we offered to work with you try and get you the
 information you wanted, while still maintaining the protections under the Federal Rules, if
 Defendants would only specify what exact information they wanted.

         Defendants repeatedly declined to cooperate and consistently rejected our requests to
 confer. After multiple communications over the past weekend, on July 19 (today), Defendants
 requested for the first time the “scoring of individual call recordings by each reviewer.” As noted,
 Defendants could have requested this information eight months ago, as they knew about the
 involvement of reviewers and that the final data produced did not have individual viewer names.
 But Defendants chose not to make that request. Indeed, Defendants took two separate depositions
 of Dr. Hillman without ever raising the issue or requesting this information.



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          Nonetheless, having considered Defendants’ request, Plaintiffs are willing to produce this
 information—provided that Defendants agree to accept it on a non-waiver basis and that this will
 resolve Defendants’ motion to strike Dr. Hillman’s report under Federal Rule 37. During our call
 today, you indicated that regardless of whether Plaintiffs provide this information, Defendants
 will still move to strike. This obviously raises questions about whether Defendants truly want the
 information that they waited until the eleventh hour to request. Nevertheless, our good faith offer
 stands. Please let us know if we can resolve this dispute by producing the newly requested
 information on the above terms.

         2. Navient’s Plan Designed To Circumvent The Court’s Order

        On July 16, 2021, the Court entered the Order, which restricted Navient’s dispositive
 motion page limit to 30 pages and likewise restricted Daubert motion page limits to 30 pages per
 side. Navient quickly sought an emergency extension to allow it to revise its briefs. The Court
 granted that extension request on July 16, 2021.

          As noted above, Navient informed Plaintiffs for the first time today that it now intends to
 also file a motion to strike Dr. Hillman’s report under Federal Rule 37 separate and apart from its
 Daubert motion. This is inconsistent with Navient’s prior communications and correspondence,
 which clearly indicated that Navient address this issue in connection with its Daubert motion
 (skipping even a necessary motion to compel). See, e.g., Defendants’ Ltr. dated July 15, 2021.
 Indeed, at no point during our calls on July 13 or July 15 did Navient mention that it intended to
 file a separate motion apart from its Daubert motion. Likewise, Navient said nothing about this
 maneuver to the Court in its July 16, 2021 letter. If it had, Plaintiffs would have objected.

        It is clear that Navient’s new plan is designed to circumvent the Daubert page limitations
 set by the Court in the Order. This is especially concerning given that Defendants secured an
 extension by representing to the Court that they needed “additional time to shorten their briefs”—
 without any mention of a separate motion directed at experts. Defendants then apparently used the
 extension granted by the Court to concoct a plan designed to perform an end-run around the Court’s
 Order. This is improper.

          We continue to hope that the Parties can agree to resolve Defendants’ motion to strike
 through Plaintiffs’ good faith offer to produce the information that Defendants have just today
 requested for the first time. But, if Defendants reject this offer and file a separate motion, Plaintiffs
 intend to file a cross-motion to strike Defendants’ motion as well as other appropriate remedies.
 Further, Plaintiffs reserve all rights to also move to strike Defendants’ Daubert motion to the extent
 that it seeks to incorporate Defendants’ unauthorized effort to secure additional briefing pages in
 violation of the Court’s Order. We also note that we are reserving all rights concerning Defendants’
 conduct at depositions, including improperly cutting off Plaintiffs’ questioning and instructing the
 witnesses not to answer valid questions.




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         We propose a call tomorrow morning to complete our meet-and-confer concerning
 Defendants’ improper Rule 37 motion, as well as our cross-motion to strike, as discussed above.
 Please let us know your availability tomorrow morning.

        We look forward to hearing back from you promptly.


                                                           Sincerely,

                                                           /s/ Jeremy P. Robinson
                                                           Jeremy P. Robinson




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